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                                                                           [6] student lacked standing to seek injunction requiring
                                                                           officials to remove conditions of re-entry;
      KeyCite Yellow Flag - Negative Treatment
Distinguished by Doe v. Columbia College Chicago, 7th Cir.(Ill.), August
                                                                           [7] student had standing to seek injunction requiring officials
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                                                                           to expunge finding of guilt from his disciplinary record; and
                    928 F.3d 652
    United States Court of Appeals, Seventh Circuit.
                                                                           [8] student pled plausible Title IX discrimination claim.
               John DOE, Plaintiff-Appellant,
                            v.
                                                                           Reversed and remanded.
                  PURDUE UNIVERSITY, et
                  al., Defendants-Appellees.

                          No. 17-3565                                       West Headnotes (23)
                               |
                   Argued September 18, 2018
                                                                            [1]    Constitutional Law
                               |
                                                                                       Students
                     Decided June 28, 2019
                                                                                   In context of higher education, any due process
Synopsis                                                                           property interest is matter of contract between
Background: Student filed § 1983 action against state                              student and university. U.S. Const. Amend. 14.
university and university officials alleging that his expulsion
after he was found guilty of sexual violence violated Due
Process Clause and Title IX. The United States District Court               [2]    Constitutional Law
for the Northern District of Indiana, No. 2:17-cv-00033-                               Discipline, suspension, or expulsion
PRC, Paul R. Cherry, United States Magistrate Judge, 281
                                                                                   To demonstrate that he possesses due process
F.Supp.3d 754, dismissed complaint, and student appealed.
                                                                                   property interest in continued education at state
                                                                                   university, student must do more than show
                                                                                   that he has contract with university; he must
Holdings: The Court of Appeals, Barrett, Circuit Judge, held                       establish that contract entitled him to specific
that:                                                                              right that university allegedly took, such as
                                                                                   right to continuing education or right not to
[1] student adequately alleged protected liberty interest in                       be suspended without good cause. U.S. Const.
pursuing his occupation of choice;                                                 Amend. 14.

[2] student adequately pled that procedures employed by
university in disciplinary proceeding were fundamentally                    [3]    Constitutional Law
unfair;                                                                                Particular claims
                                                                                   In order for student to establish protected due
[3] university's president was not subject to liability under §
                                                                                   process property interest in continued education
1983;
                                                                                   at state university, generalities will not do;
                                                                                   student's complaint must be specific about
[4] officials were entitled to qualified immunity for due
                                                                                   source of implied contract, exact promises that
process violations;
                                                                                   university made to student, and promises that
                                                                                   student made in return. U.S. Const. Amend. 14.
[5] student lacked standing to seek injunction prohibiting
officials from violating Due Process Clause in process of
investigating and adjudicating sexual misconduct complaints;
                                                                            [4]    Constitutional Law
                                                                                       Reputation; defamation



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       To succeed on claim that state deprived him                       Discipline, suspension, or expulsion
       of due process liberty interest, plaintiff must              Process due in university disciplinary context
       satisfy “stigma plus” test, which requires him               depends on number of factors, including severity
       to show that state inflicted reputational damage             of consequence and level of education. U.S.
       accompanied by alteration in legal status that               Const. Amend. 14.
       deprived him of right he previously held. U.S.
       Const. Amend. 14.

       1 Cases that cite this headnote                       [9]    Constitutional Law
                                                                        Disciplinary proceedings
                                                                    Due process requires, in connection with
 [5]   Constitutional Law
                                                                    suspension from state university of 10 days or
           Reputation; defamation
                                                                    less, that student be given oral or written notice
       Loss of reputation is not itself loss of liberty             of charges against him and, if he denies them,
       protected by Due Process Clause, even when                   explanation of evidence that authorities have an
       it causes serious impairment of one's future                 opportunity to present his side of story. U.S.
       employment. U.S. Const. Amend. 14.                           Const. Amend. 14.



 [6]   Constitutional Law                                    [10]   Constitutional Law
           Discipline, suspension, or expulsion                         Disciplinary proceedings
       Education                                                    Education
           Proceedings and review                                       Proceedings and review
       State university student adequately alleged                  State university student adequately pled
       protected liberty interest in pursuing his                   that procedures employed by university in
       occupation of choice under “stigma plus” test,               disciplinary proceeding arising from accusation
       as required to state procedural due process claim            of sexual violence were fundamentally unfair, in
       against university officials, arising from his               violation of his due process rights, by alleging
       suspension after officials found him guilty of               that university did not disclose its evidence to
       sexual offense, where finding of guilty changed              him, that two of three panel members admitted
       student's status from full-time student in good              that they had not read investigative report, that
       standing to one suspended for academic year,                 panel never spoke to accuser and never received
       and caused his expulsion from Navy ROTC                      sworn statement from her, and that he was
       program, with accompanying loss of scholarship               not given opportunity to present impeachment
       and foreclosed possibility of his re-enrollment in           evidence. U.S. Const. Amend. 14.
       it. U.S. Const. Amend. 14.
                                                                    2 Cases that cite this headnote
       1 Cases that cite this headnote

                                                             [11]   Constitutional Law
 [7]   Constitutional Law                                               Notice and Hearing
           Procedural due process in general
                                                                    To satisfy Due Process Clause, hearing must be
       When right is protected by Due Process                       a real one, not sham or pretense. U.S. Const.
       Clause, state may not withdraw it on                         Amend. 14.
       grounds of misconduct absent fundamentally fair
       procedures to determine whether misconduct has
       occurred. U.S. Const. Amend. 14.
                                                             [12]   Education
                                                                        Proceedings and review

 [8]   Constitutional Law


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        Blending investigation and adjudication                      about conduct and facilitate it, approve it,
        functions in university student disciplinary                 condone it, or turn blind eye. 42 U.S.C.A. § 1983.
        context does not necessarily render process
        unfair.                                                      1 Cases that cite this headnote


                                                              [17]   Federal Civil Procedure
 [13]   Constitutional Law                                               Fact issues
            Notice and Hearing; Proceedings and                      If it is clear on face of complaint that
        Review                                                       constitutional right invoked was not clearly
        To rebut presumption that university                         articulated in case law, existence of qualified
        administrators are honest and impartial,                     immunity is purely legal question that district
        plaintiff asserting due process claim against                court can address on motion to dismiss.
        administrators must lay specific foundation of
        prejudice or prejudgment, such that probability              1 Cases that cite this headnote
        of actual bias is too high to be constitutionally
        tolerable, typically requiring evidence that          [18]   Civil Rights
        adjudicator had pecuniary interest in case's                      Good faith and reasonableness; knowledge
        outcome, or that he was previously target of                 and clarity of law; motive and intent, in general
        plaintiff's abuse or criticism. U.S. Const. Amend.
                                                                     Qualified immunity protects government
        14.
                                                                     officials from liability for civil damages as
                                                                     long as their actions do not violate clearly
                                                                     established statutory or constitutional rights of
 [14]   Civil Rights                                                 which reasonable person would have known.
             Education
        State university's president was not subject to              1 Cases that cite this headnote
        liability in student's § 1983 action alleging
        that disciplinary proceeding against him violated     [19]   Civil Rights
        his due process rights, absent allegation that                    Schools
        president knew about disciplinary committee's
                                                                     It was not clearly established that university
        conduct and facilitated, approved, or condoned
                                                                     discipline could deprive student of due process
        it. U.S. Const. Amend. 14; 42 U.S.C.A. § 1983.
                                                                     liberty interest, and thus state university officials
                                                                     were entitled to qualified immunity from liability
                                                                     in student's § 1983 action alleging that his
 [15]   Civil Rights                                                 disciplinary suspension—which resulted in his
             Vicarious liability and respondeat superior             expulsion from Navy ROTC program, with
        in general; supervisory liability in general                 accompanying loss of scholarship—violated his
        Section 1983 does not allow actions against                  due process rights. U.S. Const. Amend. 14; 42
        individuals merely for their supervisory role of             U.S.C.A. § 1983.
        others. 42 U.S.C.A. § 1983.

        1 Cases that cite this headnote
                                                              [20]   Civil Rights
                                                                          Education
 [16]   Civil Rights                                                 State university student who was suspended
             Vicarious liability and respondeat superior             for one-year for sexual misconduct lacked
        in general; supervisory liability in general                 standing to seek injunction prohibiting university
        To be liable under § 1983 for his subordinates'              officials from violating Due Process Clause in
        constitutional violation, supervisor must know               process of investigating and adjudicating sexual
                                                                     misconduct complaints, absent allegation that


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        he intended to re-enroll at university, that he                  problem of campus sexual assault. Education
        faced real and immediate threat that it would                    Amendments of 1972 § 901, 20 U.S.C.A. §
        again investigate him for sexual misconduct, or                  1681(a).
        that any such investigation would violate due
        process. U.S. Const. Amend. 14.                                  4 Cases that cite this headnote

        1 Cases that cite this headnote


 [21]   Injunction                                               *655 Appeal from the United States District Court for the
            Persons entitled to apply; standing                 Northern District of Indiana, Hammond Division. No. 2:17-
                                                                cv-00033-PRC—Paul R. Cherry, Magistrate Judge.
        State university student who was suspended for
        one year for sexual misconduct lacked standing          Attorneys and Law Firms
        to seek injunction requiring university officials
        to remove conditions of re-entry imposed by             Philip A. Byler, Attorney, NESENOFF & MILTENBERG,
        university as part of his discipline, absent            LLP, New York, NY, Damon M. Cheronis, Attorney, LAW
        allegation that he intended to re-enroll at             OFFICES OF DAMON M. CHERONIS, Chicago, IL, for
        university.                                             Plaintiff-Appellant.

                                                                William Peter Kealey, James Francis Olds, Attorneys,
                                                                STUART & BRANIGIN LLP, Lafayette, IN, for Defendants-
 [22]   Injunction
                                                                Appellees.
            Persons entitled to apply; standing
        State university student who was suspended              Before Sykes, Barrett, and St. Eve, Circuit Judges.
        for one year for sexual misconduct had
        standing to seek injunction requiring university        Opinion
        officials to expunge finding of guilt from
                                                                Barrett, Circuit Judge.
        his disciplinary record, where his disciplinary
        suspension resulted in his expulsion from Navy           *656 After finding John Doe guilty of sexual violence
        ROTC program, with accompanying loss of                 against Jane Doe, Purdue University suspended him for an
        scholarship, and career in Navy might once again        academic year and imposed conditions on his readmission.
        be open to him if guilty finding were expunged.         As a result of that decision, John was expelled from the
                                                                Navy ROTC program, which terminated both his ROTC
                                                                scholarship and plan to pursue a career in the Navy.
 [23]   Civil Rights
             Discrimination against males                       John sued the university and several of its officials, asserting
        Male student who was suspended from state               two basic claims. First, he argued that they had violated
        university for sexual misconduct pled plausible         the Fourteenth Amendment by using constitutionally flawed
        Title IX discrimination claim by alleging that          procedures to determine his guilt or innocence. Second,
        university's federal funding was at risk if it could    he argued that Purdue had violated Title IX by imposing
        not show that it was vigorously investigating and       a punishment infected by sex bias. A magistrate judge
        punishing sexual misconduct, that university's          dismissed John's suit on the ground that he had failed to state
        dean of students chose to credit accuser's account      a claim under either theory. We disagree. John has adequately
        without hearing directly from her, that majority        alleged violations of both the Fourteenth Amendment and
        of disciplinary panel members appeared to credit        Title IX.
        accuser based on her unsworn accusation alone,
        that they refused to hear any impeachment
        evidence, and that university center dedicated to                                      I.
        supporting victims of sexual violence believed
        that men as a class were responsible for



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We are reviewing the magistrate judge's decision to dismiss         gone to her room unannounced after they broke up, and lost
John's complaint for failing to state a claim. That means that      his temper in front of her.
we must recount the facts as he describes them, drawing every
inference in his favor. See D.B. ex rel. Kurtis B. v. Kopp, 725     John learned about Jane's accusations in a letter from
F.3d 681, 682 (7th Cir. 2013). In other words, the story that       Katherine Sermersheim, Purdue's Dean of Students and a
follows is one-sided because the posture of the case requires       Title IX coordinator. Sermersheim informed John that the
it to be. Our task is not to determine what allegations are         university had elected to pursue Jane's allegations even
supported by the evidence but to determine whether John             though Jane had not filed a formal complaint. She outlined
is entitled to relief if everything that he says is true. See       the school's disciplinary procedures and explained that two
McCauley v. City of Chicago, 671 F.3d 611, 616 (7th Cir.            employees who reported to her, Erin Oliver and Jacob
2011).                                                              Amberger, would investigate the case. She also instructed
                                                                    John not to have any contact with Jane. After he received
John and Jane were both students in Purdue's Navy ROTC              the letter, John was suspended from the Navy ROTC, banned
program. They began dating in the fall of 2015, and                 from all buildings where Jane had classes, and barred from
between October and December, they had consensual sexual            eating in his usual dining hall because Jane also used it.
intercourse fifteen to twenty times. Jane's behavior became
increasingly erratic over the course of that semester, and          John submitted a written response denying all of Jane's
she told John that she felt hopeless, hated her life, and was       allegations. He asserted that he never had sexual contact with
contemplating running away. In December, Jane attempted             Jane while she was sleeping, through digital penetration or
suicide in front of John, and after that incident, they stopped     otherwise. He said that there was one night in December, after
having sex. They continued dating, however, until January,          Jane's suicide attempt, when he touched Jane's knee while
when John tried to get Jane help by reporting her suicide           she was sleeping on a futon and he was on the floor next
attempt to two resident assistants and an advisor. Jane was         to her. But he denied groping her or engaging in any of the
upset at John for reporting her, and she distanced herself from     harassing behavior of which she had accused him. John also
him. Soon thereafter, she began dating someone else.                recounted evidence that he thought inconsistent with Jane's
                                                                    claim of sexual assault: she texted and talked to him over the
For a few months, things were quiet between John and                holidays, sent his family a package of homemade Christmas
Jane. That changed in April 2016, which was Sexual Assault          cookies, and invited him to her room when they returned to
Awareness Month. During that month, Purdue hosted over              school in January. He also provided details suggesting that
a dozen events to promote the reporting of sexual assaults.         Jane was troubled and emotionally unstable, which he thought
Many of the events were sponsored by the Center for                 might explain her false accusations.
Advocacy, Response, and Education (CARE), a university
center dedicated to supporting victims of sexual violence.          Under Purdue's procedures, John was allowed the assistance
CARE promoted the events on its Facebook page, along with           of a “supporter” at any meeting with investigators. In late
posts containing information about sexual assault. One of its       April, John and his supporter met with Oliver and Amberger.
posts was an article from The Washington Post titled “Alcohol       As he had in his written response, John steadfastly denied
isn't the cause of campus sexual assault. Men are.”                 Jane's allegations. He provided the investigators with some of
                                                                    the friendly texts that he thought belied her story, as well as a
During the first ten days of April, five students reported sexual   list of over thirty people who could speak to his integrity.
assault to the university. Jane was one of them. She alleged
that in November 2015, she was sleeping with John in his            When the investigators' report was complete, Sermersheim
room when she woke to him groping her over her clothes              sent it to a three-person panel of Purdue's Advisory
 *657 without her consent. According to Jane, she told John         Committee on Equity, which was tasked with making a
that this was not okay, and John then confessed that he had         recommendation to her after reviewing the report and
digitally penetrated her while the two were sleeping in Jane's      hearing from the parties. Sermersheim called John to appear
room earlier that month. Jane told the university that John had     before the panel, but consistent with Purdue's then-applicable
engaged in other misconduct as well: she asserted that he had       procedures, she neither gave him a copy of the report nor
gone through her underwear drawer without her permission,           shared its contents with him. Moments before his committee
chased her through a hallway while joking about tasering her,       appearance, however, a Navy ROTC representative gave John



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a few minutes to review a redacted version of the report. To
John's distress, he learned that it falsely claimed that he had     2. On another occasion, while she was sleeping and without
confessed to Jane's allegations. The investigators' summary         her consent, you inappropriately touched [Jane Doe] by
of John's testimony also failed to include John's description       digitally penetrating her vagina.
of Jane's suicide attempt.
                                                                  As the basis for these findings, Sermersheim offered: “I find
                                                                  by a preponderance of the evidence that [John Doe] is not a
John and his supporter met with the Advisory Committee
                                                                  credible witness. I find by a preponderance of the evidence
and Sermersheim, who chaired the meeting, for about
                                                                  that [Jane Doe] is a credible witness.” John appealed to
thirty minutes. Jane neither appeared before the panel nor
                                                                  Rollock again, but this time, Rollock upheld Sermersheim's
submitted a written statement. Instead, Monica Soto Bloom,
                                                                  determination of guilt and accompanying sanctions. A few
the director of CARE, wrote the Advisory Committee *658
                                                                  weeks after his second appeal was denied, John involuntarily
and Sermersheim a letter summarizing Jane's accusations.
                                                                  resigned from the Navy ROTC, which has a “zero tolerance”
                                                                  policy for sexual harassment.
The meeting did not go well for John. Two members of the
panel candidly stated that they had not read the investigative
                                                                  John sued Mitch Daniels, the President of Purdue University;
report. The one who apparently had read it asked John
                                                                  Rollock, the Vice President for Ethics and Compliance;
accusatory questions that assumed his guilt. Because John had
                                                                  Sermersheim, the Dean and a Title IX coordinator; and
not seen the evidence, he could not address it. He reiterated
                                                                  Oliver and Amberger, the investigators, in their individual
his innocence and told the panel about some of the friendly
texts that Jane had sent him after the alleged assaults. The      capacities, seeking monetary relief under 42 U.S.C. § 1983. 1
panel refused John permission to present witnesses, including     He sued these same defendants, along with the members
character witnesses and a roommate who would state that he        of Purdue's Board of Trustees, in their official capacities,
was present in the room at the time of the alleged assault and    seeking injunctive relief under Ex Parte Young, 209 U.S. 123,
that Jane's rendition of events was false.                        28 S.Ct. 441, 52 L.Ed. 714 (1908), to remedy the Fourteenth
                                                                  Amendment violation. And he sued Purdue University for
A week later, Sermersheim sent John a perfunctory letter          discriminating against him on the basis of sex in violation of
informing him that she had found him guilty by a                  Title IX.
preponderance of the evidence of sexual violence. She
suspended John from Purdue for one academic year. In              The magistrate judge dismissed John's § 1983 claims with
addition, she conditioned John's reentry on his completion of     prejudice, holding that the disciplinary proceedings did not
a university-sponsored “bystander intervention training” and      deprive John of either liberty or property, so *659 the
his agreement to meet with the Assistant Director of CARE         Due Process Clause did not apply. He offered an additional
during the first semester of his return.                          reason for dismissing John's § 1983 claim against Daniels:
                                                                  John's theory of liability was based on Daniels's role as
John appealed this decision to Alysa Rollock, Purdue's            supervisor, and there is no supervisory liability under § 1983.
Vice President for Ethics and Compliance, who instructed          As for John's claims for injunctive relief, the magistrate judge
Sermersheim to identify the factual basis of her                  dismissed them without prejudice for lack of standing because
determination. Sermersheim sent a revised letter to John          John had not alleged that the violations posed any threat of
adding the following:                                             future harm. And he dismissed John's claims under Title IX
                                                                  with prejudice on the ground that John had not alleged facts
  Specifically, a preponderance of the evidence supports that:    sufficient to show that Purdue discriminated against him on
                                                                  the basis of sex. John appeals each of these rulings.
  1. [Jane Doe] had fallen asleep on a futon with you on
  the floor beside her. She woke up and found that you
  inappropriately touched her over her clothing and without
  her consent by placing your hand above her knee, between                                      II.
  her legs, and moved it up to her “crotch” areas; and
                                                                  We begin with procedural due process. According to John,
                                                                  he was punished pursuant to a process that failed to satisfy
                                                                  the minimum standards of fairness required by the Due



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Process Clause. He alleges the following deficiencies: he
was not provided with the investigative report or any of the       [1] [2] [3] In the context of higher education, any property
evidence on which the decisionmakers relied in determining        interest is a matter of contract between the student and the
his guilt and punishment; Jane did not appear before the          university. Bissessur v. Ind. Univ. Bd. of Trs., 581 F.3d 599,
Advisory Committee; he had no opportunity to cross-examine        601 (7th Cir. 2009) (explaining that the “basic legal relation
Jane; Sermersheim found Jane credible even though neither         between a student and a private university or college is
Sermersheim nor the Advisory Committee talked to her in           contractual in nature” (citation omitted)). And to demonstrate
person; Jane did not write her own statement for the panel,       that he possesses the requisite property interest, a university
much less a sworn one; Sermersheim was in charge of               student must do more than show that he has a contract with
both the investigation and the adjudication of his case; the      the university; he must establish that the contract entitled him
Advisory Committee was blatantly biased against him; and          to the specific right that the university allegedly took, “such
the Advisory Committee refused to allow him to present any        as the right to a continuing education or the right not to be
evidence, including witnesses.                                    suspended without good cause.” Id. at 601. Generalities won't
                                                                  do; “the student's complaint must be specific about the source
Yet John cannot recover simply because the procedures were        of this implied contract, the exact promises the university
unfair, even if they were. The Due Process Clause is not a        made to the student, and the promises the student made in
general fairness guarantee; its protection kicks in only when     return.” Charleston, 741 F.3d at 773.
a state actor deprives someone of “life, liberty, or property.”
U.S. CONST. amend. XIV, § 1. The threshold question, then,        John has not adequately alleged that Purdue deprived him of
is whether John lost a liberty or property interest when he       property because his complaint does not point to any specific
was found guilty of sexual violence and punished. We address      contractual promise that Purdue allegedly broke. 3 To be sure,
whether the procedures satisfied minimum constitutional           John asserts that he had a property interest in his continued
requirements of fairness only if the answer to that question      enrollment at Purdue. But as support for that proposition, his
is yes.                                                           complaint states only that the right arose “from the express
                                                                  and implied contractual relationship” between John and the
                                                                  university. It points to no “identifiable contractual promise
                              A.                                  that the [university] failed to honor.” Bissessur, 581 F.3d at
                                                                  602 (alteration in original) (citation omitted).
Our precedent involving due process claims in the context
of university discipline has focused on whether a student         His brief does only slightly better. In it, John insists that
has a protected property interest in his education at a state     the Indiana state courts have held that a student enrolled
university. We have explained that “[a] college education—        in a public institution has a property interest in continuing
any education—is not ‘property’ in the usual sense of the         his education. He cites Reilly v. Daly, in which an Indiana
word.” Williams v. Wendler, 530 F.3d 584, 589 (7th Cir. 2008);    court said: “It is without question that a student's interest
see also Charleston v. Bd. of Trs. of Univ. of Ill. at Chi.,      in pursuing an education is included within the Fourteenth
741 F.3d 769, 772 (7th Cir. 2013) (“[O]ur circuit has rejected    Amendment's protection of liberty and property and that
the proposition that an individual has a stand-alone property     a student facing expulsion or suspension from a public
interest in an education at a state university, including a       educational institution is therefore entitled to the protections
graduate education.”). 2 Instead, “we ask whether the student     of due process.” 666 N.E.2d 439, 444 (Ind. Ct. App. 1996).
has shown that he has a legally protected entitlement to his      But John's reliance on Reilly is misplaced. To begin with,
continued education at the university.” *660 Charleston,          this cryptic sentence—the sum of what the case says on
741 F.3d at 773 (emphasis in original). High school students      the topic—does not specify whether university disciplinary
(and, for that matter, elementary school students) have a         proceedings implicate liberty or property interests. And to
property interest in their public education because state law     the extent that Reilly refers to property, it does not purport
entitles them to receive one. Goss v. Lopez, 419 U.S. 565,        to identify a state-granted property right to pursue higher
573–74, 95 S.Ct. 729, 42 L.Ed.2d 725 (1975). The same is not      education. Instead, it appears to express a view about federal
true, however, of students at public universities—certainly,      law that we have already rejected: that the Due Process Clause
John has not contended that Indiana guarantees its residents      protects a generalized property interest in higher education,
a college education.                                              irrespective of any specific state entitlement. While Indiana



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is free to align itself with courts taking that view, see supra    Olivieri v. Rodriguez illustrates the point. 122 F.3d 406 (7th
note 2, our position is clear and to the contrary, see Williams,   Cir. 1997). There, a probationary police officer asserted a
530 F.3d at 589 (rejecting “the bald assertion that any student    procedural due process claim against his superintendent after
who is suspended from college has suffered a deprivation of        he was fired for sexually harassing other probationers. Id. at
constitutional property”).                                         407. We observed that “the defendant [had not] disclosed to
                                                                   anyone the grounds of the plaintiff's discharge.” Id. at 408.
 *661 [4] John's failure to establish a property interest does     The plaintiff, however, insisted that the defendant's silence
not doom his claim, however, because he also maintains             didn't matter because the plaintiff would have to tell potential
that Purdue deprived him of a protected liberty interest: his      employers why he was fired—and “[i]f he answers truthfully,
freedom to pursue naval service, his occupation of choice.         he will reveal the ground of the termination as effectively
To succeed on this theory, John must satisfy the “stigma           as (actually more effectively than) if the Department had
plus” test, which requires him to show that the state inflicted    taken out a full-page ad in every newspaper in the nation
reputational damage accompanied by an alteration in legal          announcing the termination of Felix A. Olivieri for sexually
status that deprived him of a right he previously held. See        harassing female probationary officers at the Chicago police
Mann v. Vogel, 707 F.3d 872, 878 (7th Cir. 2013); see also         training academy.” Id.
Paul v. Davis, 424 U.S. 693, 708–09, 96 S.Ct. 1155, 47
L.Ed.2d 405 (1976); Hinkle v. White, 793 F.3d 764, 767–            We rejected Olivieri's claim, holding that a plaintiff
68 (7th Cir. 2015). John argues that he has satisfied this test    who publicizes negative information about himself cannot
because he alleges that Purdue inflicted reputational harm         establish that the defendant deprived him of a liberty interest.
by wrongfully branding him as a sex offender; that Purdue          Id. As an initial matter, we noted that it was uncertain whether
changed his legal status by suspending him, subjecting him to      Olivieri's prospective employers would ever find out why
readmission requirements, and causing the loss of his Navy         he was discharged. Id. at 408–09 (“A prospective employer
ROTC scholarship; and that these actions impaired his right        might not ask him—might ask only the Chicago Police
to occupational liberty by making it virtually impossible for      Department, which for all we know might refuse to disclose
him to seek employment in his field of choice, the Navy. See       the grounds of Olivieri's discharge; many former employers
Lawson v. Sheriff of Tippecanoe Cty., Ind., 725 F.2d 1136,         refuse to answer such inquiries, because of fear of *662
1138 (7th Cir. 1984) (“The concept of liberty in Fourteenth        being sued for defamation.”). In addition, we explained that
Amendment jurisprudence has long included the liberty to           “[t]he principle of self-defamation, applied in a case such as
follow a trade, profession, or other calling.”); Townsend v.       this, would encourage [the plaintiff] to apply for a job to every
Vallas, 256 F.3d 661, 670 (7th Cir. 2001) (Liberty interests are   police force in the nation, in order to magnify his damages;
impinged when someone's “good name, reputation, honor or           and to blurt out to each of the them the ground of his discharge
integrity [are] called into question in a manner that makes it     in the most lurid terms, to the same end.” Id. at 409.
virtually impossible for ... [him] to find new employment in
his chosen field.”).                                               John's case is different. He does not claim simply that he
                                                                   might someday have to self-publish the guilty finding to
Purdue insists that John has not adequately alleged “stigma,”      future employers. Instead, John says that he had an obligation
much less the necessary “plus.” The university maintains           to authorize Purdue to disclose the proceedings to the Navy.
that it has not and will not divulge John's disciplinary           That makes John's case more like Dupuy v. Samuels, 397
record without his permission. The Navy knows about it             F.3d 493 (7th Cir. 2005), than Olivieri. In Dupuy, we held
only because John signed a form authorizing the disclosure         that the publication requirement of the stigma-plus test was
after the investigation began. Because John permitted the          satisfied when the plaintiffs were obligated to authorize a state
disclosure, Purdue says, he cannot complain that Purdue            agency to disclose its finding that they were child abusers to
stigmatized him.                                                   the plaintiffs' current and prospective employers. 397 F.3d at
                                                                   510. In contrast to Olivieri, where disclosure was voluntary
Purdue cites no cases in support of its position, but it is        and speculative, it was compelled and certain in Dupuy. And
presumably trying to draw an analogy between John and a            in Dupuy, unlike in Olivieri, the disclosure was not self-
plaintiff who publishes damaging information about himself         published—it came from the defendant, even if the plaintiff
—because it is true that a plaintiff can't himself spill the       had been obligated to authorize it. So too here: Purdue, not
beans and then blame the defendant for ruining his reputation.     John, revealed to the Navy that it had found him guilty of



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sexual violence, and John had a legal obligation to authorize      possibility of his re-enrollment in it. John has satisfied the
the disclosure.                                                    “stigma plus” test.

 [5] Thus, if what John says is true, the university has
stigmatized him by telling the Navy about the guilty finding.
                                                                                                B.
But the loss of reputation is not itself a loss of liberty,
“even when it causes ‘serious impairment of one's future           Having determined that John has adequately alleged that
employment.’ ” Hojnacki v. Klein–Acosta, 285 F.3d 544, 548         Purdue deprived him of a liberty interest, we turn to whether
(7th Cir. 2002) (alteration and citation omitted). John must       he has adequately claimed that Purdue used fundamentally
also show that the stigma was accompanied by a change in           unfair procedures in determining his guilt.
legal status. In Paul v. Davis, for example, the Supreme Court
held that the police did not trigger the Due Process Clause         [7]     [8] When a right is protected by the Due Process
by posting flyers falsely asserting that the plaintiff was an      Clause, a state “may not withdraw [it] on grounds of
active shoplifter. 424 U.S. at 712, 96 S.Ct. 1155. The flyers      misconduct absent[ ] fundamentally fair procedures to
undoubtedly harmed the plaintiff's professional reputation,        determine whether the misconduct has occurred.” Goss,
but their posting did not alter his legal status. Id. at 708–12,   419 U.S. at 574, 95 S.Ct. 729. Determining what is
96 S.Ct. 1155. Similarly, in Hinkle v. White, loose-lipped state   fundamentally fair is always a context-specific inquiry. See
police officers spread word that they were investigating the       Bd. of Curators of Univ. of Mo. v. Horowitz, 435 U.S. 78, 86,
plaintiff for child molestation and that he might be guilty of     98 S.Ct. 948, 55 L.Ed.2d 124 (1978) (“[W]e have frequently
arson to boot. 793 F.3d at 767. But the gossip did not alter       emphasized that ‘[t]he very nature of due process negates
his legal status—the plaintiff was not prosecuted, much less       any concept of inflexible procedures universally applicable
found guilty; nor did the county impose a consequence like         to every imaginable situation.’ ” (citation omitted)). Thus,
firing him from his job as county sheriff. Id. at 768–69. Even     for example, a university has much more flexibility in
though the rumors made it “virtually impossible” for him to        administering academic standards than its code of conduct.
change to a new job in his chosen field, the lack of a status      See id. (“[T]here are distinct differences between decisions
change meant that he could not state a due process claim. Id.      to suspend or dismiss a student for disciplinary purposes
at 768–70.                                                         and similar actions taken for academic reasons which may
                                                                   call for hearings in connection with the former but not the
 [6] John's situation is unlike that of the plaintiffs in Paul     latter.”). And even in the disciplinary context, the process due
v. Davis and Hinkle v. White because it is not a matter of         depends on a number of factors, including the severity of the
state-spread rumors or an investigation that was ultimately        consequence and the level of education. A 10-day suspension
dropped. After conducting an adjudicatory proceeding,              warrants fewer procedural safeguards than a longer one, Goss,
Purdue formally determined that John was guilty of a sexual        419 U.S. at 584, 95 S.Ct. 729, and universities are subject to
offense. That determination changed John's status: he went         more rigorous requirements than high schools, Pugel v. Bd. of
from a full-time student in good standing to one suspended for     Trs. of Univ. of Ill., 378 F.3d 659, 663–64 (7th Cir. 2004).
an academic year. Cf. Mann, 707 F.3d at 878 (holding that the
state deprived the plaintiff of occupational liberty when, after    [9]     [10] John's circumstances entitled him to relatively
an investigation, it found that she had violated child-safety      formal procedures: he was suspended by a university rather
laws and suspended her ability to operate her daycare center);     than a high school, for sexual violence rather than academic
Doyle v. Camelot Care Ctrs., 305 F.3d 603, 617 (7th Cir. 2002)     failure, and for an academic year rather than a few days. Yet
(holding that the state deprived the plaintiffs of occupational    Purdue's process fell short of what even a high school must
liberty when, after an investigation, it found that they had       provide to a student facing a days-long suspension. “[D]ue
neglected a minor and informed their respective employers,         process requires, in connection with a suspension of 10 days
who fired them). And it was this official determination of         or less, that the student be given oral or written notice of the
guilt, not the preceding *663 charges or any accompanying          charges against him and, if he denies them, an explanation
rumors, that allegedly deprived John of occupational liberty.      of the evidence the authorities have and an opportunity to
It caused his expulsion from the Navy ROTC program (with           present his side of the story.” Goss, 419 U.S. at 581, 95 S.Ct.
the accompanying loss of scholarship) and foreclosed the           729. John received notice of Jane's allegations and denied
                                                                   them, but Purdue did not disclose its evidence to John. And



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withholding the evidence on which it relied in adjudicating his      have held, however, that blending these two functions in
guilt was itself sufficient to render the process fundamentally      the university context does not necessarily render a process
unfair. See id. at 580, 95 S.Ct. 729 (“[F]airness can rarely be      unfair. Hess v. Bd. of Trs. of S. Ill. Univ., 839 F.3d 668,
obtained by secret, one-sided determination of facts decisive        675 (7th Cir. 2016). To rebut the presumption that university
of rights....” (quoting Joint Anti-Fascist Refugee Comm. v.          administrators are “honest and impartial,” a plaintiff must
McGrath, 341 U.S. 123, 170, 71 S.Ct. 624, 95 L.Ed. 817               “lay a specific foundation of prejudice or prejudgment,
(1951) (Frankfurter, J., concurring))).                              such that the probability of actual bias is too high to be
                                                                     constitutionally tolerable.” Id. This burden is “heavy indeed,”
 [11] John has adequately alleged that the process was               typically requiring evidence that “the adjudicator had a
deficient in other respects as well. To satisfy the Due Process      pecuniary interest in the outcome of the case, or that he was
Clause, “a hearing must be a real one, not a sham or pretense.”      previously the target of the plaintiff's abuse or criticism.” Id.
Dietchweiler by Dietchweiler v. Lucas, 827 F.3d 622, 629             (citations omitted). John has made no such allegation here.
(7th Cir. 2016) (citation omitted). At John's meeting with
the Advisory Committee, two of the three panel members
candidly admitted that they had not read the investigative
                                                                                                    C.
report, which suggests that they decided that John was guilty
based on the accusation rather than the evidence. See id. at 630     To this point, we have analyzed the due process claim
 *664 (stating that a hearing would be a sham if “members            without distinguishing between defendants. Now, however,
of the school board came to the hearing having predetermined         we separate them.
[the plaintiff's] guilt”). And in a case that boiled down to a “he
said/she said,” it is particularly concerning that Sermersheim
and the committee concluded that Jane was the more credible
                                                                                                   (1)
witness—in fact, that she was credible at all—without ever
speaking to her in person. Indeed, they did not even receive          [14] [15] [16] We begin with John's individual-capacity
a statement written by Jane herself, much less a sworn               claim against Mitch Daniels, the president of Purdue. The
statement. 4 It is unclear, to say the least, how Sermersheim        magistrate judge was right to dismiss this claim. Section 1983
and the committee could have evaluated Jane's credibility.           “does not allow actions against individuals merely for their
                                                                     supervisory role of others.” Zimmerman v. Tribble, 226 F.3d
Sermersheim and the Advisory Committee's failure to make             568, 574 (7th Cir. 2000). To be liable, a supervisor “must
any attempt to examine Jane's credibility is all the more            know about the conduct and facilitate it, approve it, condone
troubling because John identified specific impeachment               it, or turn a blind eye.” Zentmyer v. Kendall Cty., Ill., 220 F.3d
evidence. He said that Jane was depressed, had attempted             805, 812 (7th Cir. 2000) (quoting Gentry v. Duckworth, 65
suicide, and was angry at him for reporting the attempt.             F.3d 555, 561 (7th Cir. 1995)). John's *665 complaint asserts
His roommate—with whom Sermersheim and the Advisory                  nothing more about Daniels than that “ ‘The Buck Stops Here’
Committee refused to speak—maintained that he was present            with him.” There is no allegation that Daniels knew about the
at the time of the alleged assault and that Jane's rendition         conduct, much less that he facilitated, approved, or condoned
of events was false. And John insisted that Jane's behavior          it.
after the alleged assault—including her texts, gifts, and
continued romantic relationship with him—was inconsistent
with her claim that he had committed sexual violence against
                                                                                                   (2)
her. Sermersheim and the Advisory Committee may have
concluded in the end that John's impeachment evidence did   The     individual-capacity      claims    against    Rollock,
not undercut Jane's credibility. But their failure to even  Sermersheim, Oliver, and Amberger present a different
question Jane or John's roommate to probe whether this      obstacle for John: qualified immunity. For the reasons that we
evidence was reason to disbelieve Jane was fundamentally    have already explained, John has alleged facts that amount
unfair to John.                                             to a constitutional violation. But because the defendants have
                                                            asserted qualified immunity, John can recover damages from
 [12] [13] John also faults Sermersheim for being in charge them only if his right to receive procedural due process
of both the investigation and adjudication of his case. We  in the disciplinary proceeding was clearly established. See


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Rainsberger v. Benner, 913 F.3d 640, 647 (7th Cir. 2019). The     considered only whether students have a property interest
magistrate judge did not address qualified immunity because       in their public university education—and to this point, no
he concluded that John had failed to state a due process claim.   student has successfully shown the requisite interest. Because
The defendants raised it below, however, and they press it        this is our first case addressing whether university discipline
again here as an alternative ground for affirmance.               deprives a student of a liberty interest, the relevant legal
                                                                  rule was not “clearly established,” *666 and a reasonable
John insists that it would be premature for us to address         university officer would not have known at the time of
the issue because we are reviewing the magistrate judge's         John's proceeding that her actions violated the Fourteenth
dismissal of his claims under Rule 12(b)(6). As he points         Amendment. We therefore affirm the dismissal of John's
out, qualified immunity is generally addressed at summary         individual-capacity claims against Rollock, Sermersheim,
judgment rather than on the pleadings. See Alvarado v.            Oliver, and Amberger.
Litscher, 267 F.3d 648, 651 (7th Cir. 2001) (“[A] complaint
is generally not dismissed under Rule 12(b)(6) on qualified
immunity grounds.”); see also Jacobs v. City of Chicago, 215
                                                                                               (3)
F.3d 758, 765 n.3 (7th Cir. 2000) (“[T]he dismissal of a § 1983
suit under Rule 12(b)(6) is a delicate matter.”). Thus, John       [20] That leaves John's claims for injunctive relief, which
argues, we should send the case back to the district court for    he seeks to obtain by suing Daniels, Rollock, Sermersheim,
discovery.                                                        Oliver, and Amberger in their official capacities. See Ex Parte
                                                                  Young, 209 U.S. 123, 28 S.Ct. 441, 52 L.Ed. 714 (1908).
 [17] There is no hard-and-fast rule, however, against The magistrate judge dismissed this claim without prejudice
resolving qualified immunity on the pleadings. The reason         on the ground that John lacked standing to bring it. In his
for deferring it to summary judgment is that an officer's         complaint, John asked for “an injunction enjoining violations
entitlement to qualified immunity often “depend[s] on the         of the Fourteenth Amendment in the process of investigating
particular facts of a given case,” Jacobs, 215 F.3d at 765 n.3,   and adjudicating sexual misconduct complaints.” But John
and the Federal Rules of Civil Procedure do not require a         doesn't have standing to claim such relief. He has not alleged
plaintiff to include much factual detail in a complaint, see      that he intends to re-enroll at Purdue, much less that he
FED. R. CIV. P. 8 (providing that a complaint must contain        faces a “real and immediate threat” that Purdue would again
“a short and plain statement of the claim showing that the        investigate him for sexual misconduct, much less that any
pleader is entitled to relief”). See also Pearson v. Callahan,    such investigation would violate due process. See City of L.A.
555 U.S. 223, 238–39, 129 S.Ct. 808, 172 L.Ed.2d 565 (2009)       v. Lyons, 461 U.S. 95, 105, 103 S.Ct. 1660, 75 L.Ed.2d 675
(“When qualified immunity is asserted at the pleading stage,      (1983) (“That Lyons may have been illegally choked by the
the precise factual basis for the plaintiff's claim or claims may police on October 6, 1976, while presumably affording Lyons
be hard to identify.”). That said, the existence of qualified     standing to claim damages against the individual officers and
immunity is not always dependent on factual development           perhaps against the City, does nothing to establish a real and
—it is sometimes clear on the face of the complaint that          immediate threat that he would again be stopped for a traffic
the constitutional right invoked was not clearly articulated in   violation, or for any other offense, by an officer or officers
the case law. In that circumstance, the existence of qualified    who would illegally choke him into unconsciousness without
immunity is a “purely legal question” that the court can          any provocation or resistance on his part.”). What John really
address on a motion to dismiss. Jacobs, 215 F.3d at 765 n.3.      seeks to do is champion the rights of other men at Purdue
                                                                  who might be investigated for sexual misconduct using the
 [18] [19] That is the situation here. Qualified immunity is a flawed procedures that he describes in his complaint. That is
high standard. It protects government officials from liability    a no-go: John plainly lacks standing to assert the Fourteenth
for civil damages as long as their actions do not violate         Amendment rights of other students, even if he had alleged
“clearly established statutory or constitutional rights of which  (which he didn't) that the threat of injury to any one of them
a reasonable person would have known.” Figgs v. Dawson,           was “real and immediate.” Id.
829 F.3d 895, 905 (7th Cir. 2016) (citation omitted). While
the general stigma-plus test is well-settled in our law, see       [21] John also seeks to remove the conditions of re-entry
Hinkle, 793 F.3d at 768, we have never applied it specifically    imposed by Purdue as part of his discipline. John lacks
in the university setting. Instead, our cases in this area have   standing here too. As we already noted, he has not alleged



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that he intends to return to Purdue—a necessary fact to
demonstrate a cognizable injury from the barriers to re-entry.
                                                                                                  III.
That said, the magistrate judge dismissed this claim without
prejudice, so on remand John can seek to remedy his lack of          John also asserts a claim against Purdue under Title IX,
standing by pleading the necessary facts, if he has them.            which provides that “[n]o person in the United States shall,
                                                                     on the basis of sex, be excluded from participation in, be
 [22] In his response to the defendants' motion to dismiss,          denied the benefits of, or be subjected to discrimination
and then again in his brief and at oral argument, John argued        under any education program or activity receiving Federal
that he is also entitled to an injunction ordering university        financial assistance.” 20 U.S.C. § 1681(a); see also Gebser
officials to expunge the finding of guilt from his disciplinary      v. Lago Vista Indep. Sch. Dist., 524 U.S. 274, 281, 118 S.Ct.
record. For this relief, John has standing: John's marred record     1989, 141 L.Ed.2d 277 (1998) (explaining that Title IX is
is a continuing harm for which he can seek redress. See,             enforceable through an implied private right of action). It is
e.g., Flint v. Dennison, 488 F.3d 816, 825 (9th Cir. 2007)           undisputed that Purdue receives federal funding and that John
(pursuing expungement of university records “serve[s] the            was “excluded from participation in [or] denied the benefits
purpose of preventing present and future harm”); Doe v.              of ... [an] education program” when Purdue suspended him.
Cummins, 662 F. App'x 437, 444 (6th Cir. 2016) (seeking to           20 U.S.C. § 1681(a). The success of John's claim depends on
“remove the negative notation from appellants' disciplinary          whether Purdue discriminated against him “on the basis of
records” is “nothing more than prospective remedial action”);        sex.” Id.
Shepard v. Irving, 77 F. App'x 615, 620 (4th Cir. 2003) (an “F”
grade and a plagiarism conviction “constitute[d] a continuing        Some circuits use formal doctrinal tests to identify general
injury to the plaintiff” and an action to remove them was            bias in the context of university discipline. For example,
“prospective in nature”). And he claims that if the guilty           the Second Circuit channels such claims into two general
finding is expunged, a career in the Navy may once again be          categories. Yusuf v. Vassar Coll., 35 F.3d 709, 715 (2d Cir.
open to him.                                                         1994). In what has come to be called the “erroneous outcome”
                                                                     category, the plaintiff must show that he “was innocent and
Because John did not specifically request this relief in his         wrongly found to have committed the offense.” Id. The
complaint, the university *667 officials object that it is           other category, “selective enforcement,” requires a plaintiff
too late for him to raise it now. But Federal Rule of Civil          to prove that “regardless of [his] guilt or innocence, the
Procedure 54(c) states that “[e]very [ ] final judgment [other       severity of the penalty and/or the decision to initiate the
than default judgments] should grant the relief to which each        proceeding was affected by the student's gender.” Id.; see
party is entitled, even if the party has not demanded that relief    also Plummer v. Univ. of Hous., 860 F.3d 767, 777–78 (5th
in its pleadings.” That means that even though John may              Cir. 2017) (resolving the case by reference to the Yusuf
not have asked specifically for expungement, he may still be         framework); Doe v. Valencia Coll., 903 F.3d 1220, 1236 (11th
entitled to it. In Felce v. Fiedler, for example, the plaintiff      Cir. 2018) (“[W]e will assume for present purposes that a
did not request injunctive relief but instead—using language         student can show a violation of Title IX by satisfying the
similar to that in John's complaint—asked for “other and             ‘erroneous outcome’ test applied by the Second Circuit in
further relief as the court may deem to be just and equitable.”      Yusuf.”). The Sixth Circuit has added two more categories to
974 F.2d 1484, 1501 (7th Cir. 1992). The district court in           the mix: “deliberate indifference” and “archaic assumptions.”
Felce had not reached the question of injunctive relief because      See Doe v. Miami Univ., 882 F.3d 579, 589 (6th Cir. 2018)
it had held—as the magistrate judge did in John's case—that          (recognizing “at least four different theories of liability”
the plaintiff had not alleged the necessary liberty interest.        in this context: “(1) ‘erroneous outcome,’ (2) ‘selective
On appeal, we concluded that the plaintiff did have a liberty        enforcement,’ (3) ‘deliberate indifference,’ and (4) ‘archaic
interest and instructed the district court to address the issue of   assumptions’ ” (citations omitted)).
injunctive relief on remand. Id. at 1502. We do the same here:
having determined that John has pleaded a liberty interest,          We see no need to superimpose doctrinal tests on the statute.
we instruct the court to address the issue of expungement on         All of these categories simply describe ways in which a
remand.                                                              plaintiff might show that sex was a motivating factor in a
                                                                     university's decision to discipline a student. We prefer to ask
                                                                     the question more directly: do the alleged *668 facts, if true,



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raise a plausible inference that the university discriminated      not come from ingrained or permanent bias against that
against John “on the basis of sex”?                                particular sex.”). And because the Office of Civil Rights—
                                                                   a sub-agency of the Department of Education—had opened
John casts his Title IX claim against the backdrop                 two investigations into Purdue during 2016, the pressure
of a 2011 “Dear Colleague” letter from the U.S.                    on the university to demonstrate compliance was far from
Department of Education to colleges and universities.              abstract. That pressure may have been particularly acute for
See United States Department of Education, Office of               Sermersheim, who, as a Title IX coordinator, bore some
the Assistant Secretary for Civil Rights, Dear Colleague           responsibility for Purdue's compliance.
Letter (2011), https:/www2.ed.gov/print/about/offices/list/
ocr/letters/colleague-201104.html. That letter ushered in          Other circuits have treated the Dear Colleague letter as
a more rigorous approach to campus sexual misconduct               relevant in evaluating the plausibility of a Title IX claim.
allegations by, among other things, defining “sexual               For example, in Doe v. Miami University, the plaintiff
harassment” more broadly than in comparable contexts, id.          alleged that “pressure from the government to combat
at 3, mandating that schools prioritize the investigation and      vigorously sexual assault on college campuses and the severe
resolution of harassment claims, id. at 4, and requiring them      potential punishment—loss of all federal funds—if it failed
to adopt a lenient “more likely than not” burden of proof when     to comply, led Miami University to discriminate against
adjudicating claims against alleged perpetrators, id. at 11. The   men in its sexual-assault adjudication process.” 882 F.3d at
Department of Education made clear that it took the letter         594. The Sixth Circuit held that this allegation, combined
and its enforcement very seriously. See Examining Sexual           with others, “support[ed] a reasonable inference of gender
Assault on Campus, Focusing on Working to Ensure Student           discrimination.” Id.; see also Doe v. Baum, 903 F.3d 575,
Safety, Hearing Before the S. Comm. on Health, Educ., Labor,       586 (6th Cir. 2018) *669 (explaining that the pressure of
and Pensions, 113th Cong. 7 (2014) (statement of Catherine         a Department of Education investigation and the resulting
Lhamon, Assistant Secretary for Civil Rights, U.S. Dep't of        negative publicity “provides a backdrop, that, when combined
Educ.) (“[S]ome schools still are failing their students by        with other circumstantial evidence of bias in Doe's specific
responding inadequately to sexual assaults on campus. For          proceeding, gives rise to a plausible claim.”); Columbia Univ.,
those schools, my office and this Administration have made         831 F.3d at 58 (“There is nothing implausible or unreasonable
it clear that the time for delay is over.”). And it warned         about the Complaint's suggested inference that the panel
schools that “[t]his Administration is committed to using all      adopted a biased stance in favor of the accusing female and
its tools to ensure that all schools comply with [T]itle IX so     against the defending male varsity athlete in order to avoid
campuses will be safer for students across the country.” Id. In    further fanning the criticisms that Columbia turned a blind
other words, a school's federal funding was at risk if it could    eye to such assaults.”).
not show that it was vigorously investigating and punishing
sexual misconduct.                                                 That said, the letter, standing alone, is obviously not enough to
                                                                   get John over the plausibility line. See Baum, 903 F.3d at 586
According to John, this letter reveals that Purdue had a           (pressure from the Dear Colleague letter “alone is not enough
financial motive for discriminating against males in sexual        to state a claim that the university acted with bias in this
assault investigations. To protect its federal funds, John says,   particular case”). The letter and accompanying pressure gives
the university tilted the process against men accused of sexual    John a story about why Purdue might have been motivated
assault so that it could elevate the number of punishments         to discriminate against males accused of sexual assault. But
imposed. The resulting track record of enforcement would           to state a claim, he must allege facts raising the inference
permit Purdue to signal its commitment to cracking down on         that Purdue acted at least partly on the basis of sex in his
campus sexual assault, thereby fending off any suggestion          particular case. See id. (the Dear Colleague letter “provides
that it was not complying with the Department of Education's       a backdrop that, when combined with other circumstantial
directive. Cf. Doe v. Columbia Univ., 831 F.3d 46, 58 n.11         evidence of bias in [a] specific proceeding, gives rise to a
(2d Cir. 2016) (“A covered university that adopts, even            plausible claim”).
temporarily, a policy of bias favoring one sex over the
other in a disciplinary dispute, doing so in order to avoid         [23] John has alleged such facts here, the strongest one
liability or bad publicity, has practiced sex discrimination,      being that Sermersheim chose to credit Jane's account without
notwithstanding that the motive for the discrimination did         hearing directly from her. The case against him boiled down



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                                                                  during the same month that John was disciplined: an article
to a “he said/she said”—Purdue had to decide whether to
believe John or Jane. Sermersheim's explanation for her           from The Washington Post titled “Alcohol isn't the cause
decision (offered only after her supervisor required her to       of campus sexual assault. Men are.” Construing reasonable
give a reason) was a cursory statement that she found Jane        inferences in John's favor, this statement, which CARE
credible and John not credible. Her basis for believing Jane      advertised to the campus community, could be understood to
is perplexing, given that she never talked to Jane. Indeed,       blame men as a class for the problem of campus sexual assault
Jane did not even submit a statement in her own words to          rather than the individuals who commit sexual assault. And it
the Advisory Committee. Her side of the story was relayed in      is pertinent here that Bloom, CARE's director, wrote the letter
a letter submitted by Bloom, a Title IX coordinator and the       regarding Jane to which *670 Sermersheim apparently gave
director of CARE.                                                 significant weight.


For their part, the three panelists on Purdue's Advisory          Taken together, John's allegations raise a plausible inference
Committee on Equity were similarly biased in favor of Jane        that he was denied an educational benefit on the basis of his
and against John. As John tells it—and again, we must accept      sex. To be sure, John may face problems of proof, and the
his account as true—the majority of the panel members             factfinder might not buy the inferences that he's selling. But
appeared to credit Jane based on her accusation alone, given      his claim should have made it past the pleading stage, so we
that they took no other evidence into account. They made          reverse the magistrate judge's premature dismissal of it.
up their minds without reading the investigative report and
before even talking to John. They refused to hear from John's     A final note: John seeks both money damages and injunctive
witnesses, including his male roommate who maintained that        relief for his claim under Title IX. Our earlier discussion of
he was in the room at the time of the alleged assault and         his entitlement to injunctive relief for his due process claim
that Jane's rendition of events was false. And the panel          applies equally here.
members' hostility toward John from the start of the brief
meeting despite their lack of familiarity with the details of                                  ***
the case—including Jane's depression, suicide attempt, and
anger at John for reporting the attempt—further supports the      John has pleaded facts sufficient to state a claim under
conclusion that Jane's allegation was all they needed to hear     both the Fourteenth Amendment and Title IX. We therefore
to make their decision.                                           REVERSE and REMAND this case to the district court for
                                                                  proceedings consistent with this opinion.
It is plausible that Sermersheim and her advisors chose to
believe Jane because she is a woman and to disbelieve John        All Citations
because he is a man. The plausibility of that inference is
strengthened by a post that CARE put up on its Facebook page      928 F.3d 652, 367 Ed. Law Rep. 697


Footnotes
1      John's complaint also asserted § 1983 claims against Purdue and all other defendants in their official capacities. Before
       us, he concedes that § 1983 does not permit him either to assert official-capacity claims or to sue Purdue itself. See Will
       v. Mich. Dep't of State Police, 491 U.S. 58, 71, 109 S.Ct. 2304, 105 L.Ed.2d 45 (1989).
2      The First, Sixth, and Tenth Circuits have recognized a generalized property interest in higher education. See Dalton Mott,
       Comment, The Due Process Clause and Students: The Road to A Single Approach of Determining Property Interests
       in Education, 65 U. KAN. L. REV. 651, 659–60 (2017); see also, e.g., Flaim v. Med. Coll. of Ohio, 418 F.3d 629, 633
       (6th Cir. 2005) (asserting that “the Due Process Clause is implicated by university disciplinary decisions”). The Fifth and
       Eighth Circuits have assumed without deciding that such a property interest exists. See Mott, supra, at 663. The Second,
       Third, Fourth, Ninth, and Eleventh Circuits join us in making a state-specific inquiry to determine whether a property
       interest exists. See id. at 658.
3      For simplicity's sake, we will refer to the university and its officers collectively as “Purdue” or “the university.”
4      Citing a recent case from the Sixth Circuit, John also argues that he was entitled to cross-examine Jane. See Doe v.
       Baum, 903 F.3d 575, 581 (6th Cir. 2018). Because John has otherwise alleged procedural deficiencies sufficient to survive
       a motion to dismiss, we need not address this issue.



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                                                                  claim that instructor retaliated against her in violation of her
                                                                  First Amendment right to free speech; and (6) student stated
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                                                                  a claim of disability discrimination under the ADA and the
             This case was not selected for
                                                                  Rehabilitation Act against university and officials.
          publication in the Federal Reporter.
Not for Publication in West's Federal Reporter.
                                                                  Affirmed in part, reversed in part, and remanded.
       See Fed. Rule of Appellate Procedure 32.1
   generally governing citation of judicial decisions
    issued on or after Jan. 1, 2007. See also Fourth
        Circuit Rule 32.1 (Find CTA4 Rule 32.1)                    West Headnotes (6)
            United States Court of Appeals,
                     Fourth Circuit.
                                                                   [1]     Federal Courts
         Amy SHEPARD, Plaintiff–Appellant,                                     Civil rights and discrimination in general
        United States of America, Intervenor,                              Congress failed to validly abrogate a state's
                           v.                                              sovereign immunity for claims brought under
   Katrina IRVING, Dr., in her individual capacity;                        Title II of Americans with Disabilities Act
  Girard Mulherin, Dr., in his individual and official                     (ADA). U.S.C.A. Const.Amends. 11; Americans
  capacities; Alan Merten, Dr., in his official capacity                   with Disabilities Act of 1990, § 2 et seq., 42
    as President of George Mason University; The                           U.S.C.A. § 12101 et seq.
  Rectors and Visitors of George Mason University;                         2 Cases that cite this headnote
   Lisa Stidham, in her individual capacity; Leigh
   Ann Murtha, in her individual capacity; Chrissy
                                                                   [2]     Federal Courts
  Forbes, in her individual capacity; Joe Boatwright,
                                                                               Participation in federal programs
    in his individual capacity; Nikkia Anderson, in
                                                                           State university waived its sovereign
   her individual capacity, Defendants–Appellees.
                                                                           immunity by accepting federal assistance
                        No. 02–1712.                                       under the Rehabilitation Act; university's
                              |                                            waiver was knowing and waiver was not
                    Argued May 7, 2003.                                    impermissibly coercive. U.S.C.A. Const.Amend.
                              |                                            11; Rehabilitation Act of 1973, § 504, as
                   Decided Aug. 20, 2003.                                  amended, 29 U.S.C.A. § 794.

Synopsis
Student brought action against state university and university     [3]     Federal Courts
officials, claiming violation of her constitutional and federal                Higher education; colleges and universities
statutory rights in disciplinary proceeding. Upon defendants'
                                                                           Federal Courts
motion to dismiss, the United States District Court for
                                                                                Suits for injunctive or other prospective or
the Eastern District of Virginia, Gerald Bruce Lee, J.,
                                                                           equitable relief; Ex parte Young doctrine
204 F.Supp.2d 902, granted the motions. Student appealed.
The Court of Appeals, Shedd, Circuit Judge, held that:                     Under Ex parte Young doctrine, state university
(1) congress failed to validly abrogate a State's sovereign                officials did not have immunity for student's
immunity for claims brought under Title II of Americans                    claim against them in their official capacities
with Disabilities Act (ADA); (2) university waived its                     under Americans with Disabilities Act (ADA)
sovereign immunity by accepting federal assistance under the               for expungement of an “f” student received
Rehabilitation Act; (3) officials did not have immunity for                in a class and expungement of a plagiarism
claim under ADA for expungement of an “f” student received                 conviction; assuming student prevailed on
in a class and expungement of a plagiarism conviction; (4)                 substantive claims, requests for expungement
officials did not have immunity for claim under ADA for an                 related to an ongoing violation of federal law and
injunction permitting student a new trial; (5) student stated a            relief would be prospective in nature. U.S.C.A.


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       Const.Amend. 11; Americans with Disabilities                  a representative at honor council hearing
       Act of 1990, § 2 et seq., 42 U.S.C.A. § 12101 et              which confirmed plagiarism charge by alleging
       seq.                                                          that she had a disability, she was otherwise
                                                                     qualified to have a representative at the honor
       10 Cases that cite this headnote                              council hearing, and the council disallowed her
                                                                     from having a representative because she was
 [4]   Federal Courts                                                disabled. Rehabilitation Act of 1973, § 2 et
           Higher education; colleges and universities               seq., as amended, 29 U.S.C.A. § 701 et seq.;
                                                                     Americans with Disabilities Act of 1990, § 2 et
       Federal Courts
                                                                     seq., 42 U.S.C.A. § 12101 et seq.
            Suits for injunctive or other prospective or
       equitable relief; Ex parte Young doctrine                     5 Cases that cite this headnote
       Under Ex parte Young doctrine, state university
       officials did not have immunity for student's
       claim against them in their official capacities
       under Americans with Disabilities Act (ADA)           *616 Appeal from the United States District Court for the
       for an injunction permitting her a new trial before   Eastern District of Virginia, at Alexandria. Gerald Bruce Lee,
       honor council where she would be allowed              District Judge. (CA–01–1093–A).
       representation since such request qualified as
       one for prospective injunctive relief. U.S.C.A.       Attorneys and Law Firms
       Const.Amend. 11; Americans with Disabilities
       Act of 1990, § 2 et seq., 42 U.S.C.A. § 12101 et      ARGUED: Lawrence David Rosenberg, Jones Day,
       seq.                                                  Washington, D.C., for Appellant. Kevin Kendrick Russell,
                                                             Civil Rights Division, United States Department of Justice,
       5 Cases that cite this headnote                       Washington, D.C., for Intervenor. William Eugene Thro,
                                                             Deputy State Solicitor, Richmond, Virginia, for Appellees.
                                                             ON BRIEF: Michael Jackson Beattie, Beattie & Associates,
 [5]   Constitutional Law
                                                             P.L.L.C., Fairfax, Virginia, for Appellant. Ralph F. Boyd,
           Discipline in general
                                                             Jr., Assistant Attorney General, Jessica Dunsay Silver,
       Education                                             Civil Rights Division, United States Department of Justice,
           Proceedings and review                            Washington, D.C., for Intervenor. Jerry W. Kilgore, Attorney
       Student stated a claim that instructor retaliated     General of Virginia, William H. Hurd, State Solicitor,
       against her in violation of her First Amendment       Maureen R. Matsen, Deputy State Solicitor, Alison P.
       right to free speech for charging student with        Landry, Assistant Attorney General, Richmond, Virginia, for
       plagiarism after student reported that instructor     Appellees.
       did not accommodate her disability by alleging
       that instructor gave her an “F” grade and             Before KING and SHEDD, Circuit Judges, and Frank W.
       concocted a plagiarism charge in response to          BULLOCK, Jr., United States District Judge for the Middle
       student's exercising of her protected right to        District of North Carolina, sitting by designation.
       make a complaint. U.S.C.A. Const.Amend. 1.

       2 Cases that cite this headnote                       Affirmed in part, reversed in part, and remanded by
                                                             unpublished opinion. Judge SHEDD wrote the opinion, in
 [6]   Civil Rights                                          which Judge KING and Judge BULLOCK joined.
            Education
       Student stated a claim of disability                                           OPINION
       discrimination under the Americans with
       Disabilities Act (ADA) and the Rehabilitation         SHEDD, Circuit Judge.
       Act against state university and university
       officials for refusing to allow her to have


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 **1 Plaintiff Amy Shepard appeals the district court's grant
of the defendants' motion to dismiss her complaint. We affirm
                                                                                                        II.
in part, reverse in part, and remand for further proceedings.
                                                                        The plaintiff filed this second lawsuit, seeking both injunctive
                                                                        relief and damages against GMU; Alan Merten (GMU's
                                 I.                                     president), in his official capacity; Mulherin, in his individual
                                                                        and official capacities; Irving, in her individual capacity;
In her complaint, the plaintiff alleges she has a disability that       and the student members of the Honor Committee, in their
limits her ability to concentrate and learn. While a student            individual capacities.
at George Mason University (“GMU”), the *617 plaintiff
requested and received extra time to do her assignments to              The plaintiff's complaint contains six counts. The first four
accommodate her disability. During the summer of 2000,                  allege violations of the plaintiff's due process rights under
she took her final course, an English class. She asked her              the Fourteenth Amendment. In count V, the plaintiff alleges
instructor, defendant Katrina Irving, for extra time to do              a violation of her First Amendment right to free speech.
her work because of her disability. Irving initially agreed to          In VI, the plaintiff asserts various claims under Title II of
accommodate the plaintiff but later refused.                            the Americans with Disabilities Act (“ADA”), 42 U.S.C.
                                                                        § 12132, and § 504 of the Rehabilitation Act of 1973
The plaintiff complained to the GMU Disability Resource                 (“Rehabilitation Act”), 29 U.S.C. § 794(a).
Center about Irving's failure to accommodate her disability.
The plaintiff asserts that Irving gave her an “F” and concocted          **2 The defendants filed their motion to dismiss, raising
a plagiarism charge against her in retaliation for making this          such defenses as Eleventh Amendment immunity, absolute
complaint.                                                              immunity, qualified immunity, and failure to state a claim.
                                                                        Although the district court did not rule in favor of the
The plaintiff asked the GMU dean, defendant Girard                      defendants on all of their alternative grounds, the district court
Mulherin, if she could appeal the grade without fear of                 ultimately dismissed the plaintiff's complaint in its entirety.
being prosecuted before the Honor Committee for plagiarism.
Mulherin told the plaintiff the time for Irving to file the             On appeal, the plaintiff has failed to raise several of the district
plagiarism charge had expired, so she could appeal her grade            court's rulings against her. In particular, the plaintiff does not
without fear of reprisal. The plaintiff appealed, but Irving then       appeal the dismissal of the first four counts of her complaint,
filed the plagiarism charge with the Honor Committee.                   all of which claim a violation of her due process rights. Also,
                                                                        the plaintiff does not appeal the following three legal issues:
The plaintiff filed her first lawsuit in the district court to enjoin
the Honor Committee from reviewing the plagiarism charge.                 1. The Honor Committee members are entitled to absolute
The district court dismissed her case for lack of ripeness. The           immunity. Thus, all five members of the Committee are
plaintiff did not appeal.                                                 immune from all claims for damages arising *618 out of
                                                                          the Honor Committee proceeding.
After the first lawsuit was dismissed, the Honor Committee
                                                                          2. All defendants in their individual capacities are not
heard the plagiarism charge against the plaintiff but
                                                                          subject to suit under the ADA and the Rehabilitation Act.
disallowed her from having either her lawyer or her mother
represent her. The Honor Committee found her guilty of                    3. All defendants are entitled to qualified immunity as to
plagiarism, affirmed the “F,” issued a written reprimand, and             claims for damages arising under the First Amendment.
ordered her to perform community service.
                                                                        Because the plaintiff did not raise these matters on appeal, we
The plaintiff had a job lined up contingent upon her                    deem them abandoned. See Edwards v. City of Goldsboro, 178
graduation. Because of the “F,” the plaintiff did not graduate          F.3d 231, 241 (4th Cir.1999). Moreover, because we remand
on time, and she lost the job she had lined up. She eventually          this case for further proceedings, the district court's rulings
completed her degree at GMU several months later in May                 on these unappealed matters remain the law of the case. See
2001.                                                                   United States v. Aramony, 166 F.3d 655, 661 (4th Cir.1999)
                                                                        ( “[W]hen a court decides upon a rule of law, that decision



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should continue to govern the same issues in subsequent
stages in the same case.”).

                                                                                                B.
Thus, on appeal we are faced with the following issues:
                                                                   [2]   The district court also ruled that GMU waived
  1. whether GMU and Merten and Mulherin, in their official
                                                                  its Eleventh Amendment immunity under § 504 of the
  capacities, are immune under the Eleventh Amendment
                                                                  Rehabilitation Act by accepting approximately $44 million in
  from suit for damages under Title II of the ADA and § 504
  of the Rehabilitation Act;                                      federal funds in the year in question. 1 We agree.

  2. whether the plaintiff's requests for prospective relief       *619 A State may constructively waive its Eleventh
  satisfy the requirements of the Ex parte Young doctrine; and    Amendment immunity by voluntarily accepting federal funds
                                                                  when Congress expresses a clear intent to condition receipt
  3. whether the plaintiff properly states claims upon which      of those funds on a State's consent to waive its Eleventh
  relief can be granted in counts V and VI.                       Amendment immunity. Booth v. Maryland, 112 F.3d 139, 145
                                                                  (4th Cir.1997). Congress clearly expressed its intent to require
We address each of these issues in turn.
                                                                  a State to waive its Eleventh Amendment immunity for §
                                                                  504 claims as a condition of receiving federal funds. Section
                                                                  2000d–7(a)(1) states in relevant part:
                             III.

The district court issued two rulings involving Eleventh
                                                                                 A State shall not be immune under
Amendment immunity, the first as to Title II of the ADA and
                                                                                 the Eleventh Amendment of the
the second as to § 504 of the Rehabilitation Act. Because these
                                                                                 Constitution of the United States
rulings are jurisdictional, Edelman v. Jordan, 415 U.S. 651,
                                                                                 from suit in Federal court for a
678, 94 S.Ct. 1347, 39 L.Ed.2d 662 (1974), we review them
                                                                                 violation of section 504 of the
before we reach the merits of the plaintiff's claims. Steel Co.
                                                                                 Rehabilitation Act of 1973, title
v. Citizens for a Better Environment, 523 U.S. 83, 94, 118
                                                                                 IX of the Education Amendments
S.Ct. 1003, 140 L.Ed.2d 210 (1998). We review the district
                                                                                 of 1972 ... or the provisions of
court's Eleventh Amendment immunity determinations de
                                                                                 any other Federal statute prohibiting
novo. Antrican v. Odom, 290 F.3d 178, 184 (4th Cir.2002).
                                                                                 discrimination by recipients of
                                                                                 Federal financial assistance.

                              A.
                                                                  42 U.S.C. § 2000d–7(a)(1) (emphasis added).
 [1] The district court ruled that Congress did not validly
abrogate the Eleventh Amendment immunity of the States
                                                                  In Litman v. George Mason University, 186 F.3d 544 (4th
when it enacted Title II of the ADA. Therefore, the court ruled
                                                                  Cir.1999), we ruled that Congress permissibly conditioned
that GMU is immune from suit and Merten and Mulherin, in
                                                                  GMU's receipt of federal funds on its consent to be sued in
their official capacities, are immune from suit for damages
                                                                  Title IX discrimination claims. As such, we held that GMU
under Title II of the ADA.
                                                                  waived its Eleventh Amendment immunity. Id. at 555.

 **3 After the parties filed their initial appellate briefs, we
                                                                  Although Litman involved a Title IX claim rather than a
decided Wessel v. Glendening, 306 F.3d 203 (4th Cir.2002).
                                                                  § 504 claim, we nevertheless find the analysis in Litman
We held in Wessel that Congress failed to validly abrogate
                                                                  persuasive. Both Title IX and § 504 of the Rehabilitation Act
a State's Eleventh Amendment immunity for claims brought
                                                                  are specifically listed in § 2000d–7(a)(1) as statutes under
under Title II of the ADA. Id. at 215. Accordingly, we affirm
                                                                  which a State defendant must waive its Eleventh Amendment
the district court's judgment that GMU is immune from suit
                                                                  immunity.
and Merten and Mulherin, in their official capacities, are
immune from suit for damages under Title II of the ADA.



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In support of its position that it did not waive its immunity           Serv. Comm'n of Md., 535 U.S. 635, 122 S.Ct. 1753,
for § 504 claims, GMU raises three issues not addressed                 1760, 152 L.Ed.2d 871 (2002).
in Litman. It contends that: (1) the waiver requirement is
                                                                   Franks v. Ross, 313 F.3d 184, 197 (4th Cir.2002).
coercive; (2) its waiver was not knowing; 2 and (3) there
is no reasonable nexus between the required waiver and
                                                                   At oral argument, plaintiff's counsel clarified that the
the purpose of the federal funding that GMU accepted.
                                                                   plaintiff is seeking only the following prospective relief:
We reject the first two arguments based on the reasoning
                                                                   (1) expungement of the “F” she received in Irving's class;
of the district court. As for GMU's third argument, we
                                                                   (2) expungement of the plagiarism conviction by the Honor
hold that there is a sufficient relationship between the
condition imposed by Congress—GMU's consent to be                  Committee; 4 and (3) in the alternative to expungement,
sued for disability discrimination claims—and the purpose          a new Honor Committee hearing in which she is allowed
of the federal funding—providing a broad range of                  representation. GMU argues that these requests do not seek
educational opportunities in an environment free of unlawful       relief for any ongoing violation of federal law.
discrimination based on disability.
                                                                   Assuming the plaintiff prevails on her substantive claims,
 **4 We affirm the district court's ruling that GMU waived         the “F” and the plagiarism conviction would constitute
its Eleventh Amendment immunity for claims brought under           a continuing injury to the plaintiff. Thus, the plaintiff's
§ 504 of the Rehabilitation Act. Therefore, the plaintiff may      two requests for expungement would relate to an ongoing
seek damages and injunctive relief against GMU and Merten          violation of federal law and the relief granted would be
                                                                   prospective in nature. See Wolfel v. Morris, 972 F.2d 712, 719
and Mulherin, in their official capacities, 3 under § 504 of the
                                                                   (6th Cir.1992) (allowing expungement of records); Elliott v.
Rehabilitation Act.
                                                                   Hinds, 786 F.2d 298, 302 (7th Cir.1986).

                                                                    [4] The plaintiff's request, in the alternative, for a new
                           *620 IV.                                Honor Committee hearing also alleges an ongoing violation
                                                                   of federal law and seeks relief properly characterized as
 [3] Defendants Merten and Mulherin next argue that the            prospective. A new hearing with representation would give
plaintiff's claims for prospective relief against them in their    the plaintiff an opportunity to be heard, under circumstances
official capacities under Title II of the ADA do not satisfy the   in which her disability does not disadvantage her, in hopes
requirements of the Ex parte Young doctrine. We disagree.          of obtaining a favorable ruling as to the “F” and plagiarism
                                                                   conviction on her record.
We review de novo a district court's legal determination
whether Ex parte Young relief is available. CSX Transp., Inc.       **5 Therefore, the plaintiff may seek relief under Title II
v. Board of Public Works, 138 F.3d 537, 541 (4th Cir.1998).        of the ADA against Merten and Mulherin, in their official
The Ex parte Young doctrine                                        capacities, for expungement or, in the alternative, a new
                                                                   Honor Committee hearing with representation under Title II
     “allows private citizens, in proper cases, to petition a
                                                                   of the ADA.
     federal court to enjoin State officials in their official
     capacities from engaging in future conduct that would
     violate the Constitution or a federal statute.” Antrican v.
     Odom, 290 F.3d 178, 184 (4th Cir.2002). Specifically,                                      V.
     Ex parte Young authorizes “suits against state officers
     for prospective equitable relief from ongoing violations      Last, the plaintiff argues that the district court erred in
     of federal law.” Lytle v. Griffith, 240 F.3d 404, 408 (4th    dismissing her remaining *621 claims for failure to state a
     Cir.2001). To determine whether the Ex parte Young            claim upon which relief can be granted. 5 We agree.
     doctrine is applicable, as the Supreme Court recently
     observed, a court “need only conduct a straightforward        We review de novo the dismissal of a complaint for failure
     inquiry into whether the complaint alleges an ongoing         to state a claim upon which relief could be granted. GE Inv.
     violation of federal law and seeks relief properly            Private Placement Partners II v. Parker, 247 F.3d 543, 548
     characterized as prospective.” Verizon Md., Inc. v. Pub.      (4th Cir.2001). A motion to dismiss under Rule 12(b)(6) must


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not be granted unless it appears certain that the plaintiff can
prove no set of facts which would support her claim and
would entitle her to relief. Mylan Labs., Inc. v. Matkari, 7 F.3d
                                                                                                    B.
1130, 1134 (4th Cir.1993). In considering a motion to dismiss
for failure to state a claim, the court accepts as true all well-     **6 In count VI, the plaintiff again alleges that Irving
pleaded allegations and views the complaint in the light most        retaliated against her for complaining *622 to the GMU
favorable to the plaintiff. Id.
                                                                     Disability Resource Center. 7 The plaintiff contends that she
                                                                     adequately states a claim for retaliation under both the ADA
The plaintiff attempts to allege three types of claims in counts
                                                                     and the Rehabilitation Act.
V and VI:(1) retaliation in violation of her First Amendment
right to free speech; (2) retaliation in violation of the ADA
                                                                     Title V of the ADA governs claims for retaliation. Title V
and the Rehabilitation Act; and (3) disability discrimination
                                                                     states in pertinent part:
in violation of the ADA and the Rehabilitation Act.


                                                                                  No person shall discriminate against
                               A.                                                 any individual because such individual
                                                                                  has opposed any act or practice made
 [5] In count V, the plaintiff claims that Irving 6 violated her                  unlawful by this chapter or because
First Amendment right to free speech. The plaintiff alleges                       such individual made a charge,
that she complained to the GMU Disability Resource Center                         testified, assisted, or participated in
about Irving's failure to accommodate her disability and                          any manner in an investigation,
that, in retaliation, Irving gave her an “F” and concocted                        proceeding, or hearing under this
a plagiarism charge. The plaintiff claims that she suffered                       chapter.
damage to her reputation, was not able to graduate on time,
and lost her job and thousands of dollars as a result.

                                                                     42 U.S.C. § 12203(a). 8
The First Amendment right to free speech includes not only
the affirmative right to speak, but also the right to be free from
                                                                     The district court issued no rulings relating to the plaintiff's
retaliation by a public official for the exercise of that right.
                                                                     purported retaliation claim under Title V of the ADA. In
Suarez Corp. Indus. v. McGraw, 202 F.3d 676 (4th Cir.2000).
                                                                     particular, the district court did not decide whether Congress
A plaintiff seeking to recover under § 1983 for retaliation
                                                                     validly abrogated GMU's Eleventh Amendment immunity for
must establish three elements: (1) the plaintiff's right to speak
                                                                     Title V claims and did not address the merits of her claim.
was protected; (2) the plaintiff suffered some adverse action in
                                                                     Because the district court has not yet addressed either the
response to her exercise of a protected right; and (3) a causal
                                                                     threshold jurisdictional issue or the merits, we remand the
relationship between the plaintiff's speech and the defendant's
                                                                     plaintiff's purported retaliation claim to the district court for
retaliatory action. Id. at 685–86.
                                                                     further review as the case merits.
We find that the plaintiff has adequately alleged all three
elements of a First Amendment retaliation cause of action.
Irving does not contest the first element—that the plaintiff's                                      C.
complaint to the Resource Center constituted protected
speech. As for the second element, the plaintiff asserts that         [6] In count VI, the plaintiff also claims that the defendants
Irving gave her an “F” and concocted a plagiarism charge             discriminated against her because of her disability. It
against her in response to her exercising her protected right        appears that the plaintiff actually attempts to allege three
to make a complaint. As for the third element, the plaintiff         discrimination claims under Title II and § 504. 9 First, she
sufficiently alleges that Irving retaliated against her because      claims that the defendants refused to allow her to have
she engaged in protected speech. Accordingly, we reverse the         a representative at the hearing because she is disabled.
district court's dismissal of the plaintiff's First Amendment        Complaint, ¶ 96. Second, she alleges that the defendants failed
retaliation claim.                                                   to reasonably accommodate her by allowing her to have a


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lawyer or her mother represent her at the hearing. Complaint,
¶¶ 51, 95. Third, she asserts that the defendants failed to
accommodate her by giving her additional time to complete                                        2. and 3.
                         10
her assignments. ¶ 97.
                                                                      **7 As for the plaintiff's two failure to accommodate claims,
                                                                     the plaintiff asserts that cases “interpreting the Rehabilitation
                                                                     Act have consistently held that disability discrimination
                               1.                                    can be demonstrated merely by showing an educational
                                                                     institution failed to ... reasonably accommodate a student.”
The plaintiff's first claim clearly states a disability
                                                                     Plaintiff's Brief, p. 38. The plaintiff cites no authority for this
discrimination claim. Pursuant to Title II of the ADA, “no
                                                                     assertion. 12
qualified individual with a disability shall, by reason of such
disability, be excluded from participation in or be denied the
                                                                     The district court did not address the merits of either of
benefits of the services, programs, or activities of a public
                                                                     the plaintiff's purported failure to accommodate claims. We
entity.” 42 U.S.C. § 12132 (emphasis added). To establish a
                                                                     decline to consider the merits of these claims for the first time
cause of action under Title II of the ADA and § 504 of the
                                                                     on appeal. Accordingly, we remand these claims to the district
Rehabilitation Act, a plaintiff must show that: (1) she has
                                                                     court for further consideration as the case merits.
a disability; (2) she is otherwise qualified for the benefit in
question; and (3) her disability was a motivating factor in her
exclusion from the benefit (Title II) or the sole reason for her
exclusion from the benefit (§ 504). Baird v. Rose, 192 F.3d                                         VI.
462, 467, 470 (4th Cir.1999).
                                                                     For the foregoing reasons, we
 *623 In her complaint, the plaintiff sufficiently alleges that:
(1) she has a disability; (2) she is otherwise qualified to          AFFIRM IN PART, REVERSE IN PART, AND REMAND FOR
                                                                     FURTHER PROCEEDINGS CONSISTENT WITH THIS
have a representative at an Honor Committee hearing; 11
                                                                     OPINION.
and (3) the Honor Committee disallowed her from having a
representative because she is disabled.
                                                                     All Citations
The district court wrongly concluded that the plaintiff failed to
allege that she was denied proper representation at the Honor        77 Fed.Appx. 615, 2003 WL 21977963, 182 Ed. Law Rep.
Committee hearing because of her disability. Thus, we reverse        92, 26 NDLR P 204
the district court's dismissal of the plaintiff's claims under
Title II of the ADA and § 504 of the Rehabilitation Act.


Footnotes
1       The district court ruled that a private right of action exists under § 504 of the Rehabilitation Act. Although the defendants
        challenged this ruling at oral argument, they failed to raise this issue in their opening brief. Accordingly, this issue is not
        properly presented and we deem it abandoned. See Edwards, 178 F.3d at 241.
2       The defendants would have us follow the recent Fifth Circuit case, Pace v. Bogalusa City School Board, 325 F.3d 609
        (5th Cir.2003), reh'g en banc granted, 339 F.3d 348 (5th Cir.2003), in which the panel held that the State defendants did
        not knowingly waive their immunity. We decline to follow Pace.
3       The plaintiff may seek recovery against only GMU and Merten and Mulherin, in their official capacities, because § 504
        prohibits discrimination by “any program or activity receiving Federal financial assistance.” 29 U.S.C. § 794(a); Lollar
        v. Baker, 196 F.3d 603, 609 (5th Cir.1999). GMU, a State institution, may be sued because the statutory definition of
        “program or activity” includes universities. 29 U.S.C. § 794(b)(2)(A). Merten and Mulherin may be sued in their official
        capacities because a suit for damages against a State official in his official capacity is treated like a suit against the
        State entity. Lizzi v. Alexander, 255 F.3d 128, 136 (4th Cir.2001), overruled in part on other grounds by Nevada Dep't.
        of Human Resources v. Hibbs, 538 U.S. 721, 123 S.Ct. 1972, 155 L.Ed.2d 953 (2003).




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4     The defendants claim that the plaintiff's plagiarism conviction does not appear on her record. In our review of a motion to
      dismiss, however, we must accept as true all well-pleaded allegations. Mylan Labs., Inc. v. Matkari, 7 F.3d 1130, 1134
      (4th Cir.1993). The defendants will have an opportunity to prove their assertion to the district court on remand.
5     At oral argument, counsel clarified that the plaintiff is not claiming in her complaint that she had a right to plagiarize
      because of her disability. Instead, she alleges that, because Irving did not give her a reasonable accommodation, she was
      forced to turn her assignments in before she had sufficient time to properly complete them. She asserts that what someone
      else might construe to be plagiarism was her best effort to finish her assignment without a reasonable accommodation.
6     In her appellate brief, the plaintiff limits her First Amendment claim to the alleged retaliation for complaining to the
      Resource Center. We deem any other potential First Amendment claims in the plaintiff's complaint to be abandoned.
      See Edwards, 178 F.3d at 241.
7     This allegation appears in count VI only by way of incorporation from count V.
8     The plaintiff cited without discussion § 12203 in the jurisdiction section of her complaint. The plaintiff did not cite any
      reference to the Rehabilitation Act that contains an antiretaliation provision similar to the one in § 12203.
9     The plaintiff alleges her Title II and § 504 claims against all the defendants. Based on the law of the case and our prior
      rulings, the plaintiff may seek recovery under Title II against only Merten and Mulherin, in their official capacities, and
      under § 504 against only GMU and Merten and Mulherin, in their official capacities.
10    The plaintiff abandoned her request for prospective relief relating to this particular claim. See ante at 9. However, it does
      not appear that the plaintiff has abandoned her claim for damages under § 504 of the Rehabilitation Act relating to this
      alleged discriminatory conduct.
11    Title II prohibits discrimination in all “services, programs, or activities” of a public entity. 42 U.S.C. § 12132. Although
      Title II does not define this phrase, we have found that a middle school “show choir” qualifies as a “service, program,
      or activity.” Baird, 192 F.3d at 467. We likewise find that the Honor Committee is one of the “services, programs, or
      activities” provided by GMU to its students.
12    The plaintiff cites 29 C.F.R. § 84.4, but no such regulation exists.


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      KeyCite Yellow Flag - Negative Treatment
Distinguished by Koala v. Khosla, 9th Cir.(Cal.), July 24, 2019          Holdings: The Court of Appeals, Bea, Circuit Judge, held
                        488 F.3d 816                                     that:
                United States Court of Appeals,
                        Ninth Circuit.                                   [1] appeal was not moot;

              Aaron FLINT, Plaintiff–Appellant,                          [2] Eleventh Amendment did not bar action;
                             v.
      George DENNISON, in his official capacity as                       [3] Buckley First Amendment limitation was inapplicable,
   President of the University of Montana–Missoula                       abrogating Welker v. Cicerone, 174 F.Supp.2d 1055;
    (UMT); Associated Students of the University of
                                                                         [4] whether spending limit comported with free speech
    Montana (ASUM); Kyle Engelson, in his official
                                                                         guarantee depended first on nature of forum;
  capacity as the ASUM Elections Committee Chair;
      Justin Baker; Averiel Wolff; Sophia Alvarez;
                                                                         [5] student government election constituted limited public
   Anna Green; Kris Monson; Derek Duncan; Katie                          forum;
     Boeckx, in their official capacities as Elections
     Commissioners for the Associated Students of                        [6] spending limit met viewpoint-neutrality criterion; and
      UMT; Jessica Adam, Defendants–Appellees,
                            and                                          [7] spending limit also met reasonableness criterion.
   Gale Price, President; Vinnie Pavlish, ASUM Vice
 President; Cassie Morton, ASUM Business Manager,
                                                                         Affirmed.
     and ex-officio member of ASUM Senate; Bryce
    Bennett; Andrew Bissell; Brad Cederberg; Tyler
     Clairmont; Nezha Haddouch; Shawana Hagen;
 Chris Healow; Andrea Helling; Derf Johnson; Britta                       West Headnotes (21)
  Padgham; Kimberly Pappas; Josh Peters; Rebecca
  Pettit; Jake Pipinich; Ross Properi; Jon Snodgrass;                     [1]    Federal Courts
 Leslie Venetz; Nathan Ziegler; Casey Hogue, in their                                Rights and interests at stake
   official capacities as ASUM Senators, Defendant.                              Federal Courts
                                                                                      Inception and duration of dispute;
                        No. 05–35441.
                                                                                  recurrence; “capable of repetition yet evading
                               |
                                                                                 review”
              Argued and Submitted Feb. 5, 2007.
                                                                                 Cause of action is moot when issues are no longer
                               |
                                                                                 live, or parties lack legally cognizable interest in
                      Filed June 1, 2007.
                                                                                 outcome of litigation. U.S.C.A. Const. Art. 3, §
Synopsis                                                                         2, cl. 1.
Background: Student brought § 1983 action against state
                                                                                 1 Cases that cite this headnote
university president, student association, and individual
association members, all in their official capacities, alleging
that association bylaws imposing per-candidate limit on                   [2]    Federal Courts
campaign spending for student government offices violated                            Available and effective relief
his free speech rights. The United States District Court for the                 Court's retaining ability to fashion some form
District of Montana, 361 F.Supp.2d 1215, Donald W. Molloy,                       of meaningful relief between parties precludes
J., granted defendants' motion for summary judgment, and                         finding of mootness. U.S.C.A. Const. Art. 3, § 2,
student appealed.                                                                cl. 1.



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        2 Cases that cite this headnote                                228 Cases that cite this headnote


 [3]    Federal Courts                                          [6]    Civil Rights
            Particular cases                                                Liability of Public Employees and Officials
        Student's appeal from adverse decision in his §                Federal Courts
        1983 action against state university president and                  Suits for injunctive or other prospective or
        others, alleging that student association bylaws               equitable relief; Ex parte Young doctrine
        imposing per-candidate limit on campaign                       Federal Courts
        spending for student government offices violated                   Agencies, officers, and public employees
        his free speech rights, was not mooted by his
                                                                       As exception to general rule, state official in
        graduation from university; complaint sought
                                                                       his official capacity, when sued for prospective
        order expunging from university's records
                                                                       injunctive relief, is considered “person” within
        evidence of student's censure and denial of
                                                                       meaning of § 1983; prospective injunctive relief
        his student association seat, which had been
                                                                       is outside proscription of Eleventh Amendment.
        imposed as penalties for exceeding spending
                                                                       U.S.C.A. Const.Amend. 11; 42 U.S.C.A. § 1983.
        limit. U.S.C.A. Const. Art. 3, § 2, cl. 1; U.S.C.A.
        Const.Amend. 1; 42 U.S.C.A. § 1983.                            180 Cases that cite this headnote

        5 Cases that cite this headnote
                                                                [7]    Federal Courts
                                                                            Suits for injunctive or other prospective or
 [4]    Civil Rights
                                                                       equitable relief; Ex parte Young doctrine
             Liability of Municipalities and Other
        Governmental Bodies                                            Federal Courts
                                                                           Higher education; colleges and universities
        Civil Rights
              States and territories and their agencies and            Eleventh Amendment did not bar student's §
        instrumentalities, in general                                  1983 action against state university president and
                                                                       others, alleging that student association bylaws
        States or governmental entities that are
                                                                       imposing per-candidate limit on campaign
        considered arms of state for Eleventh
                                                                       spending for student government offices violated
        Amendment purposes are not “persons” within
                                                                       his free speech rights; student sought injunctive
        meaning of § 1983. U.S.C.A. Const.Amend. 11;
                                                                       relief in form of order to expunge disciplinary
        42 U.S.C.A. § 1983.
                                                                       information in his university records arising
        55 Cases that cite this headnote                               from his having exceeded spending limit, and
                                                                       such relief was partly prospective, i.e. sought
                                                                       to prevent future harm to student. U.S.C.A.
 [5]    Civil Rights                                                   Const.Amends. 1, 11; 42 U.S.C.A. § 1983.
             Education
        Civil Rights                                                   14 Cases that cite this headnote
             Education
        Federal Courts                                          [8]    Constitutional Law
            Higher education; colleges and universities                    Student government elections
        State university and university officials sued in              Subject to constitutional limitations, government
        their official capacities are arms of state entitled           has power to control speech in its school election
        to Eleventh Amendment immunity, and thus                       system in order to preserve character of that
        are not “persons” within meaning of § 1983.                    system. U.S.C.A. Const.Amends. 1, 14.
        U.S.C.A. Const.Amend. 11; 42 U.S.C.A. § 1983.




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                                                                            Post-Secondary Institutions
 [9]    Constitutional Law
                                                                       First Amendment rights of speech and
            Property and Events
                                                                       association extend to campuses of state
        Forum analysis of claims of free speech                        universities. U.S.C.A. Const.Amend. 1.
        infringement is equally applicable to both spatial
        and metaphysical fora. U.S.C.A. Const.Amend.                   2 Cases that cite this headnote
        1.

        1 Cases that cite this headnote                         [13]   Constitutional Law
                                                                           Nature and requisites
                                                                       Designated public forum cannot exist in absence
 [10]   Constitutional Law
                                                                       of specific action on part of government.
            Student government
                                                                       U.S.C.A. Const.Amend. 1.
        Education
            Student organizations and government                       5 Cases that cite this headnote
        Buckley First Amendment free speech limitation
        on legislated restrictions on political campaign        [14]   Constitutional Law
        spending was inapplicable in context of state                      Justification for exclusion or limitation
        university students' campaigns for student
                                                                       Constitutional Law
        association governing seats; student association
                                                                           Justification for exclusion or limitation
        was not akin to political government, and
        association election was not equivalent of                     In public or designated public forum, content-
        congressional race, given, e.g., educational                   based restriction on speech is subject to strict
        context, specific educational purpose of student               scrutiny, requiring state to show compelling
        government, and numerous other limits placed                   interest in restriction that is drawn narrowly
        upon student campaigning; abrogating Welker                    to meet that interest; content-neutral time,
        v. Cicerone, 174 F.Supp.2d 1055. U.S.C.A.                      place, and manner restriction is permissible
        Const.Amends. 1, 14.                                           so long as it is narrowly tailored to serve
                                                                       significant government interest, and leaves open
        2 Cases that cite this headnote                                ample alternative channels of communication.
                                                                       U.S.C.A. Const.Amend. 1.

 [11]   Constitutional Law                                             13 Cases that cite this headnote
            Student government
        Education
                                                                [15]   Constitutional Law
            Student organizations and government
                                                                           Justification for exclusion or limitation
        Whether state university's setting maximum
                                                                       In non-public forum, as long as regulation
        dollar limit on campaign spending for student
                                                                       on speech is reasonable and not an effort
        government offices comported with free speech
                                                                       to suppress expression merely because public
        guarantee depended on nature of forum, and
                                                                       officials oppose speaker's view, government
        whether limitation on speech was legitimate
                                                                       may preserve forum for its intended purposes.
        exercise of state government power in
                                                                       U.S.C.A. Const.Amend. 1.
        preserving character of that forum. U.S.C.A.
        Const.Amends. 1, 14.                                           4 Cases that cite this headnote


                                                                [16]   Constitutional Law
 [12]   Constitutional Law
                                                                           Nature and requisites
            Post-secondary institutions
                                                                       Constitutional Law
        Constitutional Law
                                                                           Justification for exclusion or limitation



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        Government may create limited public forum by                  to suppress any student's viewpoint or had such
        choosing to open non-public forum for limited                  effect, and resulting distinction between freedom
        purposes; once forum is opened, government                     of speech of candidates and non-candidates arose
        must respect lawful boundaries it has set, i.e.                from their respective statuses, not viewpoints.
        may not exclude speech where distinction is not                U.S.C.A. Const.Amends. 1, 14.
        reasonable in light of purpose served by forum,
        or discriminate against speech on basis of its
        viewpoint. U.S.C.A. Const.Amend. 1.                     [20]   Constitutional Law
                                                                           Justification for exclusion or limitation
        14 Cases that cite this headnote
                                                                       As to reasonableness criterion of speech
                                                                       restrictions in limited public forum, there is no
 [17]   Constitutional Law                                             requirement that restriction be narrowly tailored,
            Student government                                         or that government's interest be compelling, in
        Education                                                      order for restriction to be reasonable; instead,
            Student organizations and government                       government need only reasonably justify its
        State university's student government election                 regulation in light of purposes of forum.
        constituted limited public forum, in student's                 U.S.C.A. Const.Amend. 1.
        § 1983 action against university president and
                                                                       12 Cases that cite this headnote
        others, alleging that student association bylaws
        imposing per-candidate limit on campaign
        spending for student government offices violated        [21]   Constitutional Law
        his free speech rights. U.S.C.A. Const.Amends.                     Student government
        1, 14; 42 U.S.C.A. § 1983.                                     Education
                                                                           Student organizations and government
        7 Cases that cite this headnote
                                                                       State university's student association bylaws
                                                                       imposing per-candidate limit on campaign
 [18]   Constitutional Law                                             spending for student government offices met
            Justification for exclusion or limitation                  reasonableness criterion for speech restrictions
        Viewpoint discrimination, which infringes free                 in limited public forum; university regarded
        speech when applied in limited public forum,                   student association as existing for essentially
        occurs when government denies access to                        educational purposes, and viewed spending
        speaker solely to suppress point of view                       limitation as vital to maintain character
        he espouses on otherwise includible subject.                   of association and its election process as
        U.S.C.A. Const.Amend. 1.                                       educational tool rather than ordinary political
                                                                       exercise, and spending limit reasonably served
        4 Cases that cite this headnote                                that pedagogical goal. U.S.C.A. Const.Amends.
                                                                       1, 14.
 [19]   Constitutional Law
                                                                       2 Cases that cite this headnote
            Student government
        Education
            Student organizations and government
        State university's student association bylaws          Attorneys and Law Firms
        imposing per-candidate limit on campaign
        spending for student government offices                *819 James Bopp, Jr., and Jeffrey Gallant, Bopp, Coleson &
        met viewpoint-neutrality criterion for speech          Bostrom, Terre Haute, IN, for the plaintiff-appellant.
        restrictions in limited public forum; spending
        limit applied equally to all student candidates,       David Aronofsky, Legal Counsel, The University of
        there was no showing that limit arose from desire      Montana, Missoula, MT; Catherine M. Swift, Chief Legal


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Counsel, *820 The Montana University System, Helena,              States Constitution prohibit a public university from imposing
MT; and Lisa J. Danetz and Brenda Wright, Demos: A                a $100 expenditure limit on candidates running for a position
Network for Ideas & Action, Boston, MA, for the defendants-       in student government? U.S. Const. amend. I (“Congress shall
appellees.                                                        make no law ... abridging the freedom of speech....”). We
                                                                  conclude that it does not.
Appeal from the United States District Court for the District
of Montana; Donald W. Molloy, District Judge, Presiding.
D.C. No. CV–04–00085–DWM.
                                                                                                I.
Before: SUSAN P. GRABER, RICHARD A. PAEZ, and
CARLOS T. BEA, Circuit Judges.
                                                                                               A.
Opinion
                                                                  The University of Montana is a public university under
                                                                  the Montana Constitution; it is administered through a
Opinion by Judge BEA.                                             Board of Regents. Mont. Const. art. X, § 2. The Board of
                                                                  Regents requires that the University's student government
BEA, Circuit Judge.                                               organization meet certain requirements. For instance, the
                                                                  student government must follow all Board policies, and the
We are called upon to decide whether the University of
                                                                  student government's constitution must be approved by the
Montana may impose a dollar limit on what a student may
                                                                  president of the University.
spend on his campaign for student office. The University's
limit did not affect how the money could be spent; rather,
                                                                  ASUM is the student government at the University
it directly told a student how much he could spend to get
                                                                  of Montana. ASUM is a “representative body of the
elected. The Federal Election Campaign Act of 1971 could
                                                                  members of the Association, organized exclusively for
not tell James Buckley how much of his money he could
                                                                  educational and non-profit purposes.” ASUM Const. art.
spend to be elected a United States Senator. Buckley v.
                                                                  2, § 1, available at http://www.umt.edu/asum/government/
Valeo, 424 U.S. 1, 51–54, 96 S.Ct. 612, 46 L.Ed.2d 659
                                                                  constitution.htm. Under its constitution, ASUM's “primary
(1976) (per curiam). Why, then, may a state university tell
                                                                   *821 responsibility ... is to serve as an advocate for the
students how much they may spend to be elected to student
                                                                  general welfare of the students.” Id. ASUM “government
office? Because, unlike the exercise of state-wide political
                                                                  and activities” must “comply with Montana State law and
self-determination at a national level at issue in Buckley,
                                                                  the policies of the Montana Board of Regents on Higher
the student election at issue here occurred in a limited
                                                                  Education.” Id. § 4. All students at the University registered
public forum, that is, a forum opened by the University to
                                                                  for seven or more credits during the Fall and Spring semesters
serve viewpoint neutral educational interests but closed to
                                                                  are assessed an activity fee, and each student who pays this
all save enrolled students who carried a minimum course
                                                                  fee is a member of ASUM. Id. art. 1, § 2.
load and maintained a minimum grade-point average. These
educational interests outweigh the free speech interests of the
                                                                  ASUM not only serves to represent the students at the
students who campaigned within that limited public forum.
                                                                  University but also provides hands-on, practical educational
                                                                  opportunities for University students. As explained by
When Aaron Flint was a student at the University of Montana,
                                                                  ASUM's senior faculty advisor,
he twice exceeded the $100 campaign expenditure limit
imposed on student candidates for positions in the Associated
Students of the University of Montana (“ASUM”). Following
the second violation, Flint was denied a seat as ASUM                         ASUM offers students experience in
Senator. Flint sued ASUM, the University, and ASUM                            many forms of leadership, through
officers, claiming the spending limit, as applied, violated                   which they develop a variety of
his First Amendment right to freedom of speech. Flint now                     skills to handle the responsibilities
appeals the district court's order of summary judgment in                     that arise in student government.
favor of defendants. The precise question before us is this:                  ASUM senators and executives learn
Does the Speech Clause of the First Amendment to the United                   how to address conflicting interests



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             of diverse constituencies, how to                     from ASUM-sponsored organizations. Id. § 2.G.5, I. As a
             make recommendations about the                        means of enforcing these campaign regulations, the Bylaws
             allocation of budgetary resources,                    provide that any candidate who violates the election rules may
             how to negotiate with administrators                  be barred from candidacy or denied office.
             over matters such as tuition and fee
             increases, and how to draft policies
             and priorities for numerous student
                                                                                             *822 B.
             programs.
                                                                   With this general background in place, we turn to the facts
                                                                   of this case. Flint ran for and won election on a joint ticket
Since ASUM's inception in 1906, the University has viewed          with Gale Price as ASUM President and Vice–President,
ASUM as an invaluable educational tool for students of             respectively, for the 2003–2004 academic year. Flint and Price
the University. ASUM exists, according to its senior faculty       combined to spend about $300 on their campaign and failed
advisor, for “essentially educational purposes.”                   fully to disclose these expenditures as required by the ASUM
                                                                   Bylaws. The ASUM Senate censured both Flint and Price for
Consistent with its goals of representing the students             exceeding the campaign expenditure limit but allowed them
at the University and providing students with leadership           to retain their offices as ASUM President and Vice–President.
opportunities, ASUM allows for the election of three student
executives and twenty student senators. ASUM Const. art. 4,        The following year, Flint ran for a term as ASUM Senator
§ 1(a) Article 7 of the ASUM Constitution and Article 4 of         and again exceeded ASUM's spending limit. Upon submitting
the ASUM Bylaws impose several procedures and restrictions         his campaign expenditure form on April 26, 2004, in
on the student election process. For example, only ASUM            which Flint reported expenditures of $214.69, Flint was
members, i.e., Student Activity Fee-paying students of the         informed by ASUM Elections Chairman Kyle Engelson that
University, who maintain at least a 2.0 cumulative grade point     Flint's name would be removed from the ballot for the
average are eligible to run for elected office. Id. art. 7, § 1.   upcoming election. Flint, then ASUM President, responded
Students must be registered for at least one credit to vote in     to Engelson's letter with an email in which he noted ASUM
any ASUM election. Id.                                             procedures require a two-thirds vote of the Senate approving
                                                                   Engelson's recommendation, which would not be possible
The ASUM Bylaws broadly regulate campaigning, which is             until the election was already underway. Flint suggested
defined as “any activity which directly or indirectly promotes     that Engelson recommend to the Senate that candidates
the candidacy of one or more individuals for office.” ASUM         who violated ASUM election laws not be allowed to take
Bylaws art. V, § 2.A, available at http://www. umt.edu/asum/       office. After the election was underway, the ASUM Senate
government/bylaws.htm. The Bylaws provide that on campus           voted to remove Flint from his Senate seat should he win.
campaign materials may be displayed only after the official        Accordingly, after Flint received enough votes to be elected
campaigning period begins and only in certain areas. Id. §§        ASUM Senator, he was denied office.
2.B–C, 2.F.2–4. The Bylaws further prohibit any door-to-door
campaigning in University residence halls or family housing        Flint filed a complaint in United States District Court on May
and condition campaigning in a classroom on the permission         5, 2004, under 42 U.S.C. § 1983 and the First and Fourteenth
of the professor. Id. § 2.E.                                       Amendments to the United States Constitution, claiming
                                                                   that the ASUM Bylaws's $100 spending cap on campaign
At issue in the case at bar is the Bylaws' campaign                expenditures was an unconstitutional abridgment of free
expenditure limitation: $100 for individual candidates for         speech. Flint sued George Dennison, in his official capacity
office. Id. § 2.G.1–3. The Bylaws require each student             as the University president; ASUM; Kyle Engelson, in his
candidate to document and make public his expenditures             official capacity as ASUM Elections Committee Chair; and
two days prior to the general election. Id. § 2.H. ASUM            seven ASUM Elections Committee Members in their official
reimburses candidates for a portion of their expenditures.         capacities. Flint later filed an amended verified complaint
Id. § 2.G.4. The Bylaws prescribe that all contributions to        adding Gale Price, then ASUM President, two ASUM
campaigns come from students; corporate and political action       Executive Officers in their official capacities, and twenty
committee contributions are prohibited, as are contributions



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ASUM Senators in their official capacities (collectively            v. EPA, 549U.S. 497, 127 S.Ct. 1438, 1452, 167 L.Ed.2d 248
referred to hereinafter as “defendants”).                           (2007); see also DaimlerChrysler Corp. v. Cuno, 547 U.S.
                                                                    332, 126 S.Ct. 1854, 1860–61, 164 L.Ed.2d 589 (2006) (“If
Flint also filed a motion for a temporary restraining order,        a dispute is not a proper case or controversy, the courts have
a motion for a preliminary injunction, and a motion to              no business deciding it, or expounding the law in the course
consolidate the preliminary injunction hearing with the trial       of doing 6633 so.”). A case that “has lost its character as a
on the merits. The district court denied Flint's motions. Before    present, live controversy” is moot and no longer presents a
the court rendered its judgment as to Flint's motion for            case or controversy amenable to federal court adjudication.
preliminary injunction, defendants filed a motion to dismiss        Am. Rivers v. Nat'l Marine Fisheries Serv., 126 F.3d 1118,
the complaint under Federal Rules of Civil Procedure 12(b)          1123 (9th Cir.1997); see also Friends of the Earth, Inc.
(1), 12(b)(6) and 12(b)(7). Following the court's denial of a       v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, 180,
preliminary injunction, Flint then filed an amended verified        120 S.Ct. 693, 145 L.Ed.2d 610 (2000) (explaining that the
complaint to which the defendants again filed a 12(b)(1)            mootness doctrine derives from the requirement of an Article
and 12(b)(6) motion to dismiss. Thereupon, the district court       III case or controversy). A cause of action is moot when the
issued an order to show cause regarding additional briefing         issues “ ‘are no longer “live” or the parties lack a legally
and argument. Flint requested further briefing and argument         cognizable interest in the outcome’ ” of the litigation. City
to resolve the issue as to whether strict scrutiny 1 or rational    of Erie v. Pap's A.M., 529 U.S. 277, 287, 120 S.Ct. 1382,
                                                                    146 L.Ed.2d 265 (2000) (quoting County of L.A. v. Davis,
relationship 2 applied to test the constitutionality *823 of the
                                                                    440 U.S. 625, 631, 99 S.Ct. 1379, 59 L.Ed.2d 642 (1979)).
campaign expenditure limitations. Defendants responded that
                                                                    Mootness, however, is a flexible justiciability doctrine that
additional briefing or argument was not needed and suggested
                                                                    allows review “if there are present effects that are legally
that if the court chose to refer to matters outside the pleadings
                                                                    significant.” Jacobus v. Alaska, 338 F.3d 1095, 1104 (9th
to resolve the 12(b) motion, the court should convert it to a
                                                                    Cir.2003); see also U.S. Parole Comm'n v. Geraghty, 445 U.S.
Rule 56 motion for summary judgment based on the record
                                                                    388, 400, 100 S.Ct. 1202, 63 L.Ed.2d 479 (1980) (explaining
developed in connection with the motion for preliminary
                                                                    that the Court's “cases demonstrate the flexible character
injunction. The district court accepted defendants' suggestion
                                                                    of the Art. III mootness doctrine”). Where a court retains
and, applying a rational relationship standard to the spending
                                                                    the ability to “ ‘fashion some form of meaningful relief’ ”
cap, issued an order and opinion granting summary judgment
                                                                    between the parties, an appeal is not moot, and the court
to defendants on March 28, 2005.
                                                                    retains jurisdiction. Dream Palace v. County of Maricopa, 384
                                                                    F.3d 990, 1000 (9th Cir.2004) (quoting In re Pattullo, 271 F.3d
Flint timely appealed that order. He claims that the district
                                                                    898, 901 (9th Cir.2001) (order)).
court applied the wrong legal standard in determining the
constitutionality of ASUM's regulations. We have jurisdiction
                                                                   [3] Here, although Flint filed his lawsuit prior to his
pursuant to 28 U.S.C. § 1291, and we affirm.
                                                                  graduation, we must consider whether Flint's 2004 graduation
                                                                  from the University of Montana renders his cause of action
                                                                  seeking declaratory and injunctive relief against defendants
                              II.                                 moot. See Harper ex rel. Harper v. Poway Unified *824
                                                                  Sch. Dist., ––– U.S. ––––, 127 S.Ct. 1484, 167 L.Ed.2d
Before turning to the merits of Flint's appeal, we first consider 225 (2007); Clark v. City of Lakewood, 259 F.3d 996, 1006
two threshold issues: whether Flint's claims are moot as a        (9th Cir.2001) (“Mootness inquiries ... require courts to look
result of Flint's graduation from the University of Montana       to changing circumstances that arise after the complaint is
and whether the Eleventh Amendment immunizes defendants           filed....”). Generally, once a student graduates, he no longer
from Flint's suit.                                                has a live case or controversy justifying declaratory and
                                                                  injunctive relief against a school's action or policy, and his
                                                                  case is therefore moot. See Doe v. Madison Sch. Dist. No.
                               A.                                 321, 177 F.3d 789, 798 (9th Cir.1999) (en banc). When a
                                                                  student's record contains negative information derived from
 [1] [2] “Article III of the Constitution limits federal-court allegedly unconstitutional school regulations, however, that
jurisdiction to ‘Cases' and ‘Controversies.’ ” Massachusetts      information may jeopardize the student's future employment



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or college career. Hatter v. L.A. City High Sch. Dist., 452 F.2d    within the meaning of § 1983 and are therefore generally
673, 674 (9th Cir.1971). So long as a former student's record       entitled to Eleventh Amendment immunity.
contains evidence of disciplinary sanctions, and the former
student seeks “an order requiring school officials to expunge        [6] Will recognized one vital exception to this general rule:
from school records all mention of the disciplinary action,”        When sued for prospective injunctive relief, a state official
the action is not moot. Id.                                         in his official capacity is considered a “person” for § 1983
                                                                    purposes. Will, 491 U.S. at 71 n. 10, 109 S.Ct. 2304 (“Of
Here, Flint's amended complaint sought such an order of             course a state official in his or her official capacity, when
expungement. Flint sued for (1) a declaration that ASUM's           sued for injunctive relief, would be a person under § 1983
limitation on campaign expenditures violated his free speech        because ‘official-capacity actions for prospective relief are
rights, (2) an injunction preventing ASUM from removing             not treated as actions against the State.’ ” (quoting Kentucky v.
him from his elected position on the ASUM Senate, and (3)           Graham, 473 U.S. 159, 167 n. 14, 105 S.Ct. 3099, 87 L.Ed.2d
an injunction ordering ASUM to remove from his record “all          114 (1985))). This exception recognizes the doctrine of Ex
findings, proceedings, recommendations, and actions taken           parte Young, 209 U.S. 123, 28 S.Ct. 441, 52 L.Ed. 714 (1908),
as a result of” the election code violations. Consequently,         that a suit for prospective injunctive relief provides a narrow,
despite Flint's graduation from the University in 2004, his         but well-established, exception to Eleventh Amendment
controversy remains “live” because of his third claim for           immunity. See Rounds v. Or. State Bd. of Higher Educ., 166
relief. Given that mootness, unlike standing, is a flexible         F.3d 1032, 1036 (9th Cir.1999) (“Ex Parte Young provided
justiciability doctrine, see Jacobus, 338 F.3d at 1104, we          a narrow exception to Eleventh Amendment immunity for
retain the ability to grant relief in a legally significant way     certain suits seeking declaratory and injunctive relief against
—to wit, ordering the expungement from Flint's record all           unconstitutional actions taken by state officers in their official
evidence of his 2003 censure and the 2004 denial of his             capacities.”); Doe v. Lawrence Livermore Nat'l Lab., 131 F.3d
ASUM Senate seat. Such expungement is certainly a “ ‘form           836, 840 (9th Cir.1997) (“[T]he Eleventh Amendment allows
of meaningful relief.’ ” Dream Palace, 384 F.3d at 1000             only prospective injunctive relief to prevent an ongoing
(quoting Pattullo, 271 F.3d at 901). If we were to determine        violation of federal law.”).
that Flint's First Amendment rights were violated, declaratory
relief would require the University to expunge any and all           [7] Flint seeks declaratory and injunctive relief as related to
records of Flint's censure and Senate seat denial; therefore, we    past violations, namely, ASUM's allegedly unconstitutional
hold that Flint's case is not rendered moot by his graduation. 3    infringement of his right to freedom of speech. However, as
                                                                    in Doe v. Lawrence Livermore National Laboratory, the relief
                                                                    Flint seeks is not so limited. In Doe, a contract university
                                                                    employee sought damages and reinstatement for breach of
                                 B.                                 contract and a § 1983 violation after an alleged wrongful
                                                                    discharge. Id. at 837. The district court dismissed both claims
 [4] [5] Having determined that Flint's claims are not moot,
                                                                    as barred by the Eleventh Amendment, but we reversed the
we now consider whether defendants are entitled to immunity
                                                                    dismissal of the § 1983 claim, holding that reinstatement
under the Eleventh Amendment. The Eleventh Amendment
                                                                    constitutes prospective injunctive relief because a wrongful
limits § 1983 claims such as Flint's. In Will v. Michigan
                                                                    discharge is a continuing violation. Id. at 841. Here, the
Department of State Police, 491 U.S. 58, 70, 109 S.Ct. 2304,
                                                                    injunctions Flint seeks as related to past violations serve to
105 L.Ed.2d 45 (1989), the Supreme Court held that “States
                                                                    expunge from University records the 2003 censure and 2004
or governmental entities that are considered ‘arms of the
                                                                    denial of his Senate seat, which actions may cause Flint harm.
State’ for Eleventh Amendment purposes” are not “persons”
                                                                    Thus, the injunctions sought are not limited merely to past
under § 1983. Moreover, Will clarified that “a *825 suit
                                                                    violations: they serve the purpose of preventing present and
against a state official in his or her official capacity .... is no
                                                                    future harm to Flint. Therefore, they cannot be characterized
different from a suit against the State itself.” Id. at 71, 109
                                                                    solely as retroactive injunctive relief and are not barred by the
S.Ct. 2304. We have held that a state university is an arm of
the state entitled to Eleventh Amendment immunity. See, e.g.,       Eleventh Amendment. 4
Armstrong v. Meyers, 964 F.2d 948, 949–50 (9th Cir.1992)
(per curiam). Therefore, state officials sued in their official
capacities, including university officials, are not “persons”


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                                                                   a means of determining when the Government's interest
                                                                   in limiting the use of its property to its intended purpose
                              III.
                                                                   outweighs the interest of those wishing to use the property for
Satisfied that this case presents a live legal controversy and     other purposes.” 473 U.S. at 800, 105 S.Ct. 3439. 5
that the Eleventh Amendment does not bar Flint's suit against
defendants, we turn to the merits of Flint's claims. Because       Here, both parties eschew forum analysis as the proper
Flint appeals from the district court's order granting summary     framework within which to analyze Flint's claim that
judgment in favor of defendants, we review de novo, viewing        the campaign expenditure limitation violates the First
the facts in a *826 light most favorable to Flint and drawing      Amendment: Flint points to Buckley while defendants point
all reasonable inferences in his favor. Scheuring v. Traylor       to Widmar v. Vincent, 454 U.S. 263, 102 S.Ct. 269, 70
Bros., 476 F.3d 781, 784 (9th Cir.2007). Because neither           L.Ed.2d 440 (1981). We disagree on the one point upon
party disputes the relevant facts, our analysis is focused on      which the parties agree: their contention that traditional First
application of the correct legal principles to the facts before    Amendment analysis is inapplicable here. To demonstrate
us. Arakaki v. Hawaii, 314 F.3d 1091, 1094 (9th Cir.2002).         why we disagree, we briefly address each party's contention.



                              A.                                                              *827 B.

The “speech” at issue in this case takes the form of a
student candidate's spending during the election cycle for                                        1.
ASUM office. Because campaign expenditures implicate a
                                                                    [10] On the one hand, Flint vigorously asserts that student
student candidate's ability to convey his or her message to
                                                                   spending as part of the ASUM election is “political speech”
the University student body, the expenditures necessarily
                                                                   that may be regulated only subject to strict scrutiny. Flint
constitute “speech” and thus qualify for First Amendment
                                                                   equates the ASUM student government to state and national
protection. See Austin v. Mich. Chamber of Commerce, 494
                                                                   government: “The role of the ASUM officers is no less
U.S. 652, 657, 110 S.Ct. 1391, 108 L.Ed.2d 652 (1990)
                                                                   important to society than is that of the Montana state
(“Certainly, the use of funds to support a political candidate
                                                                   government.” Based on his equation of ASUM student
is ‘speech’....”); Buckley v. Valeo, 424 U.S. 1, 19–20, 96 S.Ct.
                                                                   leaders to elected political officials, Flint contends that
612, 46 L.Ed.2d 659 (1976) (per curiam). There is no dispute
                                                                   Buckley is controlling and mandates that the ASUM campaign
in this case that Buckley and its progeny apply to the limited
                                                                   expenditure limitations be struck down as an unconstitutional
extent that they classify the student campaign expenditures as
“speech” worthy of First Amendment protection.                     limitation on speech. 6


 [8]     [9] That ASUM campaign expenditures constitute            Flint's arguments are unpersuasive. We may not simply
speech is not, however, the end of the matter. The speech at       ignore the facts that the campaign expenditure limitations
issue occurred in the University of Montana student election       in this case involved election to student government and
system, and, subject to constitutional limitations, government     that the expenditures occurred mostly, if not exclusively,
has the power to control speech in its school election system      on a university campus. The educational context of a
to preserve the character of that system. Cornelius v. NAACP       university, the specific educational purpose of ASUM student
Legal Def. & Educ. Fund, Inc., 473 U.S. 788, 800, 105              government, and the numerous other limits placed upon
S.Ct. 3439, 87 L.Ed.2d 567 (1985). “The existence of a             student campaigning distinguish the campaign expenditure
right of access to public property and the standard by             limitations in this case from those in cases such as Buckley,
which limitations upon such a right must be evaluated differ       which involved campaigns for national political office.
depending on the character of the property at issue.” Perry        Furthermore, while ASUM undoubtedly has an impact on
Educ. Ass'n v. Perry Local Educators' Ass'n, 460 U.S. 37,          students at the University and has certain powers to distribute
44, 103 S.Ct. 948, 74 L.Ed.2d 794 (1983). In Cornelius, the        funds among student groups, it simply does not follow that
Supreme Court reaffirmed that when examining government            ASUM is akin to a political government or that the ASUM
speech limitations, we are to examine the nature of the            election is the equivalent of a congressional race. The ubiquity
restriction: “[T]he Court has adopted a forum analysis as          with which political government is present to control facets



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of our lives is not—thank Heavens!—replicated by student           possible. 454 U.S. at 276, 102 S.Ct. 269 (internal quotation
government in students' lives.                                     marks omitted). We should defer, defendants contend, to
                                                                   their judgment in reasonably regulating speech regardless
The University uses ASUM primarily as an educational tool          whether the regulation advances the purpose of the forum the
—a means to educate students on principles of representative       University has provided for the speech.
government, parliamentary procedure, political compromise,
and leadership. In contrast to participation in state or            [12] We do not read the Supreme Court's cases to require
national politics, participation in ASUM student elections         such deference without first scrutinizing more carefully the
is limited to ASUM-enrolled University students—students           nature of the student election forum and the government's
must maintain at least a 2.0 grade point average to run for        interest in limiting speech within that forum. Although the
office and only students are allowed to vote in the election.      Supreme Court in Widmar discussed the unique setting of
Unlike state and national governments, ASUM is a creature          a university campus, it also stressed that its “cases leave
of the Board of Regents, whose policy calls for ASUM's             no doubt that the First Amendment rights of speech and
Constitution and conditions the validity of the constitution on    association extend to the campuses of state universities.” 454
the University president's approval. Indeed, ASUM's entire         U.S. at 268–69, 102 S.Ct. 269. “The University's institutional
operation is subject to the Board of Regents' policies and         mission, which it describes as providing a secular education
campus policies.                                                   to its students, does not exempt its actions from constitutional
                                                                   scrutiny.” Id. at 268, 102 S.Ct. 269 (internal quotation marks
Thus, given the nature of this student organization and            and citation omitted). The Court looked to the nature of
the environment in which it exists and operates, ASUM              the property, explaining that the university in Widmar had
student officeholders are not the equivalent of elected            “created a forum generally open for use by student groups”
political officeholders. As the Eleventh Circuit explained in      and therefore the university had “assumed an obligation to
a case dealing with similar campaign limitations for student       justify its discriminations and exclusions under applicable
government, “this is a university, whose primary purpose is        constitutional norms.” Id. at 267, 102 S.Ct. 269.
education, not electioneering. Constitutional protections must
be analyzed with due regard to that educational purpose, an        The Supreme Court has applied forum analysis in other,
approach that has been consistently adopted by the courts.”        similar cases involving speech limitations on a university
Ala. Student Party v. Student Gov't Ass'n of the Univ. of Ala.,    campus. In Rosenberger v. Rector & Visitors of University of
867 F.2d 1344, 1346 (11th Cir.1989). We should not apply the       Virginia, 515 U.S. 819, 828–30, 115 S.Ct. 2510, 132 L.Ed.2d
principles of Buckley without first considering *828 whether       700 (1995), the Supreme Court characterized a university
the university setting affects our First Amendment analysis.       student fund responsible for monetary reimbursements to
See Widmar, 454 U.S. at 267 n. 5, 102 S.Ct. 269. 7                 student groups as a limited public forum. The Court
                                                                   then analyzed the student fund's denial of distributions
                                                                   to a university student religious group as viewpoint
                                                                   discrimination and subjected the denial to traditional First
                              2.
                                                                   Amendment scrutiny. Id. at 830–37, 115 S.Ct. 2510. 8
 [11] We likewise disagree with defendants' position, and          Likewise, in *829 Board of Regents of University of
that of the district court, that the university setting dictates   Wisconsin System v. Southworth, 529 U.S. 217, 229–35, 120
that we must defer to all reasonable decisions imposed on          S.Ct. 1346, 146 L.Ed.2d 193 (2000), the Supreme Court ruled
student speech during the election process rather than first       that a university activity fee charged to students, which fee
engaging in a forum analysis. Relying on passages in Widmar        was used to facilitate extracurricular student speech, was
that public universities have the right to determine “who may      constitutional so long as the university's funding support was
teach, what may be taught, how it shall be taught, and who         viewpoint neutral.
may be admitted to study” and the right to “make academic
judgments as to how best to allocate scarce resources,”            In sum, we conclude that the constitutionality of the campaign
defendants assert that absent a showing of unreasonableness,       expenditure limitation depends on the nature of the forum and
the spending limits are per se constitutional because ASUM         whether the limitation on speech is a legitimate exercise of
is an educational tool, and the University desires that            government power in preserving the character of the forum. 9
leadership opportunities be available to as many students as


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                                                                   by intentionally opening a nontraditional public forum for
                                                                   public discourse.”). A content-based restriction on speech
                              IV.
                                                                   in a public or designated public forum is subject to strict
                                                                   scrutiny, requiring the state to show a compelling interest in
                              A.                                   the restriction that is drawn narrowly to meet that interest.
                                                                   Perry, 460 U.S. at 45, 103 S.Ct. 948. A content-neutral
Although the student campaign expenditures constitute
                                                                   time, place, and manner restriction is permissible so long
speech protected by the *830 First Amendment, “[e]ven
                                                                   as it is “narrowly tailored to serve a significant government
protected speech is not equally permissible in all places and at
                                                                   interest, and leave[s] open ample alternative channels of
all times.” Cornelius, 473 U.S. at 799, 105 S.Ct. 3439. Indeed,
                                                                   communication.” Id.; Faith Ctr., 480 F.3d at 907.
the Supreme Court has made clear:

  Nothing in the Constitution requires the Government freely        [15] At the opposite end of the fora spectrum is the non-
  to grant access to all who wish to exercise their right to       public forum. The non-public forum is “[a]ny public property
  free speech on every type of Government property without         that is not by tradition or designation a forum for public
  regard to the nature of the property or to the disruption        communication.” Faith Ctr., 480 F.3d at 907. We subject
  that might be caused by the speaker's activities.... [T]he       speech restrictions in a non-public forum to less-exacting
  Government “no less than a private owner of property, has        judicial scrutiny: “[A]s long as the regulation on speech is
  power to preserve the property under its control for the use     reasonable and not an effort to suppress expression merely
  to which it is lawfully dedicated....”                           because public officials oppose the speaker's view,” the
                                                                   government may preserve the forum for its intended purposes.
Id. at 799–800, 105 S.Ct. 3439 (citation omitted) (quoting         Perry, 460 U.S. at 46, 103 S.Ct. 948.
Greer v. Spock, 424 U.S. 828, 836, 96 S.Ct. 1211, 47
L.Ed.2d 505 (1976)); see also Faith Ctr. Church Evangelistic   [16] The government is not left with only the two options
Ministries v. Glover, 480 F.3d 891, 906–07 (9th Cir.2007).    of maintaining a non-public forum or creating a designated
Accordingly, we apply a forum analysis to determine when      public forum; if the government chooses to open a non-
the government has legitimate interests in restricting the    public forum, the First Amendment allows the government
use of a forum to certain intended purposes that outweigh     to open the non-public forum for limited purposes. *831
a speaker's interest in using the forum for a different       The “limited public forum is a sub-category of a designated
purposes. Cornelius, 473 U.S. at 800, 105 S.Ct. 3439; Faith   public forum that ‘refer[s] to a type of nonpublic forum that
Ctr., 480 F.3d at 907. “Forum analysis has traditionally      the government has intentionally opened to certain groups or
divided government property into three categories: public     to certain topics.’ ” Hopper v. City of Pasco, 241 F.3d 1067,
fora, designated public fora, and nonpublic fora. Once the    1074 (9th Cir.2001) (alteration in original) (quoting DiLoreto
forum is identified, we determine whether restrictions on     v. Downey Unified Sch. Dist. Bd. of Educ., 196 F.3d 958,
                                                              965 (9th Cir.1999)); see also Rosenberger, 515 U.S. at 829,
speech are justified by the requisite standard.” Faith Ctr., 480
F.3d at 907 (citation omitted).                               115 S.Ct. 2510 (“The necessities of confining a forum to the
                                                              limited and legitimate purposes for which it was created may
 [13]     [14] On one end of the fora spectrum lies the justify the State in reserving it for certain groups or for the
traditional public forum, “places which by long tradition ... discussion of certain topics.”). But “[o]nce [a government]
have been devoted to assembly and debate.” Perry, 460         has opened a limited forum, ... [it] must respect the lawful
U.S. at 45, 103 S.Ct. 948; accord Ark. Educ. Television       boundaries it has itself set.” Rosenberger, 515 U.S. at 829, 115
Comm'n v. Forbes, 523 U.S. 666, 677, 118 S.Ct. 1633,          S.Ct. 2510. Specifically, the government “may not exclude
140 L.Ed.2d 875 (1998). Next on the spectrum is the so-       speech where its distinction is not ‘reasonable in light of the
called designated public forum, which exists “[w]hen the      purpose served by the forum,’ ” id. (quoting Cornelius, 473
government intentionally dedicates its property to expressive U.S. at 806, 105 S.Ct. 3439), “nor may [the government]
conduct.” Faith Ctr., 480 F.3d at 907. A designated public    discriminate against speech on the basis of its viewpoint,” id.;
forum cannot exist in the absence of specific action on the   see also Faith Ctr., 480 F.3d at 907; Cogswell v. City of Seattle,
part of the government. Cornelius, 473 U.S. at 802, 105       347 F.3d 809, 814 (9th Cir.2003).
S.Ct. 3439 (“The government does not create a public forum
by inaction or by permitting limited discourse, but only



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                                                                  The ASUM Bylaws define campaigning “as any activity
                                                                  which directly or indirectly promotes the candidacy of
                              B.
                                                                  one or more individuals for an office,” including a
 [17]     We conclude that the ASUM student election              candidate's personal appearances, the posting or publishing
constitutes a limited public forum. While “the campus of a        of advertisements, distribution of literature, lobbying voters,
public university, at least for its students, possesses many      and the buying of votes with money, gifts, or alcohol. ASUM
of the characteristics of a public forum,” Widmar, 454 U.S.       Bylaws art. V, § 2.A. While the Bylaws do not limit the
at 267 n. 5, 102 S.Ct. 269, the forum in this case is not         content of campaign speech, the Bylaws certainly do not
the University of Montana campus. Rather, because Flint           permit students or the general public to use the ASUM
challenges the limitations on speech within the confines of the   election system indiscriminately. See Perry, 460 U.S. at 47,
ASUM election, whether the speech is delivered on campus          103 S.Ct. 948.
or off, the relevant forum is the ASUM election itself, with
                                                                  Thus, a careful review of the ASUM Constitution and the
its accompanying rules and regulations. 10 See Cornelius,
                                                                  ASUM Bylaws shows the University's purpose of opening
473 U.S. at 801, 105 S.Ct. 3439 (“[I]n defining the forum
                                                                  a limited public forum, in the form of the ASUM elections.
we have focused on the access sought by the speaker.”);
                                                                  See Faith Ctr., 480 F.3d at 908 n. 8 (“A limited public forum
DiLoreto, 196 F.3d at 965 (“The relevant forum is defined
                                                                  is a sub-category of the designated public forum, where the
by the access sought by the speaker.”). Although the ASUM
                                                                  government opens a nonpublic forum but reserves access to
election “is a forum more in a metaphysical than in a spatial
                                                                  it for only certain groups or categories of speech.”); Hopper,
or geographic sense,” the forum analysis outlined above is
                                                                  241 F.3d at 1074 (same); DiLoreto, 196 F.3d at 965 (same);
equally applicable. Rosenberger, 515 U.S. at 830, 115 S.Ct.
                                                                  see also Rosenberger, 515 U.S. at 829, 115 S.Ct. 2510;
2510; see supra note 5.
                                                                  Ala. Student Party, 867 F.2d at 1353 (Tjoflat, J., dissenting)
                                                                  (noting that regulations governing campaigns for student
The ASUM election is not a traditional public forum:
                                                                  government at a university created a limited public forum).
unlike parks and streets, it has not “by long tradition or by
                                                                  For example, a student's ability to participate in the forum as
government fiat” been “devoted to assembly and debate.”
                                                                  a candidate is selective and the standards are clear. To run for
Perry, 460 U.S. at 45, 103 S.Ct. 948; see also Forbes, 523 U.S.
                                                                  office, a student must be registered for seven or more credits
at 678, 118 S.Ct. 1633 (“The Court has rejected the view that
                                                                  during the fall and spring semesters, pay a student activity fee,
the traditional public forum status extends beyond its historic
                                                                  and maintain at least a 2.0 cumulative grade point average.
confines....”).
                                                                  ASUM Const. art. 7, § 1. Only students registered for at least
                                                                  one credit are allowed to vote in the ASUM election. Id.
The ASUM election also is not a designated public forum.
“To create a forum of this type, the government must intend to
                                                                  Furthermore, unmistakably clear standards govern
make the property generally available to a class of speakers.”
                                                                  campaigning within the forum. Under the ASUM Bylaws,
Forbes, 523 U.S. at 678, 118 S.Ct. 1633 (internal quotation
                                                                  campaign materials may be displayed only after the official
marks and citation omitted). “[G]overnment does not create a
                                                                  campaigning period begins. Id. § 2.B. The Bylaws prohibit
public forum by inaction or by permitting limited discourse,
                                                                  any door-to-door campaigning in University residence halls
but only by intentionally opening a nontraditional forum for
                                                                  or family housing. Campaign speech may occur in a
public discourse.” Cornelius, 473 U.S. at 802, 105 S.Ct. 3439
                                                                  classroom only with the consent of the professor. Id. §
(emphasis added); see also Planned Parenthood of S. Nev.,
                                                                  2.E. Posters may be placed in residence halls only with the
Inc. v. Clark County Sch. Dist., 941 F.2d 817, 822 & n. 5 (9th
                                                                  approval of the residence hall office and in the University
Cir.1991) (en banc).
                                                                  Center only with the approval of the University Center office.
                                                                  Id. § 2.F.2, 3. On the University campus itself, campaign
 *832 Here, the ASUM election provides for the selection
                                                                  materials may be posted only on kiosks. Id. § 2.F.4. And,
of students to govern student affairs; the election does not
                                                                  of course, student candidates are not allowed to spend more
provide University installations for outsiders to showcase
                                                                  than $100 promoting their campaign. There is nothing in the
ideas in general. 11 Thus, the ASUM election exists to            ASUM *833 Constitution or Bylaws, or the record before
allow campaigns for student office and to elect student           us, to suggest that these limitations, save the expenditure
representatives to ASUM leadership positions in order to          limitation, do not apply equally to all who participate in a
provide student candidates a valuable educational experience.


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student campaign, candidates and noncandidates alike. There        473 U.S. at 806, 105 S.Ct. 3439 (emphasis added); see also
is also no dispute that the University, through ASUM, applies      Sammartano v. First Judicial Dist. Court, 303 F.3d 959, 971
these policies consistently. The spending limits have been in      (9th Cir.2002) (recognizing that “where the government is
place since 1970, and Defendant Gale Price, who ran on a           plainly motivated by the nature of the message rather than the
ticket with Flint in the 2003 election, was censured along         limitations of the forum or a specific risk within that forum,
with Flint for violating the spending limits. See Hopper, 241      it is regulating a viewpoint”). “Discrimination against speech
F.3d at 1076 (“[C]onsistency in application is the hallmark        because of its message is presumed to be unconstitutional.”
of any policy designed to preserve the non-public status of a      Rosenberger, 515 U.S. at 828, 115 S.Ct. 2510.
forum.”).
                                                                    [19] There is no dispute in this case that the spending
In summary, the restrictions on who may participate as             limit applies equally to all ASUM student candidates, as
a candidate or voter, and the regulations of the manner            do all other campaign restrictions. The district court was
in which the campaign is conducted, together demonstrate           presented no evidence showing that the University, through
that the ASUM election constitutes a limited public forum.         the spending limit, is attempting to suppress a particular point
This forum exists solely to allow campaigns for ASUM               of view in the context of the ASUM election. Conversely, as
student office and the election of student representatives,        evidenced by Gale Price's censure, the record demonstrates
thereby providing an educational experience for the student        that the spending limit is applied equally to all student
candidates and student voters.                                     candidates, regardless of their views.

                                                                    *834 This case stands in contrast to Rosenberger and Good
                                                                   News Club v. Milford Central School, 533 U.S. 98, 107–
                              C.
                                                                   08, 121 S.Ct. 2093, 150 L.Ed.2d 151 (2001), both of which
We now apply this framework to analyze the constitutionality       involved viewpoint discrimination in a limited public forum.
of the campaign expenditure limitation. We must analyze            In Rosenberger, the Supreme Court found that by excluding
whether the expenditure limitation is viewpoint neutral and        funding to a student religious group solely because the
reasonable given the purposes of the forum. Rosenberger,           religious group promoted a particular religious perspective,
515 U.S. at 829, 115 S.Ct. 2510; Faith Ctr., 480 F.3d at           the university was discriminating in a limited public forum
907; Cogswell, 347 F.3d at 814. Because government “must           on the basis of that group's viewpoint. 515 U.S. at 829–37,
respect the lawful boundaries it has itself set” in opening        115 S.Ct. 2510. Examining this holding in Faith Center, we
a limited public forum, any restriction on speech which is         explained that, “[b]ecause other student publications were
not viewpoint neutral or is unreasonable, fails constitutional     free to discuss the topic of religion from a myriad of views
scrutiny. Rosenberger, 515 U.S. at 829, 115 S.Ct. 2510.            other than the prohibited perspective, the University had
                                                                   discriminated on the basis of viewpoint.” 480 F.3d at 913.
                                                                   Similarly, in Good News Club, the Supreme Court found
                                                                   viewpoint discrimination where a public school excluded a
                              1.
                                                                   Christian club from meeting on the school's grounds while
 [18]    Viewpoint neutrality is the requirement that              permitting nonreligious groups to meet at the school. 533 U.S.
government not favor one speaker's message over another's          at 107–09, 121 S.Ct. 2093. The religious club sought only “to
regarding the same topic. When “government has excluded            address a subject otherwise permitted [in] the [limited public
perspectives on a subject matter otherwise permitted by            forum], the teaching of morals and character, from a religious
the forum,” the government is discriminating on the basis          standpoint.” Id. at 109, 121 S.Ct. 2093. Thus, exclusion of the
of viewpoint. Faith Ctr., 480 F.3d at 912. If certain              religious group from the forum amounted to impermissible
speech “fall[s] within an acceptable subject matter otherwise      viewpoint discrimination.
included in the forum, the State may not legitimately exclude
it from the forum based on the viewpoint of the speaker.”          Here, no evidence suggests that the University's desire to limit
Cogswell, 347 F.3d at 815. The Supreme Court has been clear        student candidate spending results from a desire to suppress
that viewpoint discrimination occurs when the government           any student's viewpoint or that the limitation in any way
“denies access to a speaker solely to suppress the point of view   suppresses a particular candidate's viewpoint. The $100 limit
                                                                   does not apply solely to vegetarians, pacifists and Marxists,
he espouses on an otherwise includible subject.” Cornelius,


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but not to meat-eaters, bellicists and fascists. Neither does      be compelling for a restriction to be reasonable.”). So long
the limit apply to candidates who might wish to abolish            as the government can reasonably justify its regulation on
student government or at least intercollegiate athletics, but      speech in the limited public forum in light of the purposes of
not to servile apple-polishers of the status quo or “jocks.”       the forum, the regulation passes constitutional muster.
Thus, the campaign expenditure limitation does not constitute
viewpoint discrimination.                                           [21] Since its inception, ASUM has been subject to
                                                                   the University of Montana's educational mission. ASUM's
Flint's contentions do not persuade us to hold otherwise. Flint    faculty advisor explained that ASUM exists for “essentially
argues that the campaign expenditure limitation constitutes        educational purposes.” ASUM's Constitution declares that
viewpoint discrimination because the limitation “[a]llow[s]        ASUM is “organized exclusively for educational and
noncandidate students, student associations and outside            nonprofit purposes.” ASUM Const. art. II, § 1. The election
groups ... to speak with unlimited volume while limiting           of student representatives to ASUM leadership positions is
candidate speech.”                                                 designed to help further the educational purpose of ASUM.
                                                                   The evidence before us clearly shows that the University
The candidate/non-candidate distinction, however, is based         views the spending limitation as vital to maintain the
on the status of the speaker, not on the speaker's viewpoint.      character of ASUM and its election process as an educational
The Supreme Court has held that in a non-public (or limited        tool, rather than an ordinary political exercise. ASUM's
public) forum the government may “make distinctions in             senior faculty advisor explained that the spending limit
access on the basis of subject matter and speaker identity.”       was adopted in the revised ASUM Constitution of 1969–
Perry, 460 U.S. at 49, 103 S.Ct. 948 (holding that allowing        1970 “as a measure intended to defend ASUM against
different access based on the status of one union as the           being steered away from its properly educational goals.”
exclusive representative for the school district was not           The “primary intent” of the spending limits is “to prevent
viewpoint discrimination because it distinguished based upon       student government's being diverted by interests other than
status, not particular views) (emphasis added); see also Ariz.     ones educational.” It is thus obvious that the purpose of
Right to Life Political Action Comm. v. Bayless, 320 F.3d          imposing the spending limit on student candidates is to
1002, 1009–10 (9th Cir.2003) (noting that a statute restricting    serve pedagogical interests in educating student leaders at the
the political speech of Political Action Committees but not        University.
candidates or other participants did not discriminate by
viewpoint). Here, the spending limit is directed at the student    We find that the spending limits reasonably serve this
candidates because they are the focus of the forum's purpose.      pedagogical aim. ASUM exists to teach students responsible
Whether such focus is reasonable to achieve that purpose is        leadership and behavior. Imposing limits on candidate
our next inquiry.                                                  spending requires student candidates to focus on desirable
                                                                   qualities such as the art of persuasion, public speaking,
                                                                   and answering questions face-to-face with one's potential
                                                                   constituents. Students are forced to campaign personally,
                              2.
                                                                   wearing out their shoe-leather rather than wearing out a
 [20] We are also satisfied that the candidate spending limit is   parent's—or an activist organization's—pocketbook. Our
reasonable. The reasonableness inquiry “focuses on whether         conclusion is supported by the declaration of Gale Price,
the limitation is consistent with preserving the property [here    former ASUM President:
the ASUM election] for the purpose to which it is dedicated.”
DiLoreto, 196 F.3d at 967; see also Perry, 460 U.S. at 50–
51, 103 S.Ct. 948. Reasonableness *835 is not the legal                        Unlimited spending in ASUM
equivalent of narrow tailoring or least restrictive means;                     elections also would change the
indeed, the government's chosen method to preserve the                         nature of the election process as
character of a limited public forum “need not be the most                      a learning experience. The spending
reasonable or the only reasonable limitation.” Cornelius, 473                  limits mean that students have to
U.S. at 808, 105 S.Ct. 3439; accord Cogswell, 347 F.3d at                      figure out no-cost or low-cost ways
817 (“[T]here is no requirement that a restriction in a limited                of campaigning. They have to plan
public forum be narrowly tailored or the government's interest                 ahead to figure out their strategy, rather



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                                                                   applying the spending limitation only to candidates helps
                                                                   preserve the nature of the ASUM election as an educational
             than just dumping a lot of money into                 experience for those students actively participating therein.
             advertising materials at the last minute.             Even if not the best or most effective means of providing
             They have to make decisions about                     the student candidates the educational experience that the
             allocating their resources effectively.               University seeks to provide through the ASUM elections,
             Without spending limits, the well-off                 we are confident the spending limits reasonably serve the
             students would not have to face these                 purpose of the forum. See Cornelius, 473 U.S. at 808, 105
             constraints or make these kinds of                    S.Ct. 3439. In a limited public forum, the First Amendment
             decisions in the course of running for                requires nothing more.
             ASUM.


                                                                                                 V.
The spending limitation is thus consistent with the purpose
of the limited public forum in providing student leaders an        By creating a student election process, the University of
educational experience as they campaign for, and are elected       Montana has opened a limited public forum dedicated to
to, student government. See DiLoreto, 196 F.3d at 967. 12          allow campaigning for and election to leadership positions
                                                                   in student government. The University's purpose in opening
Furthermore, it is reasonable for the University to confine this   such a forum is to provide student candidates and student
spending limitation to student candidates. Because the *836        voters a certain type of educational experience. We hold that
purpose of ASUM is to provide an educational experience to         imposing an expenditure limitation on student candidates is
those students who actively participate in the organization,       viewpoint neutral and serves to effectuate the purpose of
it is reasonable for the University to limit the campaign          the ASUM elections. We therefore affirm the district court's
expenditure limitation to student candidates. In Perry, where      summary judgment in favor of defendants.
several teacher unions received different levels of access to
a limited public forum, the Supreme Court explained that           AFFIRMED.
“[t]he differential access provided [the teacher unions] is
reasonable because it is wholly consistent with the district's
legitimate interest in ‘preserv[ing] the property ... for the      All Citations
use to which it is lawfully dedicated.’ ” 460 U.S. at 50–51,
                                                                   488 F.3d 816, 221 Ed. Law Rep. 514, 07 Cal. Daily Op. Serv.
103 S.Ct. 948 (alterations in original) (quoting U.S. Postal
                                                                   6274, 2007 Daily Journal D.A.R. 8268
Serv. v. Council of Greenburgh Civic Ass'ns, 453 U.S. 114,
129–30, 101 S.Ct. 2676, 69 L.Ed.2d 517 (1981)). Here too,


Footnotes
1      Under a strict scrutiny analysis, government is required to show that its regulation of speech “is necessary to serve a
       compelling state interest and that it is narrowly drawn to achieve that end.” Perry Educ. Ass'n v. Perry Local Educators'
       Ass'n, 460 U.S. 37, 45, 103 S.Ct. 948, 74 L.Ed.2d 794 (1983)
2      Under a rational relationship analysis, government may regulate speech “as long as the regulation on speech is
       reasonable and not an effort to suppress expression merely because public officials oppose the speaker's view.” Id. at
       46, 103 S.Ct. 948.
3      This case is distinguishable from Students for a Conservative America v. Greenwood, 378 F.3d 1129 (9th Cir.2004).
       There, we found the expungement exception inapplicable despite the students' request for expungement because the
       university did not keep records of election code violations. Id. at 1131. There was also no evidence in that case that
       the students were censured. In contrast, Flint was censured by ASUM, a school organization, in 2003 and denied his
       Senate seat in 2004 as is memorialized in ASUM Senate Meeting Minutes of April 28, 2004. Further evidence includes
       correspondence memorializing Flint's violation of the spending limit in 2004 from Kyle Engelson on behalf of the ASUM
       Senate. Furthermore, neither in its briefing nor during oral argument has the University rebutted Flint's assertion that it
       keeps records of Flint's 2003 censure and 2004 Senate seat denial.




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4      Because we ultimately hold that ASUM's campaign expenditure limitations do not violate the First Amendment and
       therefore affirm the district court's grant of summary judgment to all defendants, we need not consider defendants'
       argument that the student defendants are not state actors.
5      That the ASUM student election system “is a forum more in a metaphysical than in a spatial or geographic sense” does
       not affect our analysis because the Supreme Court has made clear that forum analysis is equally applicable to both spatial
       and metaphysical fora. Rosenberger v. Rector & Visitors of Univ. of Va., 515 U.S. 819, 830, 115 S.Ct. 2510, 132 L.Ed.2d
       700 (1995); see also Cornelius, 473 U.S. at 800–02, 105 S.Ct. 3439 (rejecting contention “that a First Amendment forum
       necessarily consists of tangible government property” in applying forum analysis to a charitable contribution program);
       Perry, 460 U.S. at 46–47, 103 S.Ct. 948 (applying forum analysis to a school mail system) As more fully explained below,
       when the government opens a forum, such as a student election, the government retains the ability, within constitutional
       bounds, to limit the use of that forum to its intended purposes.
6      In Buckley, the Supreme Court struck down portions of the Federal Election Campaign Act of 1971 that limited campaign
       expenditures on behalf of candidates in federal election campaigns on the ground that such limitations violated the First
       Amendment. 424 U.S. at 58–59, 96 S.Ct. 612. The Court held that the governmental interests advanced in support of
       expenditure limitations would need to satisfy strict scrutiny, and did not do so. See id. at 44–45, 96 S.Ct. 612.
7      In Welker v. Cicerone, 174 F.Supp.2d 1055, 1065 (C.D.Cal.2001), a district court in our circuit addressed a similar
       campaign expenditure limitation on a university campus and held that Buckley was controlling because the court found no
       difference between a student election and a political election: “The court sees no reason to distinguish between applying
       Buckley to state political elections and political elections at state universities.” We see the several differences detailed
       above between ASUM's elections and state and national political elections and therefore have no trouble making such
       a distinction.
8      Of further relevance in Rosenberger is the Court's clarification of Widmar. Specifically, the Court explained that Widmar's
       language regarding a university's freedom to make judgments as to allocation of scarce resources, language relied on by
       defendants here, is applicable to the university's own speech, but not to restrictions of third-party speech on a university
       campus:
          [In Widmar ], in the course of striking down a public university's exclusion of religious groups from use of school facilities
          made available to all other student groups, we stated: “Nor do we question the right of the University to make academic
          judgments as to how best to allocate scarce resources.” 454 U.S. at 270, 102 S.Ct. 269. The quoted language in Widmar
          was but a proper recognition of the principle that when the State is the speaker, it may make content based choices. ...
          It does not follow, however, and we did not suggest in Widmar, that viewpoint-based restrictions are proper when the
          University does not itself speak or subsidize transmittal of a message it favors but instead expends funds to encourage
          a diversity of views from private speakers.
       515 U.S. at 833–34, 115 S.Ct. 2510 (emphasis added). We are presented in this case not with the speech of the University
       of Montana but with the speech of students involved in campaigning for student government. Here, it is Flint's spending
       of his own money that was regulated, not University funds or subsidies to Flint. Thus, contrary to defendants' assertions,
       Widmar's reference to broad deference is not determinative.
9      Given that the speech at issue in this case is not “school-sponsored,” see supra note 8, we need not consider whether
       the principles of Hazelwood School District v. Kuhlmeier, 484 U.S. 260, 108 S.Ct. 562, 98 L.Ed.2d 592 (1988), apply with
       full force in a university setting—a question neither we, see Brown v. Li, 308 F.3d 939, 957 (9th Cir.2002) (Reinhardt,
       J., concurring in part and dissenting in part), nor the Supreme Court, Hazelwood, 484 U.S. at 273 n. 7, 108 S.Ct. 562,
       have definitively answered. Our sister circuits are split on the question. Compare Kincaid v. Gibson, 236 F.3d 342, 352
       (6th Cir.2001) (en banc), and Student Gov't Ass'n v. Bd. of Trs. of Univ. of Mass., 868 F.2d 473, 480 n. 6 (1st Cir.1989)
       (“Hazelwood ... is not applicable to college newspapers.”), with Hosty v. Carter, 412 F.3d 731, 734–38 (7th Cir.2005) (en
       banc) (applying Hazelwood to university context), and Ala. Student Party v. Student Gov't Ass'n of the Univ. of Ala., 867
       F.2d 1344, 1346–47 (11th Cir.1989) (same). Hazelwood addressed whether a high school was required affirmatively to
       promote particular speech by allowing the speech's inclusion in a school newspaper. 484 U.S. at 266–74, 108 S.Ct. 562.
       Here, we are presented with student campaign speech in a forum opened by the University. This is a scenario in which the
       University is not sponsoring, as in Hazelwood, any of the candidates' speech but is allowing the campaign-related speech.
       We note that Hazelwood reinforces the conclusion that we must analyze the ASUM expenditure limitations within the
       confines of traditional forum analysis. In Hazelwood, the Supreme Court first determined that the high school student
       newspaper at issue was not a public forum for expression and concluded that in the specific setting of a high school, the
       school could “exercis[e] editorial control over the style and content of student speech in school-sponsored expressive
       activities so long as their actions are reasonably related to legitimate pedagogical concerns.” Id. at 273, 108 S.Ct. 562.



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       Here, the University seeks to avoid the threshold question—namely, what type of forum is the ASUM election—and asks
       us to defer to its reasonable, educational related regulations. As shown, neither the Supreme Court's nor this court's
       precedents permit such avoidance.
10     While the spending limit is found in the ASUM Bylaws, the limitation is nonetheless one imposed by the government on
       the forum. The University, as required by Board of Regents policy, has established ASUM as the associated student
       organization on the campus. Neither party disputes that the forum and the associated limitations are attributable to the
       University.
11     This is in contrast to Widmar, where the state university had “created a forum generally open for use by student groups,”
       454 U.S. at 267, 102 S.Ct. 269, by “routinely provid[ing] University facilities for the meetings of registered organizations,”
       id. at 265, 102 S.Ct. 269. The ASUM election is akin, rather, to the forum in Perry. There, the Supreme Court rejected the
       contention that a school mail system was a designated public forum because “there [was] no indication in the record that
       the school mailboxes and interschool delivery system are open for use by the general public.” 460 U.S. at 47, 103 S.Ct.
       948; see also Forbes, 523 U.S. at 680, 118 S.Ct. 1633 (holding that a candidate debate was not a designated public
       forum because the station broadcasting the debate “reserved eligibility for participation in the debate to candidates” and
       made “determinations as to which of the eligible candidates would participate in the debate”).
12     Flint contends that the expenditure limitation teaches students “that the First Amendment doesn't protect political speech
       [and] how not to conduct elections in a free society.” Aside from its obvious hyperbole, this argument is not persuasive.
       So long as the purported educational goal of the expenditure limitation—here, a lesson in strategy, campaigning, and
       leadership—is reasonably capable of fruition, any additional “lessons” that students like Flint might learn do not affect
       the reasonableness, and thus the constitutionality, of ASUM's regulations. Furthermore, nothing in the First Amendment
       requires universities to set up student elections to mimic exactly political elections and political fund-raising. It is beyond
       dispute that government may impose reasonable, viewpoint neutral restrictions even on pure political speech in limited
       public forums. See Ark. Educ. Television Comm'n v. Forbes, 523 U.S. 666, 678–83, 118 S.Ct. 1633, 140 L.Ed.2d 875
       (1998); Cogswell, 347 F.3d at 814–18 (finding voter pamphlets a limited public forum and holding that a limitation on
       candidate's statements in voter pamphlets is viewpoint neutral and reasonable in light of the purpose of the forum).


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                                                                         [6] officials were entitled to qualified immunity from due
                                                                         process claim; and
     KeyCite Yellow Flag - Negative Treatment
Declined to Follow by Doe v. Purdue University, N.D.Ind., November 15,
                                                                         [7] students failed to show that defendants' actions in
2017
                                                                         connection with disciplinary process were motivated by
                     173 F.Supp.3d 586
                                                                         gender bias, as would violate Title IX.
                United States District Court,
                S.D. Ohio, Western Division.
                                                                         Motion granted.
         John DOE I and John Doe II, Plaintiffs,
                     v.
  UNIVERSITY OF CINCINNATI, et al., Defendants.
                                                                          West Headnotes (40)
                      Case No. 1:15-CV-681
                                |
                     Signed March 23, 2016                                [1]    Federal Courts
                                                                                     Higher education; colleges and universities
Synopsis                                                                         State university was arm of the state, and thus
Background: Male former undergraduate and law students at                        Eleventh Amendment barred former university
state university, who were charged in separate incidents with                    students' claim for declaratory relief against
violating university's code of conduct by sexually assaulting                    university and individual university employees,
female students, brought action against university and                           in their official capacities, in students' § 1983
university officials, alleging under § 1983 that administrative                  action alleging that they were denied due process
review committee (ACR) procedures were grossly inadequate                        in connection with disciplinary proceedings.
to protect their due process rights and that they were                           U.S. Const. Amends. 11, 14; 42 U.S.C.A. § 1983.
discriminated against on basis of their gender, in violation
of Title IX. Defendants moved to dismiss for lack of subject                     2 Cases that cite this headnote
matter jurisdiction and for failure to state claim.
                                                                          [2]    Federal Courts
                                                                                      Suits Against States; Eleventh Amendment
Holdings: The District Court, Sandra S. Beckwith, J., held                       and Sovereign Immunity
that:                                                                            Federal Courts
                                                                                     Arms of the state in general
[1] Eleventh Amendment barred claim for declaratory relief                       Federal Courts
against university and officials in their official capacities;                       Agencies, officers, and public employees
                                                                                 Eleventh Amendment bars suits for money
[2] law student's graduation did not render his claims moot;
                                                                                 damages against states, arms of the state, and
                                                                                 state employees in their official capacities. U.S.
[3] alleged procedural defects in students' first disciplinary
                                                                                 Const. Amend. 11.
hearings were harmless;
                                                                                 1 Cases that cite this headnote
[4] allegedly inadequate sexual assault training provided to
staff members and pressure allegedly exerted on universities
by Department of Education fell short of creating reasonable              [3]    Federal Courts
inference that ACR panels were biased;                                               Pleadings and motions
                                                                                 Party moving to dismiss for lack of subject
[5] ACRs' acceptance of victim impact statements before                          matter jurisdiction is generally not permitted to
finding that students violated code of conduct did not violate                   raise new arguments in its reply brief. Fed. R.
procedural due process;                                                          Civ. P. 12(b)(1).




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                                                                      kind of notice and afforded some kind of hearing.
                                                                      U.S. Const. Amend. 14.
 [4]   Federal Courts
                                                                      2 Cases that cite this headnote
           Mootness
       Federal Courts
           Sua sponte determination                            [8]    Constitutional Law
                                                                          Disciplinary proceedings
       Federal courts lack subject matter jurisdiction
       to adjudicate moot claims, and courts may sua                  Education
       sponte raise the question of their own subject                     Proceedings and review
       matter jurisdiction.                                           To satisfy due process, state university student
                                                                      faced with expulsion or other discipline for
                                                                      violating school rules generally must be provided
 [5]   Federal Courts                                                 an explanation of the evidence against him and
           Education                                                  an opportunity to present his side of the story;
                                                                      beyond that, the type of notice and hearing will
       Student's graduation from state university's law
                                                                      vary and be judged for sufficiency based on
       school did not render moot his Title IX claims for
                                                                      context in which the dispute arose. U.S. Const.
       alleged past gender discrimination in connection
                                                                      Amend. 14.
       with disciplinary proceedings on charge that
       he sexually assaulted female student, or his
       § 1983 due process claims alleging past due
       process violations, since student was not seeking       [9]    Constitutional Law
       reinstatement as form of injunctive relief. 42                     Disciplinary proceedings
       U.S.C.A. § 1983; Education Amendments of                       Schools are not required to employ procedures
       1972 § 901 et seq., 20 U.S.C.A. § 1681 et seq.                 used in criminal trials in order to satisfy due
                                                                      process with respect to disciplinary proceedings.
                                                                      U.S. Const. Amend. 14.
 [6]   Constitutional Law
                                                                      1 Cases that cite this headnote
           Discipline, suspension, or expulsion
       Education
           Proceedings and review                              [10]   Constitutional Law
                                                                          Disciplinary proceedings
       State university student faced with expulsion
       or other discipline for violating school rules is              Education
       entitled to due process before he can be deprived                  Proceedings and review
       of his interest in continuing his education. U.S.              Alleged procedural defects in male state
       Const. Amend. 14.                                              university students' first disciplinary hearings
                                                                      before administrative review committee (ACR),
                                                                      arising from charges that students violated
 [7]   Constitutional Law                                             university's code of conduct by sexually
           Disciplinary proceedings                                   assaulting female students, were harmless, and
                                                                      thus could not form basis of students' § 1983 due
       Education
                                                                      process claim; students' appeals were sustained
           Proceedings and review
                                                                      and they both received new hearings. U.S. Const.
       In due process context, there are no precise
                                                                      Amend. 14; 42 U.S.C.A. § 1983.
       parameters for the amount of process state
       university student faced with expulsion or other               1 Cases that cite this headnote
       discipline for violating school rules is due
       before discipline can be imposed; minimum
                                                               [11]   Constitutional Law
       requirements are that student must be given some



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             Disciplinary proceedings                                 assaulting female students, were biased, as
        In procedural due process context, school                     would support students' § 1983 procedural due
        disciplinary boards must of course be impartial,              process claim. U.S. Const. Amend. 14; 42
        but they are entitled to a presumption of honesty             U.S.C.A. § 1983.
        and impartiality absent a showing of actual bias.
                                                                      3 Cases that cite this headnote
        U.S. Const. Amend. 14.

        4 Cases that cite this headnote                        [15]   Constitutional Law
                                                                          Disciplinary proceedings
 [12]   Civil Rights                                                  Education
             Education                                                    Proceedings and review
        To satisfy procedural due process, alleged bias               Acceptance      of   hearsay     evidence    by
        of school disciplinary board must be evident                  administrative review committees (ACR) which
        from the record and not based on inference and                presided over male state university students'
        speculation. U.S. Const. Amend. 14.                           disciplinary proceedings, arising from charges
                                                                      that they violated university's code of conduct
        3 Cases that cite this headnote                               by sexually assaulting female students, without
                                                                      permitting students to “effectively” cross-
 [13]   Constitutional Law                                            examine witnesses, did not violate students'
            Disciplinary proceedings                                  procedural due process rights; students failed
                                                                      to explain how additional cross-examination
        Education
                                                                      of hearsay witnesses would have lowered risk
            Proceedings and review
                                                                      that students would have been erroneously
        State university student alleging procedural
                                                                      disciplined. U.S. Const. Amend. 14; 42 U.S.C.A.
        due process violations in connection with
                                                                      § 1983.
        disciplinary proceedings must allege facts
        sufficient to overcome presumption of honesty
        and impartiality, such as statements by board
                                                               [16]   Constitutional Law
        members or university officials indicating bias
                                                                          Disciplinary proceedings
        or a pattern of decision-making suggesting that
        gender was an influence. U.S. Const. Amend. 14.               In procedural due process context, there is no
                                                                      prohibition against the use of hearsay evidence
        9 Cases that cite this headnote                               in school disciplinary hearings. U.S. Const.
                                                                      Amend. 14.
 [14]   Constitutional Law                                            3 Cases that cite this headnote
            Disciplinary proceedings
        Education
                                                               [17]   Constitutional Law
            Proceedings and review
                                                                          Disciplinary proceedings
        Allegedly inadequate sexual assault training
                                                                      Education
        provided to state university staff members
                                                                          Proceedings and review
        and pressure allegedly exerted on universities
        by Department of Education to intensify                       Administrative review committees' (ACR)
        their response to sexual assault complaints                   acceptance of victim impact statements before
        fell short of creating reasonable inference                   finding in disciplinary proceedings that male
        that administrative review committee (ACR)                    state university students violated university's
        panels in male university students' disciplinary              code of conduct by sexually assaulting female
        proceedings, arising from charges that they                   students did not violate students' procedural due
        violated university's code of conduct by sexually             process rights; ARCs were not bound by formal




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        rules of evidence or rules of criminal procedure.             than cross-examining adverse witnesses, in
        U.S. Const. Amend. 14.                                        disciplinary proceedings arising from charges
                                                                      that they violated university's student code of
                                                                      conduct by sexually assaulting female students.
 [18]   Constitutional Law                                            U.S. Const. Amend. 14.
            Disciplinary proceedings
        Education
            Proceedings and review                             [22]   Constitutional Law
                                                                          Disciplinary proceedings
        Male state university students' bare allegation
        in their complaint that administrative review                 Education
        committee (ACR) improperly applied student                        Proceedings and review
        code of conduct's definition of “consent,” in                 Male state university students were not
        finding that students had violated code by                    entitled to assistance of attorney or advisor at
        sexually assaulting female students, failed to                disciplinary proceedings arising from charges
        state § 1983 claim for violation of their                     that they violated university's student code of
        procedural due process rights. U.S. Const.                    conduct by sexually assaulting female students,
        Amend. 14; 42 U.S.C.A. § 1983.                                and thus administrative review committee's
                                                                      (ACR) refusal to permit students' advisors
        3 Cases that cite this headnote                               from participating in hearing did not violate
                                                                      procedural due process, absent evidence that
 [19]   Constitutional Law                                            university presented its case with assistance of
            Disciplinary proceedings                                  attorney or that rules were unusually complex.
                                                                      U.S. Const. Amend. 14.
        Allegation that a state university's disciplinary
        board violated its own policies and procedures
        in connection with a student's disciplinary
        proceedings does not state claim for procedural        [23]   Constitutional Law
        due process violation. U.S. Const. Amend. 14.                     Procedural due process in general
                                                                      Due Process Clause sets only the floor or lowest
        4 Cases that cite this headnote                               level of procedures acceptable. U.S. Const.
                                                                      Amend. 14.
 [20]   Administrative Law and Procedure
             Erroneous or unreasonable construction;
        conflict with rule or statute                          [24]   Civil Rights
        Federal courts generally must defer to a state                     Good faith and reasonableness; knowledge
        agency's interpretation of its own rules and                  and clarity of law; motive and intent, in general
        regulations absent a compelling demonstration                 Public official is entitled to “qualified
        that it is wrong.                                             immunity,” and thus shielded from suit under
                                                                      § 1983 for his actions, if his conduct does
                                                                      not violate a clearly established statutory or
 [21]   Constitutional Law                                            constitutional right of which a reasonable official
            Disciplinary proceedings                                  would have known. 42 U.S.C.A. § 1983.
        Education                                                     1 Cases that cite this headnote
            Proceedings and review
        Administrative review committee (ACR) did not
                                                               [25]   Civil Rights
        violate male state university students' procedural
                                                                           Good faith and reasonableness; knowledge
        due process rights by requiring students to
                                                                      and clarity of law; motive and intent, in general
        submit written questions to panel chair, rather



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        In order for qualified immunity to shield official
        from suit under § 1983, contours of right must be
        sufficiently clear that a reasonable official would    [30]   Civil Rights
        understand that what he was doing violates that                    Defenses; immunity and good faith
        right. 42 U.S.C.A. § 1983.
                                                                      Questions of whether right alleged to have
        1 Cases that cite this headnote                               been violated is clearly established, and whether
                                                                      official reasonably could have believed that his
                                                                      conduct was consistent with claimed right, are
 [26]   Civil Rights                                                  ones of law for the court, in analyzing issue of
             Good faith and reasonableness; knowledge                 qualified immunity in § 1983 action. 42 U.S.C.A.
        and clarity of law; motive and intent, in general             § 1983.
        Official is only entitled to qualified immunity
        from suit under § 1983 for actions taken in
        objective good faith within the scope of his           [31]   Federal Civil Procedure
        duties. 42 U.S.C.A. § 1983.                                       Civil rights cases in general
                                                                      If genuine issues of material fact exist as to
                                                                      whether an official committed the acts that would
 [27]   Civil Rights                                                  violate a clearly established right, then dismissal
             Good faith and reasonableness; knowledge                 of § 1983 claim based on qualified immunity
        and clarity of law; motive and intent, in general             is improper at summary judgment stage. 42
        If a violation of a constitutional right can be made          U.S.C.A. § 1983; Fed. R. Civ. P. 56.
        out based on a favorable view of the pleadings,
        court must determine whether the right at stake
        was clearly established, for qualified immunity        [32]   Civil Rights
        purposes in § 1983 action. 42 U.S.C.A. § 1983.                     Defenses; immunity and good faith
                                                                      When a defendant raises qualified immunity as
                                                                      a defense in § 1983 action, the plaintiff bears
 [28]   Civil Rights                                                  the burden of demonstrating that the defendant is
             Good faith and reasonableness; knowledge                 not entitled to qualified immunity. 42 U.S.C.A.
        and clarity of law; motive and intent, in general             § 1983.
        In determining whether a constitutional right
        is “clearly established,” for qualified immunity              1 Cases that cite this headnote
        purposes in § 1983 action brought in the Sixth
        Circuit, court must find binding decisions from        [33]   Civil Rights
        the Supreme Court, the Sixth Circuit Court of                      Schools
        Appeals, or finally, decisions of other circuit
                                                                      State university and university officials were
        courts. 42 U.S.C.A. § 1983.
                                                                      entitled to qualified immunity from § 1983
                                                                      procedural due process claims brought by
                                                                      male former students, who were charged with
 [29]   Civil Rights                                                  violating university's code of conduct by
             Good faith and reasonableness; knowledge                 sexually assaulting female students, alleging
        and clarity of law; motive and intent, in general             that they did not receive adequate procedural
        It is only the extraordinary case that will require           protections at their disciplinary hearings; it
        a reviewing court to look beyond Supreme Court                was not clearly established that students were
        and Sixth Circuit decisions to determine whether              entitled to individual procedural protections they
        a right is clearly established, for qualified                 claimed, including assistance of advisor and
        immunity purposes in § 1983 action. 42 U.S.C.A.               cross-examination of witnesses. U.S. Const.
        § 1983.                                                       Amend. 14; 42 U.S.C.A. § 1983.


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        1 Cases that cite this headnote                        [38]   Civil Rights
                                                                           Sexual harassment; sexually hostile
                                                                      environment
 [34]   Civil Rights
             Sex Discrimination                                       Title IX gender discrimination claim under
                                                                      deliberate indifference theory seems for the
        Title IX gender discrimination claims apparently
                                                                      most part to be limited to sexual harassment
        may be sorted into four broad categories:
                                                                      cases. Education Amendments of 1972 § 901, 20
        erroneous outcome, selective enforcement,
                                                                      U.S.C.A. § 1681(a).
        deliberate indifference, and archaic assumptions.
        Education Amendments of 1972 § 901, 20                        1 Cases that cite this headnote
        U.S.C.A. § 1681(a).

                                                               [39]   Civil Rights
                                                                           Sex Discrimination
 [35]   Civil Rights
             Sex Discrimination                                       In    an    “archaic    assumptions”     gender
                                                                      discrimination case brought against a university
        In    an     “erroneous    outcome”      gender
                                                                      under Title IX, the plaintiff contends that the
        discrimination case under Title IX, the plaintiff
                                                                      university's actions were founded on archaic
        contends that the outcome of the disciplinary
                                                                      assumptions about men and women. Education
        proceeding was erroneous due to gender bias.
                                                                      Amendments of 1972 § 901, 20 U.S.C.A. §
        Education Amendments of 1972 § 901, 20
                                                                      1681(a).
        U.S.C.A. § 1681(a).
                                                                      1 Cases that cite this headnote
        7 Cases that cite this headnote

                                                               [40]   Civil Rights
 [36]   Civil Rights
                                                                           Discrimination against males
             Sex Discrimination
                                                                      Male students who were subject to disciplinary
        In a “selective enforcement” gender
                                                                      action after being charged in separate incidents
        discrimination case brought against a university
                                                                      with violating state university's student code of
        under Title IX, the plaintiff alleges that the
                                                                      conduct by sexually assaulting female students
        university treated a similarly-situated member
                                                                      failed to establish that university's actions,
        of the opposite sex more favorably than the
                                                                      including barring students from accessing certain
        plaintiff. Education Amendments of 1972 § 901,
                                                                      campus buildings during pendency of their
        20 U.S.C.A. § 1681(a).
                                                                      hearings, not permitting cross-examination of
        1 Cases that cite this headnote                               witnesses, and denying students' request for
                                                                      advisor, were motivated by gender bias, as would
                                                                      support Title IX gender discrimination claim; at
 [37]   Civil Rights                                                  worst, university's actions were biased in favor
             Sex Discrimination                                       of alleged victims of sexual assault and against
        In a “deliberate indifference” gender                         students accused of sexual assault. Education
        discrimination case brought against a university              Amendments of 1972 § 901, 20 U.S.C.A. §
        under Title IX, the plaintiff alleges that                    1681(a); 34 C.F.R. § 668.46(b)(11)(v).
        a university official who had authority to
        implement corrective measures had actual notice               12 Cases that cite this headnote
        of but was deliberately indifferent to misconduct
        directed at the plaintiff. Education Amendments
        of 1972 § 901, 20 U.S.C.A. § 1681(a).




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                                                                  For purposes of the instant motion to dismiss, the Court
Attorneys and Law Firms                                           accepts the following facts from the complaint as being true.

 *591 Joshua A. Engel, Engel & Martin, LLC, Mason, OH,
for Plaintiffs.
                                                                                          A. John Doe I
Rosemary Doreen Canton, Evan T. Priestle, Taft Stettinius &
Hollister, LLP, Cincinnati, OH, for Defendants.                   In March 2014, Doe I was a junior at UC's Blue Ash campus.
                                                                  On March 9, 2014, Doe I left a party held near campus with
                                                                  Jane Roe I and Jane Roe II. Doe I went with Roe I and Roe II to
                           ORDER                                  their dormitory room at Daniels Hall. Doe I claims that Roe I
                                                                  and Roe II were intoxicated and had been smoking marijuana.
Sandra S. Beckwith, Senior United States District Judge           Roe I claimed that she fell asleep and awoke to find Doe I
                                                                  attempting to have sexual intercourse with her. Roe I claimed
This matter is before the Court on the motion to dismiss filed    that she told Doe I “no” and then fled the room. Doe I then
by Defendants University of Cincinnati, Daniel Cummins,           allegedly got into bed with Roe II and had intercourse with
Denine M. Rocco, and Debra Merchant. Doc. No. 11. For the         her while she was passed out. Doe I denies that he sexually
reasons that follow, Defendants' motion to dismiss is well-       assaulted Roe I and Roe II.
taken and is GRANTED.
                                                                  Doe I claims that Roe I and Roe II gave inconsistent
                                                                  statements about this incident to UC administrative officials
                        I. Background                             and to the UC Police. For instance, Doe I alleges that Roe I
                                                                  gave inconsistent statements about whether she had smoked
Plaintiffs John Doe I and John Doe II were charged in separate    marijuana that night. Additionally, Roe I told the UC police
incidents with violating the University of Cincinnati's           that she changed clothes in front of Doe I and then Doe I
(“UC”) Student Code of Conduct by sexually assaulting             got into bed with her but later gave a statement saying that
a female student. After hearings before the Administrative        she fell asleep and awoke to find Doe I on top of her. Roe
Review Committee (“ARC”), Doe I and Doe II were found             II allegedly denied being intoxicated in her complaint to UC
“responsible” for the charged violation. Doe I received a         but later stated that she could not remember significant events
three-year suspension but ultimately transferred to another       before she passed out. Roe II also told the UC Police that she
educational institution. Doe II was placed on disciplinary        rated her intoxication level as “8 of 10.” Additionally, Roe
probation and banned from several buildings on campus for a       II allegedly gave inconsistent statements about whether she
one-year period. Doe II was also required to submit a seven-      passed out before or after Doe I penetrated her.
page research paper. Doe II, however, was allowed to remain
enrolled in school; he completed his post-graduate degree and     Doe I claims that he cooperated with the police investigation
has graduated from UC.                                            and that there was substantial evidence that exonerated him.
                                                                  For instance, despite Roe I's claim that she did not know
Doe I and Doe II claim that the ARC hearing procedures were       how Doe I got into her dormitory, and Roe II's claim that
grossly inadequate to protect their right to due process. Doe I   dormitory staff let Doe I into the building even though he
and Doe II also allege that where claims of sexual assault are    did not have identification, security camera video shows that
concerned, the ARC hearing procedures are skewed in favor         Roe I waited while Roe II signed Doe I into the dorm.
of the female complainant and against the male respondent         Additionally, although Roe II said during the ARC hearing
with the purpose of producing outcomes allegedly favored          that she had passed out and did not remember walking back to
by the U.S. Department of Education so as to preserve UC's        the dorm because she was “so high and intoxicated,” neither
federal funding. Doe I and Doe II allege, therefore, that         Roe I nor Roe II appear intoxicated in the surveillance video.
Defendants have violated their right to due process and have      Additionally, forensic evidence showed that Roe I and Roe
discriminated against them on the basis of gender *592 in         II sent text messages during the time they supposedly were
violation of Title IX of the Education Amendments Act of          passed out. In later messages, they joked about the case.
1972.                                                             Another female student who was present at the time denied
                                                                  witnessing any illegal conduct. Doe I believes that rape kits



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submitted to the crime lab for analysis support his version of     was a “kangaroo court.” Doe I alleges, for instance, that prior
the events.                                                        to the hearing, committee member Carol Tong-Mack had been
                                                                   copied on emails requesting academic accommodations for
Doe I alleges that high-placed UC officials tried to interfere     Roe I because she “had recently been the victim of a crime.”
with the criminal investigation. An email from the UC Police       Roe I also copied Tong-Mack on an email to another professor
Chief to UC's general counsel expressed concern that “we           in which she stated that she had been sexually assaulted in her
are allowed to conduct a thorough and complete investigation       dorm room. Doe I alleges that after receiving these emails,
without any appearance of influence.” Complaint ¶ 58(a)            it was inappropriate for Tong-Mack to remain on the hearing
(emphasis in original omitted). Doe I also alleges that UC         panel.
detectives became frustrated that the UC's general counsel
was trying to steer, obstruct, and impede their investigation.     Doe I claims that Cummins and/or UC denied him of a
                                                                   number of procedural protections during the ARC hearing:
Doe I alleges that Defendant Dan Cummins, who is UC's
Assistant Dean of Students and Director of the Office of             1. UC never responded to requests from Doe I's attorney to
Judicial Affairs, instituted disciplinary proceedings against           have the UC police investigator present at the hearing.
him without investigating whether the allegations of sexual
                                                                     2. UC only provided Doe I a heavily redacted copy of the
assault against him were credible. Cummins notified Doe I
                                                                        investigative file.
of the charges by letter on March 12, 2014. Cummins and
Doe I had an in-person meeting on March 28, 2014 to discuss          3. UC did not provide the results of the rape kit analysis or
the allegations. Doe I denied the allegations but otherwise
                                                                        of the SANE examinations. 1
exercised his right to remain silent. Cummins asked Doe
I to sign a form stating that he had received the evidence           4. Cummins did not allow Doe I to record the hearing.
 *593 supporting the allegation although he was not actually
provided with any evidence during the meeting.                       5. The hearing committee chair would not permit Doe I
                                                                        to impeach a witness, Roe I's boyfriend, who lacked
Cummins scheduled an ARC disciplinary hearing before                    firsthand knowledge of the incident.
actually interviewing any witnesses. Cummins initially
                                                                     6. The hearing committee chair did not permit Doe I to
scheduled the hearing for April 7, 2014 but later moved it to
                                                                        show the surveillance video.
May 2, 2014. On April 28, 2014, Cummins issued a written
report finding as a “fact” that Doe I had engaged in sexual          7. The hearing committee chair would not accept the UC
activity with Roe I and Roe II without their consent. Doe               police report into evidence.
I claims that Cummins's report had a number of significant
omissions:                                                           8. The hearing committee chair would not accept the text
                                                                        messages into evidence.
  1. It did not include a review of any of the physical evidence
     obtained by UC police.                                          9. The hearing committee chair would not accept the rape
                                                                        kit analysis or the SANE examinations into evidence.
  2. It did not include Doe I's statements to the UC police.
                                                                     10. The hearing committee chair refused to ask witnesses
  3. It did not include a statement from an Ohio University            written questions submitted by Doe I.
     student who witnessed Roe I and Roe II being “pretty
     flirtatious” with Doe I and said that Roe I and Roe II          11. The hearing committee chair refused Doe I's request to
     “basically dragged” Doe I back to their dorm.                     obtain the presence of the UC police officers.

  4. Cummins did not attempt to obtain from the UC Police             *594 12. The hearing committee refused to consider a
     any evidence that tended to exonerate him, such as the            binder of evidence Doe I submitted on his behalf.
     surveillance tape and text messages.
                                                                   Doe I alleges on information and belief that Cummins
Doe I claims that UC made no attempt to provide an impartial       orchestrated the hearing committee's actions since the hearing
hearing panel and that the hearing convened on May 2, 2014         committee chair left the room on a number of occasions,
                                                                   stating that he had to consult with Cummins. The ARC


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committee found that Doe I violated the Student Code of           burden of proof and/or failed to afford him the presumption
Conduct with respect to one of the students. Doe I states that    of innocence. Specifically, the Appeal Administrator wrote,
he left before the conclusion of the hearing regarding the        “Neither party has the burden of proof. Instead, the ARC
second student since it was clear to him that he would not be     uses the hearing to investigate what happened and then
afforded due process.                                             makes a finding based on a preponderance of the evidence.”
                                                                  Complaint ¶ 81(b). Defendant Rocco affirmed this decision.
Less than a week later, UC determined that substantial            Because the ARC's decision was affirmed, Doe I now faces a
procedural errors had occurred during Doe I's hearing and         three-year suspension from UC.
ordered that a new hearing take place. The new hearing was
held on May 18-19, 2015. While not a “kangaroo court,”
Doe I alleges that he was still denied significant procedural
                                                                                         B. John Doe II
protections during the second hearing:
                                                                  Doe II is a former law student at UC. He has graduated
  1. The hearing committee considered Cummins's alleged
                                                                  from the law school. In March 2014, Defendant Cummins
     biased investigative report.
                                                                  apparently received a complaint from Jane Roe III that she had
  2. The hearing committee was never advised that the             been sexually assaulted by Doe II at an off-campus location.
    complainant had the burden of proof and that Doe I was        Cummins filed a report with the UC Police, allegedly against
    innocent until proven guilty.                                 Roe III's wishes, and then sent Doe II a notice that he had
                                                                  been accused of violating the Student Code of Conduct.
  3. The hearing committee refused to ask the complainants        When Doe II protested that the alleged incident occurred
     a number of written questions submitted by Doe I             outside of the jurisdictional bounds of the Code of Conduct-
     designed to highlight inconsistencies in their statements    within 2,600 feet of campus-Cummins *595 invoked a
     and to discover the extent of their alcohol and drug use     provision of the Code in which UC will assert jurisdiction
     on the night in question.                                    over incidents outside of the 2,600 foot radius “when the
                                                                  student, in the university's sole judgment, poses an obvious
  4. UC denied Doe I permission to make his own recording         threat of serious harm to any member of the university
     of the hearing.                                              community.” Complaint ¶ 87. Doe II's allegations otherwise
                                                                  are similar to Doe I's allegations.
  5. UC failed to provide him with the assistance of
    a university advocate to the same extent as the
                                                                  Doe II complains that UC extended accommodations to
    complainants.
                                                                  Roe III and otherwise pre-judged his guilt on the complaint
  6. The hearing committee heard “impact statements” from         by treating her as a victim. For instance, the complaint
     the complainants before determining whether Doe I was        notes, Cummins contacted Roe III's thesis advisor to request
     guilty of violating the Student Code of Conduct.             accommodations for her because she “has recently been
                                                                  the victim of behavior that violates our sexual harassment
  7. UC failed to provide Doe I with clarification of the rules   policy.” Cummins allegedly sent this email before he notified
     of evidence that would be utilized during the hearing.       Doe II of the allegations. UC also provided Roe III with a
                                                                  job at the UC Women's Center. Additionally, UC banned Doe
  8. UC failed to provide the hearing committee with              II from entering a number of campus buildings based solely
    information concerning the academic accommodations            on the allegation that he had violated the Code of Conduct.
    extended to the complainants. Doe I contends that             Finally, Cummins allegedly prepared a report on the alleged
    such information might have affected the committee's          incident without conducting any investigation into the matter
    assessment of their credibility.                              and then denied Doe II access to his report.

The hearing committee found Doe I “responsible” for               Cummins ultimately scheduled Doe II's ARC hearing for
violating the Code of Conduct with regard to Roe II but “not      April 22, 2014. Doe II's advisor, however, had a conflict with
responsible” for a violation regarding Roe I. The University      that date but Cummins refused to reschedule the hearing. As
Appeal Administrator rejected Doe I's appeal, including           a result, Doe II's advisor had to leave the hearing early.
Doe I's contention that the panel erroneously assigned the



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Doe II claims that the ARC panel committed a number of
other alleged procedural errors:                                 The panel again found Doe II guilty of violating the Student
                                                                 Code of Conduct. He was not permitted to appeal this
  1. The panel heard a victim impact statement before            decision. As stated above, Doe II was placed on disciplinary
    determining whether a violation had occurred.                probation and required to complete and submit a seven-page
                                                                 research paper. Although Doe II has since graduated from UC,
  2. The panel did not apply the definition of consent
                                                                 he states that he “may” have difficulty obtaining employment
    provided by UC's Title IX policy.
                                                                 due to the finding of responsibility. Additionally, Doe II
  3. The panel permitted a witness to make legal conclusions,    fears that his disciplinary record may affect his eligibility to
     such as that Doe II had “raped” Roe III and “assaulted”     become an attorney in other states.
     her.

  4. Panel members pre-judged the conclusion as indicated
                                                                               C. Alleged Gender Discrimination
     by the notes they took during the hearing.
                                                                 Plaintiffs both allege that UC's disciplinary system, insofar
  5. The panel did not have adequate definitions of
                                                                 as it concerns claims of sexual assault, is rigged against
    “consent” and “intoxication” and did not provide Doe
                                                                 male students accused of sexual misconduct. Plaintiffs
    II an adequate opportunity to prepare for a claim of
                                                                 contend that UC's handling of sexual assault complaints
    nonconsensual sexual contact due to intoxication.
                                                                 is influenced by a “Dear Colleagues” letter issued by the
  6. The panel permitted the complainant to argue that           Department of Education. According to the complaint, the
    Doe II did not obtain consent through each stage of          Dear Colleagues letter caused colleges and universities to
    the encounter although the Code of Conduct does not          reduce the procedural protections previously afforded to
    explicitly impose that requirement.                          students accused of sexual misconduct because of an implicit
                                                                 or explicit threat of a federal investigation into institutions
  7. Doe II was not permitted to effectively cross-examine       who fail to comply with the requirements of the letter as well
     witnesses because questions had to be submitted in          as the loss of federal funding. Additionally, Plaintiffs allege
     writing and no follow-up was possible.                      that the training on sexual assault provided to UC's faculty
                                                                 and staff causes them to be biased against males accused
  8. Doe II was not given effective assistance of an attorney    of sexual misconduct and predisposes them to finding males
     or advisor because the advisor was not permitted to         guilty of misconduct. Plaintiffs allege that their allegations are
     participate in the hearing.                                 supported by statistics showing that “it is nearly impossible
                                                                 for a student to be found not responsible.”
  9. The panel relied on unreliable hearsay testimony.

  10. Roe III claimed during the hearing that she was too
    intoxicated to consent but the panel did not receive any                     II. The Parties and the Claims
    evidence to show that she was “physically incapacitated
    such that the person cannot understand the fact, nature,
    or extent of the sexual situation.”                                                   A. The Parties

                                                                 As indicated above, the Plaintiffs are John Doe I and John
The panel found Doe II guilty of violating the Code of
                                                                 Doe II. John Doe I was a junior at UC's Blue Ash campus but
Conduct. However, like Doe I, Doe II's appeal was sustained
                                                                 transferred to another institution after he was suspended from
and he was granted a new hearing. The second hearing took
                                                                 UC. John Doe II was a law student who has graduated from
place in October 2014. According Doe II, the second hearing
                                                                 UC since the imposition of the disciplinary probation.
was infected with many if not most of the procedural defects
of his first hearing. In addition, however, during her impact
                                                                 Defendant University of Cincinnati is a public university
statement, Roe III told Doe II that he was a “rapist” and that
                                                                 created by the Ohio legislature.
he “was going to Hell.” Roe III then called the proceeding “a
joke” and “stormed out of the hearing.” *596 Thus, Doe II
was unable to cross-examine her.



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Defendant Daniel Cummins is UC's Assistant Dean of
Students and Director of the Office of University Judicial
                                                                               III. Defendants' Motion to Dismiss
affairs. Cummins is allegedly responsible for administrating
the Student Code of Conduct and Judicial System. Plaintiffs       Defendants now move to dismiss Plaintiffs' complaint
sue Cummins in his official capacity for declaratory and          pursuant to Rule 12(b)(1) and 12(b)(6) of the Federal Rules
injunctive relief and in his personal capacity for damages.       of Civil Procedure. Defendants contend that Plaintiffs' claim
                                                                  for a declaratory judgment in Count I is barred by Eleventh
Defendant Debra Merchant is UC's Vice President of                Amendment sovereign immunity. Defendants contend that
Student Affairs. Merchant is also allegedly responsible for       Doe II's claims in Counts I, III, and V are barred on
administrating the Student Code of Conduct and Judicial           res judicata grounds. Defendants argue that Counts I and
System. Plaintiffs sue Merchant in her official capacity for      II fail to state claims for relief essentially because the
declaratory and injunctive relief and in her personal capacity    complaint indicates that Plaintiffs received all of the process
for damages.                                                      to which they were entitled. Defendants also argue that the
                                                                  individual defendants are entitled to qualified immunity as
Defendant Denine Rocco is an assistant Vice President and         to the claims against them in their individual capacities.
Dean of Students for UC. Rocco is allegedly responsible           Defendants contend that Plaintiffs' Title IX claims in Counts
for administrating the Student Code of Conduct and Judicial       III and IV should be dismissed because the complaint does
System. Plaintiffs sue Rocco in her official capacity for         not allege facts showing that Plaintiffs were discriminated
declaratory and injunctive relief and in her personal capacity    against on the basis of gender. Finally, Defendants argue that
for damages.                                                      Count V should be dismissed because injunctive relief is not
                                                                  cognizable as a stand-alone claim.


                       B. The Claims                              Defendants' motion has been fully briefed and is ready for
                                                                  disposition. The Court will address the issues in the order
Count I seeks a declaratory judgment under 42 U.S.C. § 1983       presented.
that Defendants violated Plaintiffs' right to due process under
both the federal and state constitutions with the procedures
employed during their ARC hearings.
                                                                         A. Eleventh Amendment Sovereign Immunity

Count II is a claim for money damages pursuant to 42 U.S.C.        [1]    [2] The Eleventh Amendment bars suits for money
§ 1983 against Defendants Cummins, Merchant, and Rocco            damages against States, arms of the State, and state employees
 *597 in their individual capacities for allegedly violating      in their official capacities. Rodgers v. Banks, 344 F.3d 587,
Plaintiffs' right to due process.                                 594 (6th Cir.2003). The Eleventh Amendment also bars
                                                                  suits for declaratory relief against the State. McCormick
Count III seeks a declaratory judgment that UC violated           v. Miami Univ., 693 F.3d 654, 661 (6th Cir.2012). The
Title IX of the Education Amendments of 1972, 20 U.S.C.           University of Cincinnati is a public university, and, therefore,
§ 1681, et seq., because Plaintiffs' gender was a motivating      is considered an arm of the State of Ohio. Johnson v.
factor in the manner in which the allegations against them        University of Cincinnati, 215 F.3d 561, 571 (6th Cir.2000).
were investigated and adjudicated, and in the discipline they     Consequently, the Eleventh Amendment bars Plaintiffs'
received.                                                         claim for declaratory relief against UC and the individual
                                                                  Defendants in their official capacities. See id. The Eleventh
Count IV seeks money damages against UC for its alleged           Amendment, however, does not bar Plaintiffs' claim for
violations of Title IX.                                           declaratory relief against the individual Defendants in their
                                                                  personal capacities. Id.
Count V seeks an injunction against Cummins, Merchant,
and Rocco in their official capacities which would prohibit       Accordingly, to the extent that Count I seeks declaratory relief
them from imposing or reporting any disciplinary action taken     against UC and the individual Defendants in their official
against Plaintiffs under the Student Code of Conduct.             capacities, Defendants' motion to dismiss will be granted.
                                                                  Defendants, however, are not entitled to dismissal of Count



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I on Eleventh Amendment grounds to the extent it seeks               raise the question of their own subject matter jurisdiction.
declaratory relief against the individual Defendants in their        Ford v. Hamilton Inv., Inc., 29 F.3d 255, 257 (6th Cir.1994).
personal capacities.
                                                                      [5] The Court, however, is not persuaded that Doe II's
                                                                     graduation from UC renders his claims in Counts I, III, and V
                                                                     moot. In Yoder v. University of Louisville, 526 Fed.Appx. 537
                        B. Res Judicata
                                                                     (6th Cir.2013), the Court held that the plaintiff's graduation
Doe I and Doe II filed substantially the same complaint              from nursing school mooted her claim for injunctive relief
with the same causes of action against UC and Defendant              in the form of reinstatement to the school. Id. at 543. The
Cummins in the Hamilton County Court of Common Pleas                 Court, however, went on to consider the plaintiff's legal
in January 2015. Doc. No. 11-1. Defendants in that case              claim that the individual defendants violated her right to due
moved to dismiss Doe II's claims under Counts I, III and V           process when they originally dismissed the plaintiff from
on the grounds of mootness because he had graduated from             school for academic reasons. The Court also considered
UC and thus was no longer subject to the Student Code of             whether defendants were entitled to qualified immunity on
Conduct. Doc. No. 11-3. In February *598 2015, Judge                 that claim Id. at 549–50. In other words, implicit in Yoder is
Dinkelacker entered an order granting Defendants' motion to          the conclusion that the plaintiff's graduation from school does
dismiss Counts I, III, and V of Doe II's complaint. Judge            not moot a claim for a past due process violation.
Dinkelacker agreed with Defendants that Doe II's graduation
from law school mooted his claims and that he otherwise              In this case, Doe II is not seeking reinstatement as a form
had only pled speculative future consequences resulting from         of injunctive relief. Consequently, there is no question of
the disciplinary proceedings. Accordingly, Judge Dinkelacker         mootness of his claims in that regard. Expungement of Doe
dismissed Counts I, III, and V of Doe II's complaint. Doc. No.       II's disciplinary record, which is a claim suggested in his
11-2.                                                                claim for injunctive relief, would not be moot as a result
                                                                     of his graduation. Flint v. Dennison, 488 F.3d 816, 825 (9th
In their present motion to dismiss, Defendants argue that            Cir.2007). Yoder indicates that Doe II's graduation does not
Judge Dinkelacker's dismissal of Doe II's Counts I, III, V           moot a claim against the individual defendants for damages
in state court operates as res judicata, and more specifically,      for alleged past due process violations. Similarly, Doe II's
issue preclusion, against the same claims in this case. In            *599 graduation does not moot his Title IX claims for
opposition, Plaintiff contends that the parties later entered into   alleged past gender discrimination.
a stipulation to dismiss Doe ll's state court complaint without
prejudice. See Doc. No. 14, at 22-24 (citing attached Exhibit        Accordingly, the Court concludes that Doe II's graduation
A (stipulation of dismissal and judgment entry granting              from UC does not moot any of his claims.
dismissal without prejudice)). 2 Then, confusingly, in their
reply brief Defendants agree that Judge Dinkelacker's entry of
dismissal does not have res judicata effect in this case (Doc.                   C. Rule 12(b)(6) Standard of Review
No. 15, at 5), but they then ask the Court to adopt his reasoning
and conclude that Doe II's claims in Counts I, III, and V are   A motion to dismiss for failure to state a claim operates to test
moot due to his graduation. Id.                                 the sufficiency of the complaint. The court must construe the
                                                                complaint in the light most favorable to Plaintiff, and accept
 [3] [4] Defendants have now apparently waived their res as true all well-pleaded factual allegations. See Scheuer v.
judicata argument. Defendants' argument in their reply brief    Rhodes, 416 U.S. 232, 236, 94 S.Ct. 1683, 40 L.Ed.2d 90
that Doe II's Counts I, III, and V are moot, as opposed         (1974); Roth Steel Products v. Sharon Steel Corp., 705 F.2d
to barred by issue preclusion, is new. A party is generally     134, 155 (6th Cir.1983). The court need not accept as true
not permitted to raise new arguments in its reply brief.        legal conclusions or unwarranted factual inferences. Lewis v.
Engineering & Mfg. Services, LLC v. Ashton, 387 Fed.Appx.       ACB Business Servs., Inc., 135 F.3d 389, 405 (6th Cir.1998).
575, 583 (6th Cir.2010). On the other hand, federal courts lack
subject matter jurisdiction to adjudicate moot claims, Church   The complaint, however, must contain more than labels,
of Scientology of Cal. v. United States, 506 U.S. 9, 12, 113    conclusions, and formulaic recitations of the elements of the
S.Ct. 447, 121 L.Ed.2d 313 (1992), and courts may sua sponte    claim. Sensations, Inc. v. City of Grand Rapids, 526 F.3d 291,



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295 (6th Cir.2008) (citing Bell Atl. Corp. v. Twombly, 550
U.S. 544, 555, 127 S.Ct. 1955, 167 L.Ed.2d 929 (2007)). The             8. pre-judging the outcome of their hearings. 3
factual allegations of the complaint must be sufficient to raise
the right to relief above the speculative level. Id. Nevertheless,    Complaint ¶ 132.
the complaint is still only required to contain a short, plain
statement of the claim indicating that the pleader is entitled        Defendants contend that in the context of student disciplinary
to relief. Id. (citing Erickson v. Pardus, 551 U.S. 89, 93, 127       actions, due process only requires notice of the charges, an
S.Ct. 2197, 167 L.Ed.2d 1081 (2007)). Specific facts are not           *600 explanation of the evidence supporting the charges,
necessary and the pleader is only required to give fair notice of     and an opportunity to respond. Defendants argue that
the claim and the grounds upon which it rests. Id. To withstand       Plaintiffs received these minimum protections in this case.
a motion to dismiss, “a complaint must contain sufficient             Additionally, Defendants cite cases indicating that assigning
factual matter, accepted as true, to state a claim to relief that     the burden of proof to the accused student does not violate
is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678,      due process, that students are not entitled to representation,
129 S.Ct. 1937, 173 L.Ed.2d 868 (2009) (internal quotation            that students are not entitled to direct cross-examination of
marks omitted). Mere conclusions, however, are not entitled           witnesses, that students are not entitled to discovery and
to the assumption of truth. Id. at 678–89, 129 S.Ct. 1937. A          other procedural protections required in criminal proceedings,
claim is facially plausible if it contains content which allows       that Plaintiffs had more than adequate time to prepare for
the court to draw the reasonable inference that the defendant         their hearings, and that Plaintiffs' mere allegations of bias are
is liable for the misconduct alleged. Id. at 678, 129 S.Ct. 1937.     insufficient to show that their hearings were unfair.
Plausibility is not the same as probability, but the complaint
must plead more than a possibility that the defendant has             Plaintiffs, however, argue that in determining whether they
acted unlawfully. Id. If the complaint pleads conduct which is        were afforded due process, it is improper to break down UC's
only consistent with the defendant's liability, it fails to state a   process into its constituent parts, compare them to a checklist
plausible claim for relief. Id.                                       of procedures, and conclude that they were afforded adequate
                                                                      due process in their disciplinary proceedings. Plaintiffs
                                                                      contend, rather, that the Court must examine UC's process
                                                                      in a holistic manner to determine whether their right to due
              D. Alleged Due Process Violations                       process was protected. Plaintiffs argue that on the whole UC's
                                                                      disciplinary procedures did not provide them adequate due
Defendants argue that Counts I and II fail to state claims
                                                                      process.
for due process violations. Count I alleges that Defendants
violated Plaintiffs' right to due process in the following ways:
                                                                       [6] [7] [8] [9] A student faced with expulsion or other
  1. conducting biased investigations, the results of which           discipline for violating school rules is entitled to due process
     were provided to ARC hearing panels.                             before he can be deprived of his interest in continuing his
                                                                      education. There are, however, no precise parameters for the
  2. using hearsay evidence in ARC hearings without an                amount of process the student is due before the discipline can
     effective opportunity for cross-examination.                     be imposed. The minimum requirements are that the student
                                                                      “must be given some kind of notice and afforded some kind
  3. hearing impact statements from alleged victims before            of hearing.” Goss v. Lopez, 419 U.S. 565, 579, 95 S.Ct. 729,
     an adjudication of guilt.                                        42 L.Ed.2d 725 (1975) (emphasis on original). This generally
                                                                      means that the student must be provided an explanation of the
  4. failure to apply UC's Title IX policies and legal terms
                                                                      evidence against him and an opportunity to present his side
     correctly.
                                                                      of the story. Id. at 581, 95 S.Ct. 729. Beyond that, “[t]he type
  5. failure to permit effective cross-examination of                 of notice and hearing will vary and be judged for sufficiency
    witnesses.                                                        based on context in which the dispute arose.” Flaim v. Medical
                                                                      College of Ohio, 418 F.3d 629, 634 (6th Cir.2005). It is
  6. denial of effective assistance of an attorney or advisor.        clear, nevertheless, that schools are not required to employ
                                                                      procedures used in criminal trials in order to satisfy due
  7. failure to afford them the presumption of innocence.
                                                                      process. Id. at 635, 635 n. 1. While Plaintiffs contend that the
                                                                      Court must view the adequacy of UC's procedures as a whole,


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the Court notes for instance that in Flaim the Court of Appeals    [11] [12] [13] School disciplinary boards must of course
addressed the alleged procedural defects in the disciplinary      be impartial, Heyne v. Metropolitan Nashville Pub. Sch.,
hearing seriatim and then assessed the benefits the additional    655 F.3d 556, 567 (6th Cir.2011), but they are entitled to a
procedures would supposedly provide in reducing the risk of       presumption of honesty and impartiality absent a showing
an erroneous expulsion versus the additional burdens it would     of actual bias. Atria v. Vanderbilt Univ., 142 Fed.Appx.
impose on the school to provide them. Id. at 643. Moreover, if    246, 256 (6th Cir.2005). Generally, the alleged bias of the
the case law shows that Plaintiffs were not entitled to various   disciplinary board must be evident from the record and
procedural protections on an individual basis-and it does-then    not based on inference and speculation. Nash v. Auburn
it follows that Plaintiffs were not denied due process because    Univ., 812 F.2d 655, 665 (11th Cir.1987). A plaintiff must
UC did not utilize some vague admixture of the missing            allege facts sufficient to overcome this presumption, such
procedures during their hearings. 4                               as statements by board members or university officials
                                                                  indicating bias or a pattern of decision-making suggesting
 *601 [10] The Court concludes that to the extent that            that gender was an influence. Murray v. New York Univ.
Plaintiffs base their due process claims on alleged defects       College of Dentistry, 57 F.3d 243, 251 (2nd Cir.1995). Thus,
in their first hearings, those alleged errors were harmless       for instance, in Gomes v. University of Maine Sys., 365
because their appeals were sustained and they both received       F.Supp.2d 6, 31–32 (D.Me.2005), the fact that the hearing
new hearings. Cf. Harper v. Lee, 938 F.2d 104, 105–06             board chair participated in sexual assault victim advocacy
(8th Cir.1991) (administrative reversal and grant of new          programs did not demonstrate that she was biased against
disciplinary hearing preserved inmate's due process rights        the plaintiff in his sexual misconduct disciplinary hearing.
and cured any procedural defects in the first hearing).           As the district court sharply observed in that case, “There
Accordingly, the Court focuses its due process analysis           is not exactly a constituency in favor of sexual assault, and
on Plaintiffs' second hearings. It is nevertheless useful to      it is difficult to imagine a proper member of the Hearing
compare the alleged procedural defects of Plaintiffs' first       Committee not firmly against it. It is another matter altogether
hearings with their second hearings because the absence of        to assert that, because someone is against sexual assault, she
allegations that the same or similar defects occurred during      would be unable to be a fair and *602 neutral judge as to
the second hearings suggests that these alleged errors were       whether a sexual assault had happened in the first place.” Id.
not repeated. For instance, Doe I alleges that during his first
hearing the ARC panel would not accept his evidence, such          [14] Similarly, Plaintiffs' allegations concerning the sexual
as the surveillance videos, text messages between Roe I and       assault training provided to UC staff members and pressure
Roe II, and the rape kit analysis and SANE examinations.          allegedly exerted on universities by the Department of
Complaint ¶ 71. Doe I, however, does not allege that the panel    Education to intensify their response to sexual assault
would not accept this evidence in his second hearing. See         complaints fall short of creating a reasonable inference
Complaint ¶ 78. The Court infers, therefore, that Doe I was       that the ARC panels in Plaintiffs' cases were biased. It
permitted to present this evidence at the second hearing.         should be a laudable goal for a university to raise the
                                                                  awareness of its faculty and staff to sexual assault and
Plaintiffs allege that UC was biased against them and that        to increase their sensitivity to the particular problems that
the ARC panel members were pre-disposed to finding them           victims of sexual violence experience in coming forward
responsible for the alleged misconduct. The complaint places      to make complaints. Plaintiffs do not cite any authority for
particular emphasis on pressure allegedly exerted on UC and       the repeated implication in their complaint that a university
other universities by the Department of Education to find         must balance its sexual assault training with training on the
students accused of sexual misconduct guilty under a threat of    due process rights of the accused in order to avoid a claim
a federal investigation and the withholding of federal funding.   that its disciplinary procedures are biased. Moreover, it is
The complaint also cites training materials that allegedly        not reasonable to infer that UC has a practice of railroading
presume that sexual assault complainants are truthful and         students accused of sexual misconduct simply to appease the
that elevate the rights of the complainants over the due          Department of Education and preserve its federal funding. 5
process rights of the accused. In this way, the complaint         Plaintiffs' mere belief that Defendants acted with such ulterior
suggests, ARC hearing members are inculcated to find a            motives 6 is insufficient to state a claim for relief. Center
student accused of sexual misconduct guilty.                      for Bio–Ethical Reform, Inc. v. Napolitano, 648 F.3d 365,
                                                                  377 (6th Cir.2011)(“These vague and conclusory allegations


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of nefarious intent and motivation by officials at the highest     disciplined. Again, school disciplinary proceedings are not
levels of the federal government are not well-pleaded, and are     required to adopt all of the formalities of a criminal trial. Id.
therefore insufficient to ‘plausibly suggest an entitlement to     at 640 (“Full-scale adversarial hearings in school disciplinary
relief.’ ”); Moss v. U.S. Secret Serv., 572 F.3d 962, 970 (9th     proceedings have never been required by the Due Process
Cir.2009) (“The bald allegation of impermissible motive...         Clause[.]”); Gorman v. University of R.I., 837 F.2d 7, 16 (1st
standing alone, is conclusory and is therefore not entitled        Cir.1988)(“[O]n review, the courts ought not to extol form
to an assumption of truth.”). Finally, Plaintiffs' statistical     over substance, and impose on educational institutions all the
allegations, discussed further below, do not reasonably reflect    procedural requirements of a common law criminal trial.”).
a pattern of decision-making indicative of bias against men.
                                                                [18]     [19]     [20] Plaintiffs next complain that the ARC
 [15] [16] Plaintiffs next complain that UC permitted the Panel applied the Student Code of Conduct improperly.
use of hearsay evidence without providing an opportunity       In particular, Plaintiffs contend that the Panel applied the
for an effective cross-examination of the witness. There is,   definition of consent improperly. However, an allegation
however, no prohibition against the use of hearsay evidence    that the disciplinary board violated its own policies and
in school disciplinary hearings. Newsome v. Batavia Local      procedures does not state a claim for a due process violation.
Sch. Dist., 842 F.2d 920, 926 (6th Cir.1988). And, given       Heyne v. Metropolitan Nashville Pub. Sch., 655 F.3d 556,
that there is no general due process right to cross-examine    569 (6th Cir.2011); Webb v. McCullough, 828 F.2d 1151,
witnesses in school disciplinary hearings, Flaim, 418 F.3d at  1159 (6th Cir.1987); see also Levitt v. University of Tex.
641, it follows that Defendants in this case did not violate   at El Paso, 759 F.2d 1224, 1230 (5th Cir.1985)(“There is
Plaintiffs due process rights by accepting hearsay evidence    not a violation of due process every time a university or
without permitting Plaintiffs to “effectively” cross-examine   other government entity violates its own rules.”). Moreover,
the witness. It is important to note that Plaintiffs do not    as a general principle, federal courts must defer to a state
allege that Defendants prevented them from cross-examining     agency's interpretation of its own rules and regulations
the hearsay witness at all, they have not indicated in their   absent a compelling demonstration that it is wrong. Smith v.
complaint the nature of the hearsay evidence presented, and    Babcock, 19 F.3d 257, 260–61 (6th Cir.1994). In this case,
they failed to explain how additional cross-examination of the Plaintiffs' bare allegations that the ARC Panel misinterpreted
hearsay witness would have lowered the risk that they would    the Student Code of Conduct are insufficient to state a due
have been erroneously disciplined.                             process violation.

 [17] Plaintiffs next assert that the ARC Panel erred by            [21] Next, Plaintiffs complain that they were denied an
accepting victim impact statements before finding that they        effective opportunity to cross-examine witnesses because
had violated the Student Code of Conduct. This is essentially      they had to submit their questions to the ARC Panel chair
an attack on the type of evidence the panel elected to admit.      in written form and had no opportunity to ask follow-up
School *603 disciplinary boards, however, are not bound            questions. Inasmuch as students do not have a general right
by formal rules of evidence or rules of criminal procedure.        to cross-examine adverse witnesses in school disciplinary
Flaim, 418 F.3d at 635. Moreover, the Court's own research         proceedings, see supra at 22–23, it follows that Plaintiffs'
has not discovered any cases indicating that a disciplinary        due process rights were not violated because they were
board is restrained from the types of evidence it may consider     required to submit written questions to the panel chair. Nash
or in the order or mode of the presentation of evidence. Thus,     v. Auburn Univ., 812 F.2d 655, 664 (11th Cir.1987) (no due
in this case, Plaintiffs fail to state a claim for a due process   process violation where students were able to submit written
violation based the ARC Panel's decision to hear victim            questions to hearing officer to ask witness).
impact statements before adjudicating Plaintiffs responsible
for violating the Student Code of Conduct. Bifurcating the          [22] Plaintiffs next assert that they were denied effective
proceedings into different phases, such as a guilt phase and       assistance of an attorney or advisor. Plaintiffs, however, were
a punishment phase, adds more layers of complexity, and            entitled to the assistance of an attorney only if the ARC
thus more time and expense, to the disciplinary process.           Panel presented its case through an attorney or the rules
Plaintiffs' brief does not explain how a requirement to            governing the hearing were unusually complex. Flaim, 418
bifurcate the procedures, as is implicit in this claim, would      F.3d at 640. Plaintiffs do not allege that Defendants presented
reduce the probability that they would have been erroneously       their case with the assistance of an attorney or that the



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rules were unusually complex. It follows, therefore, that if       all of the procedural protections of a criminal trial. As already
Plaintiffs were not entitled to the assistance of an attorney,     stated, however, universities are not required to conduct
they were not denied effective assistance of an advocate           disciplinary proceedings like criminal trials in order to satisfy
because their advisors *604 were not permitted to participate      the Due Process Clause. Although providing Plaintiffs in this
in the hearing.                                                    case with additional procedural safeguards might have been
                                                                   preferable, “[t]he Due Process Clause...sets only the floor or
Plaintiffs next allege that Defendants violated their right        lowest level of procedures acceptable.” Flaim, 418 F.3d at
to due process by failing to give them the presumption of          636. Plaintiffs' complaint shows that the procedures used in
innocence and by failing to assign the burden of proving           their disciplinary hearings met the minimum requirements of
a violation of the Code of Conduct to the complaining              due process. Accordingly, Defendants are entitled to dismissal
student. The facts alleged in the complaint show that the ARC      of Plaintiffs' due process claims.
Panel functioned as a board of inquiry and determined what
happened based on a preponderance of the evidence without
assigning the burden of proof to either party. Complaint ¶
                                                                                       D. Qualified Immunity
31(f). Nevertheless, even assuming that the ARC Panel placed
the burden of proof on Plaintiffs as they claim, they have         Even if the Court were to conclude that the complaint states
not stated a due process violation. As Defendants correctly        claims for violations of the Due Process Clause, the factual
argue in their brief, “[o]utside the criminal law area, where      allegations show that the individual Defendants are entitled
special concerns attend, the locus of the burden of persuasion     to qualified immunity from suit on these claims.
is normally not an issue of federal constitutional moment.”
Lavine v. Milne, 424 U.S. 577, 585, 96 S.Ct. 1010, 47 L.Ed.2d       [24]     [25]    [26] A public official is entitled to qualified
249 (1976).                                                        immunity and thus shielded from suit under § 1983, for his
                                                                   actions if his conduct does not violate a clearly established
Finally, Plaintiffs allege that an ARC Panel has never found       statutory or constitutional right of which a reasonable official
a student not responsible for a violation of the Student Code      would have known. Harlow v. Fitzgerald, 457 U.S. 800, 818,
of Conduct. Plaintiffs, however, have not explained how            102 S.Ct. 2727, 73 L.Ed.2d 396 (1982). The contours of
the results of prior ARC Panel hearings involving different        the right must be sufficiently *605 clear that a reasonable
students can constitute a violation of their due process rights    official would understand that what he was doing violates that
in their respective hearings. Neither can the Court conceive       right. Anderson v. Creighton, 483 U.S. 635, 640, 107 S.Ct.
of an argument that would lead to such a conclusion. To            3034, 97 L.Ed.2d 523 (1987). The official, however, is only
the extent that this constitutes a stand-alone claim for a due     entitled to qualified immunity for actions taken in objective
process violation, it fails as a matter of law.                    good faith within the scope of his duties. Id. at 819 n. 34.

 [23] In summary, Plaintiffs' complaint indicates that they         [27] Determining a public official's entitlement to qualified
were charged with violations of the Student Code of Conduct.       immunity presents a two-step inquiry. First, the court must
They received notice of the charges. Even if Plaintiffs' first     determine, judged in the light most favorable to the party
hearings were riddled with procedural errors as they claim,        asserting the injury, whether the facts alleged show that the
they both appealed and were granted new hearings. Thus,            officer's conduct violated a constitutional right. Saucier v.
any due process violations from the first hearings were            Katz, 533 U.S. 194, 201, 121 S.Ct. 2151, 150 L.Ed.2d 272
cured. During their second hearings, Plaintiffs were able          (2001). If no constitutional right would have been violated
to present their own evidence and version of the events.           on the facts alleged, the inquiry stops and the officer will be
They were not permitted assistance of counsel but the ARC          entitled to qualified immunity. Id. If a violation can be made
Panel did not utilize an attorney to present its case either.      out based on a favorable view of the pleadings, the court must
Plaintiffs were able to submit written questions to witnesses in   determine whether the right at stake was clearly established.
lieu of direct cross-examination. Thus, Plaintiffs' complaint,     Id.
viewed against the backdrop of existing case law on student
disciplinary hearings, shows that they received all the process     [28]      [29]      [30]      [31] In determining whether a
that they were due. Although not specifically stated in their      constitutional right is clearly established, the court must find
complaint, Plaintiffs clearly believe that they were entitled to   binding decisions from the U.S. Supreme Court, the Sixth



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Circuit Court of Appeals, or finally, decisions of other circuit     of procedure. Considered as a whole, and in light of the
courts. Walton v. City of Southfield, 995 F.2d 1331, 1336 (6th       applicable case law, a reasonable public official in the position
Cir.1993) (citing Daugherty v. Campbell, 935 F.2d 780, 784           of the individual Defendants would not have known that the
(6th Cir.1991)); Summar v. Bennett, 157 F.3d 1054, 1058 (6th         procedures used in Plaintiffs' disciplinary hearings violated
Cir.1998). It is only the extraordinary case that will require       their due process rights. Accordingly, Defendants are entitled
a reviewing court to look beyond Supreme Court and Sixth             to qualified immunity on Plaintiffs' due process claims.
Circuit decisions. Walton, 995 F.2d at 1336. The questions
of whether the right alleged to have been violated is clearly
established and whether the official reasonably could have
                                                                                               E. Title IX
believed that his conduct was consistent with the right the
plaintiff claims was violated, are ones of law for the court. Id.    Plaintiffs both claim that UC discriminated against them
However, if genuine issues of material fact exist as to whether      on the basis of gender in violation of Title IX of
the official committed the acts that would violate a clearly         the Education Amendments of 1972. Title IX prohibits
established right, then dismissal of the claim is improper. Id.;     educational institutions that receive federal funds from
see also Jackson v. Hoylman, 933 F.2d 401, 403 (6th Cir.1991)        discriminating against students on the basis of gender. 20
(affirming district court's denial of summary judgment on the        U.S.C. § 1681(a).
issue of qualified immunity where the parties' factual account
of the incident differed).                                            [34] [35] [36] [37] [38] [39] Title IX discrimination
                                                                     claims apparently may be sorted into four broad categories:
 [32] When a defendant raises qualified immunity as a                “erroneous outcome,” “selective enforcement,” “deliberate
defense, as the Defendants have done in this case, the plaintiff     indifference,” and “archaic assumptions.” Mallory v. Ohio
bears the burden of demonstrating that the defendant is not          Univ., 76 Fed.Appx. 634, 638–39 (6th Cir.2003). In an
entitled to qualified immunity. Everson v. Leis, 556 F.3d 484,       “erroneous outcome” case, the plaintiff contends that the
494 (6th Cir.2009).                                                  outcome of the disciplinary proceeding was erroneous due
                                                                     to gender bias. Id. at 639. In a “selective enforcement case,”
 [33] In this case, although as a general rule it was clearly        the plaintiff alleges that the university treated a similarly-
established that students are entitled to due process before         situated member of the opposite sex more favorably than the
they can be expelled from school, it has not been clearly            plaintiff. Id. at 640. In a “deliberate indifference” case, the
established that Plaintiffs were entitled to all of the procedural   plaintiff alleges that a university official who had authority
protections they claim were missing from their disciplinary          to implement corrective measures had actual notice of but
hearings. In fact, the case law generally points the other way       was deliberately indifferent to misconduct directed at the
—it was clearly established that Plaintiffs were not entitled to     plaintiff. Id. A “deliberate indifference” claim seems for
the individual procedural protections they claim.                    the most part to be limited to sexual harassment cases.
                                                                     See id. (stating that the “deliberate indifference” standard
As Flaim indicates, Plaintiffs were not entitled to the              applies where the plaintiff seeks to hold the university
assistance of counsel or an advisor nor were they entitled           liable for sexual harassment); Doe v. University of the
to cross-examine witnesses. 7 It was not clearly established         South, 687 F.Supp.2d 744, 757–58 (E.D.Tenn.2009) (“The
that Plaintiffs were entitled to the presumption of innocence.       'deliberate indifference' must, at a minimum, cause students
Similarly, it was not clearly established that Plaintiffs            to undergo harassment or make them liable or vulnerable
 *606 could not be assigned the burden of proof. Lavine,             to it.”); but see Wells v. Xavier Univ., 7 F.Supp.3d 746,
rather, clearly establishes that assignment of the burden of         751–52 (S.D.Ohio 2014) (Spiegel, J.) (holding that plaintiff
proof in non-criminal matters does not even implicate the            stated a Title IX deliberate indifference claim based on
Constitution. It was not clearly established that school boards      allegations that university permitted disciplinary hearing to
cannot rely on hearsay evidence in disciplinary hearings.            go forward despite being aware that claims that plaintiff
Again, the opposite is true-rules of evidence do not apply           sexually assaulted student were unfounded). Finally, in an
and hearsay is acceptable. It was not clearly established            “archaic assumptions” case, the plaintiff contends that the
that school boards are restricted in the modes and order             university's actions were founded on archaic assumptions
of presentation of evidence. The opposite is again true-             about men and women. Sterrett v. Cowan, 85 F.Supp.3d 916,
disciplinary boards are not bound by any particular rules            936 (E.D.Mich.2015).



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                                                                    most if not all of these kinds of claims and concluded
 [40] Plaintiffs' complaint touches on all of these Title IX sub-   that the plaintiff failed to show how the alleged procedural
categories, but this appears principally to be an “erroneous        errors were motivated by gender bias. Similarly, in this
outcome” case. The complaint is dominated with allegations          case, Plaintiffs' complaint does not, for instance, allege facts
that UC's disciplinary process, at least in cases of allegations    linking UC's decision to limit cross-examination to gender
of sexual misconduct, is driven by outside influences and           bias. Consequently, the complaint fails to create a reasonable
training that biases the system against males accused of sexual     inference that the disciplinary hearing procedures adopted by
assault and in favor of women complainants. But, under any          UC were motivated by a desire to discriminate against male
theory, Plaintiffs must still allege facts sufficient to conclude   students.
that UC's conduct was motivated by gender bias. Mallory, 76
Fed.Appx. at 638. The Court concludes that Plaintiffs have          Third, Plaintiffs' complaint cites statistics which purport to
not alleged facts showing that the results of their disciplinary    show that UC discriminates against males in investigating
proceedings were motivated by gender bias. Rather, at worst         and imposing discipline for sexual misconduct. Specifically,
 *607 UC's actions were biased in favor of alleged victims of       according to the complaint, the statistics show that only males
sexual assault and against students accused of sexual assault.      have been investigated and disciplined for sexual misconduct
However, this is not the same as gender bias because sexual         by UC. These statistics, however, fail to show that UC
assault victims can be either male or female. Sahm v. Miami         has a pattern or practice of discriminating against males in
Univ., 110 F.Supp.3d 774, 778–79 (S.D.Ohio 2015) (Dlott,            sexual misconduct cases. In order for the statistical evidence
J.).                                                                to be meaningful, it must eliminate the most likely non-
                                                                    discriminatory reason for the disparity. Bender v. Hecht's
First, many of the actions taken by UC which Plaintiffs             Dept. Stores, 455 F.3d 612, 622 (6th Cir.2006). There are,
claim are indicative of gender bias complied with Title             however, at least two related non-discriminatory reasons for
IX guidance issued by the Department of Education. For              the disparity between males and females in sexual misconduct
instance, Plaintiffs complain that the Jane Roes were given         disciplinary cases: 1) UC has only received complaints of
accommodations for their class schedules and assignments.           male-on-female sexual assault; 8 *608 and 2) males are less
Plaintiffs also complain that UC barred them from accessing
                                                                    likely than females to report sexual assaults. 9 See Complaint
certain campus buildings during the pendency of their
                                                                    ¶¶ 119, 120. Plaintiffs statistics do not eliminate or attempt
hearings. But, as UC points out, federal regulations and
                                                                    to account for these reasons and, consequently, do not tend
Title IX guidance indicates that UC was required to
                                                                    to show that UC's disciplinary system discriminates against
take those interim measures once it received notice of
                                                                    males in cases involving sexual misconduct. Moreover, since
the complaints from the Jane Does. See 34 C.F.R. §
                                                                    recovery under Title IX under a disparate impact theory is
668.46(b)(11)(v); see also United States Department of
                                                                    not permitted, Plaintiffs' cannot state a claim by alleging
Education, Questions and Answers on Title IX and Sexual
                                                                    that UC's otherwise gender-neutral disciplinary procedures
Violence, at 32 (Apr. 29, 2014) (“The school should notify
                                                                    disproportionately affect men. Horner v. Kentucky High Sch.
the complainant of his or her options to avoid contact
                                                                    Ath. Ass'n, 206 F.3d 685, 692 (6th Cir.2000).
with the alleged perpetrator and allow the complainant to
change academic and extracurricular activities or his or
                                                                    Yusuf v. Vassar College, 35 F.3d 709, 716 (2nd Cir.1994), held
her living, transportation, dining, and working activities as
                                                                    that the plaintiff's allegation that “males invariably lose when
appropriate.”) available at www2.ed.gov/about/offices/list/
                                                                    charged with sexual harassment at Vassar” was sufficient on
ocr/ docs/qa-201404-title-ix.pdf (visited Feb. 24, 2106). In
                                                                    a Rule 12(b)(6) motion to link the outcome of the plaintiff's
other words, actions taken by UC to comply with guidance to
                                                                    disciplinary hearing to gender discrimination. Plaintiffs in this
implement Title IX cannot have been in violation of Title IX.
                                                                    case makes the same allegation-males charged with sexual
                                                                    misconduct invariably are found responsible for the violation.
Second, Plaintiffs' complaint alleges, in a conclusory fashion,
                                                                    The Court, however, concludes that this bare allegation is
that many of UC's alleged due process violations, such as
                                                                    insufficient to plausibly infer that the results of Plaintiffs'
the rule not permitting cross-examination and the denial of
                                                                    disciplinary hearings were affected by gender discrimination.
the right to counsel or an advisor, are the result of gender
                                                                    First, as already discussed, the statistical evidence cited
bias. In Yu v. Vassar College, 97 F.Supp.3d 448, 460–
                                                                    by Plaintiff does not eliminate other likely causes for the
81 (S.D.N.Y.2015), the district judge thoroughly dissected
                                                                    disparity between males and females in disciplinary cases.


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                                                                    violation of Title IX in their respective disciplinary hearings.
Second, and relatedly, Yusuf disregarded the issues of sample
                                                                    Accordingly, UC is entitled to dismissal of Plaintiffs' Title IX
size and whether the alleged disparity in treatment between
                                                                    claims.
men and women was statistically significant, id. which is
contrary to Sixth Circuit case law. Bender, 455 F.3d at 612;
Barnes v. GenCorp, Inc., 896 F.2d 1457, 1466 (6th Cir.1990).
Third, and importantly, as UC correctly points out, Plaintiffs'                               Conclusion
own complaint demonstrates that males are not invariably
found responsible when charged with sexual misconduct               For the reasons stated above, Defendants' motion to
violations-the ARC panel acquitted Doe I of the charge related      dismiss is well-taken and is GRANTED. The complaint is
to Jane Roe I. Accordingly, for all of those reasons, Plaintiffs'   DISMISSED WITH PREJUDICE.
allegation that males invariably lose in sexual misconduct
disciplinary hearings is insufficient to plausibly infer gender     IT IS SO ORDERED
discrimination affected their hearings.

                                                                    All Citations
In summary, the facts alleged in the complaint, even accepted
as being true, do not create a plausible inference that UC          173 F.Supp.3d 586, 335 Ed. Law Rep. 845
discriminated against Plaintiffs on the basis of gender in


Footnotes
1       A sexual assault nurse examiner, or SANE, “is a registered nurse that has special training to conduct sexual assault
        examinations on children and adults.” McCormick v. Parker, 571 Fed.Appx. 683, 685 n. 1 (10th Cir.2014).
2       The Court notes that Exhibit A submitted by Plaintiffs are state court docket entries showing dismissal of Doe I's claims
        without prejudice. However, review of the state court docket also reflects entries dismissing Doe II's claims without
        prejudice. See http://www.courtclerk.org/case_summary.asp?sec=history&casenumber=A1406907 (visited February 11,
        2016); Armengau v. Cline, 7 Fed.Appx. 336, 344 (6th Cir.2001)(court may take judicial notice of public records in
        considering a Rule 12(b) motion).
3       Regarding this last allegation, the complaint actually states that Defendants violated Plaintiffs' right to due process
        because “An ARC Hearing Panel has never failed to recommend that a student be found responsible and significant
        discipline imposed.” Complaint ¶ 132(h). The Court is unsure how the past results of other students' disciplinary hearings
        can by itself constitute a violation of Plaintiffs' due process rights. In the context of the entire complaint, however, the
        Court interprets this allegation to mean that Plaintiffs received a hearing in name only and that outcome of their hearings
        was a foregone conclusion.
4       For instance, suppose that UC does not permit any cross-examination at all, but does allow each student to be represented
        by counsel. Does the addition of counsel offset the loss of the ability to cross-examine witnesses in Plaintiffs' due process
        calculus? What if UC were to deny cross-examination, but exclude hearsay? Under Plaintiffs' holistic theory of procedural
        due process, there would be almost no way that UC could anticipate whether its disciplinary hearing procedures comport
        with due process.
5       The Court specifically declines to follow Wells v. Xavier Univ., 7 F. Supp.2d 746 (S.D.Ohio 2014). In that case, the
        district court concluded that the mere allegation that the university allowed a defective hearing to go forward in order
        to demonstrate to the Department of Education that it was taking sexual assault complaints seriously stated a Title IX
        violation. Id. That decision seems contrary to Twombly and Iqbal's admonition that conclusory allegations are insufficient
        to state a claim for relief.
6       See, e.g., Complaint ¶¶ 34, 35, 111(a)
7       Flaim states that due process might require the right to cross-examine a witness where credibility is an important issue.
        Although credibility of witnesses was clearly an issue in Plaintiffs' disciplinary hearings, no case from the U.S. Supreme
        Court or the Sixth Circuit has clearly established the right to cross-examine witnesses even where credibility is an issue.
        Flaim, therefore, does not clearly establish the right to cross-examine witnesses in cases like Plaintiffs'.
8       Paragraph 119 of the complaint recites that publicly available records show that since 2011, UC has investigated nine
        cases of sexual assault. In all nine cases, the respondent, or accused, was male. The gender of complainant, or alleged
        victim, could only be identified in eight of the cases. In all eight of those cases, the complainant was female. Paragraph
        120 of the complaint recites national statistics indicating that males are victims of sexual assault at roughly the same


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      prevalence as women and speculates that UC should have investigated more cases involving male victims of sexual
      assault than it actually has.
9     Loree Cook-Daniels, Female Perpetrators and Male Victims of Sexual Assault: Why They Are So Invisible (2011)
      (reporting that “male sexual assault victims are far less likely than female sexual assault victims to report the crime against
      them”), available for download through a title search at forge-forward.org (visited Feb. 19, 2016).


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